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                    EXHIBIT “A”
                                  Case 2:21-cv-00711-TR Document 1-3 Filed 02/16/21 Page 2 of 112


                                                         ml UNITED FIRE GROUPS
                                                     UNITED FIRE 8i CASUALTY COMPANY
                                                                                113 Second Avenue SE
                                                                                    P O, Box 73909
                                                                              Cedar Rapids. IA 62407-3909
                                                                      Commercial Policy Declarations
Policy N02 60506785                                                                            Policy     Termz          06-15-2020    to   06-15-2021
Renewal Ofz 00500785

Insured          Name       8z        Address                                                           Agent Name            8z   Address                       Agenev Code
    Episcopal Churches ofPA                                                                             Murray Eight Agency Inc 7 EDP                              630346
    C/O Sovereign Insurance Group                                                                       400 West Lancaster Avenue
    400 W. Lancaster Ave.                                                                               Devon, PA 19333
    Devon,      PA     19333-1531                                                                       610-535-6800

Your Business/Operations Deseriptionz                                           Religious Institution
You are a   Corporation jlndividual                                              Partnership Other       Non     -   Protit


Schedule of Premises                          -   Parts   I   84 ll (Location Controlled, Occupied,                  Owned or Rented by You)
Lnc.
No.           Location                                                                                  County                Construction            Occupancy
l             See Schedule of Premises                                                                  Various               Various                 Various



Limits (See Part                      ll   D 2) - Parr    II    (N/A means no coverage.)
    lS2,l10l1.(l0(l     Each Occurrence
    34,000,000 General Aggregate/Total Limits - All Other Than Products/Completed Operations
    154,l10l1,(l0(l AggregateiTotal Limits - Products Completed Operations

    S     15,000 Medical Payments - Per Person
    51,000,000 Fire Legal Liability Supplemental Coverage
    32,000,000 Personal lnjurylAdverrisiiig Injury Supplemental Coverage

Total Annual                Premiums
Total Premium - Part I Propertyz
Total Prerriiiirri - Part 11 Liability
Total Premium - Inland Marine
Total Estimate Charge


Endorsements and Forms Made Part of this Policy                                               (Ed. Date)     1




Part     II    See ElidorsementA
Part III See Endorsement A
All Partsz See Endorsement                          A
Mortgageegs) 8x Mailing Address
 Schedule on file with company

Bill    Type       2   A/C        -    AY

                Coiintersignarure                                                                                    Date

              Siibiect to   all   pI0\/ISIOHS here        and   in reruni   ofpremiiim payment,   we agree to provide \l1l5    lHS\lHilICC for the indicated   policy term.
                                                                                                                               MMR 0110910
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SUPPLEMENTAL DECLARATIONS
Policy Nos      60506785                                           El-fectivez   06/15/2020

   Each basie limit 7 or, ifincreased, each revised   limit   7 shown below is our maximum              limit of liability for the coverage   iii

   any occurrence, except as otherwise stated.

                                      COVERAGE                                                          EACH LOCATION
                                        PART      I




   Arson / Fraud Reward                                                             S 20,000               4 Limit 7 A11 Locations

   Broad Form Water Damage                                         Limitz           S                      S               S


   Building    Code / Law Coverage                        Basic Limit               S  50,000              S               S
                                                        Revised Limili              S1,000,000             S               S

   Debris Removal                                             Extra Limiti          S       25.000         S               S

   Donated Vehicles Extension
       When    MMR 501     appliest                                 Limitz          S       10.000         S               S

   Electronic Data Processing                                 Basie Limiti          S       10,000         S               S
                                                        Revised Limitz              S       50,000         S               S
                                                              Deductiblcz           S         250          S               S

   Employee Dishonesty                                        Basie Limiti          S        15,000        4 Limit 7 All Locations
                                                        Revised Limit               S       100,000        4 Limit 7 All Locations

   Fire Expense Coverages
   I  Fire Department Service Charge                               Limitz           S       5,000          S               S
   -  Fire Extinguisher Recharge Expenses                          Limitz           S       10,000         S               S

   Fire and Security   Alarm System Upgrade                         Limit           S       15,000         4   Limit 7 All Locations

   Forgery     (MMR 172)                                           Limitz           S       50,000         4 Limit 7 All Locations

   Identity   Recoveiy   (MMR429)                                   Limit           S 15,000               4 Limit7 All Locations

   Inflation                                                  Basic Limitz          2../o

                                                        Revised Limitz

   Key Person Replacement Expenses                                  Limit           525,000                 4 Limit7   All Locations

   Lock Replacement                                                 Limitz          S10,000                S               S


   Money and     Securities                               Basic Limitz SZO,l)00 on prem. S 5,000 offprem. 4 Limit7 A11 Locations
                                                        Revised Limit s2o,ooo on prem. S10,l)0(1 0fFprem_ 4 Limit7 A11 Locations
                                                                             1




  Credit Card Fraud                                                Limiti           S 25,000


   Newly Acquired Property (Cov. A      81   B)                    Limiti           S       1,000,000      4 Total Limit 7 All Locations

   Noii7Owiied Detached Trailers                                    Limit           310,000                4 Limit 7   All Locations



   Outdoor (Exterior) Signs                                   Basic Limit           S       15,000         S               S
                                                        Revised Limit               S                      S               S
                  Case 2:21-cv-00711-TR Document 1-3 Filed 02/16/21 Page 4 of 112
 Pollution   Cleanup                                         Basic Limitz                S                  25,000        4 Limit 7 All Locations
                                                           Revised Limitz                S                                4 Limit 7 All Locations
                                          Separate, Specific Deductiblez                 S                                S                 S


 Property Extensinns
 I  Consequent Loss
     I   Utility Services                                    Basic Limitz                S                  10,000        S                 S
                                                           Revised Llmltz                S                  No Coverage   S                 S

     -
         Mechanical Breakdown                                Basic Llmltz 4              S                  2,000         S                 S
                                                           Revised Llmltz 4              S                  No Coverage   S                 S
Annual A ggregare Limit
                                     COVERAGE                                                                           EACH LOCATION
                                         PART   I

 I   Off Premises
     -
        Coverage A                                           Basic Llmltz                S                  50,000        4 Limit 7 All Locations
     -  Coverage B                                           Basic Limitz                S                  50,000        4 Limit 7 All Locations

 U   Personal Effects
     -
        Clergy                                               Basic Limitz                                   50,000
                                                           Revised Llmltz
         Others                                              Basic Llmltz                                   10,000
                                                                                         (/l(/it/)(/J                     (/l(/ll/)(/J
                                                                                                                                            mt/it/am




     -

                                                           Revised Llmltz                                   25,000
 Property Limitations
 I   Furs                                                    Basic Limitz                S                  3,000         S                 S
 -
     Jewelry                                                 Basic Limitz                S                  3,000         S                 S

 Replacement Threshold                                                Limitz             S                  5,000         S                 S


 Trees, Shrubs, Plants,      and Lawns
                                                  Limit per Occuwencez                   S                  25,000        S                 S
                       Limit on   Any One   Tree, Shnib, Plant, or Lawnz                 S                  2,500         S                 S


 Valuable Papers and Records                                 Basic Limitz                S                  25,000        S                 S
                                                           Revised Limitz                S                  50,000        S                 S


 Water Damage 7 Sewer / Drain Backup
     When    MMR 503 appliesi                                Basic Limiti                S                  10.000        S                 S
                                                          Revised Limiti                 S                  ll)0,00l)     S                 S


                        The following coverages apply only           if   limits for   such are shown below.

                                         PART II                                                                        EACH LOCATION
 Broadenerl Property        Damage                                    Limili             S

 Directors, and Officers, Liability
    Retroactive Datez    0671572009             General Coverage Limitz                  S2,000,000                       4 Total Limit 7 All Locations
                                                Aggregate Limili                         S4,000,000                       4 Total Limit 7 All Locations
     Subject to Retelltion oft                  Each   Individualz                       S
                                                Aggregate Limitz                         S
                                                Each Individual Colnsurancez             Mi


 Employee nenetits     Liability (Claims    Made)
                                                        Per Claim Llmltz                 S2,000,000                       4 Limit 7 All Locations
                                                        Aggregate Limitz                 S4,000,000                       4 Lilnit 7 All Locations
     Retroactive Dzltez 06- 5-l 999
                              I                         Per Claim Deductible             S ,000         l




  Employee Practices    Liability (Claims    Made)                                       S ,000,000     I                 4Per Person Limit
         Retroactive Datez    06-l5-1999                                                 5 ,000,000     l                 4Aggregate Limit
                                                             Retention                    52,500

 Religious Counseling Liability                 General Coverage Limiti                  SZ,0l)0,l)00                     4 Total Limit 7              All Locations
                                                       Aggregate Limiti                  S4,0l)0,l)00                     4 Total Limit 7              All Locations


                                                             .2.                                                                         MMROII 0910
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                                                          LIABILITY scnsnuuz OF                  COVERAGE
                                                                     PART II
  Policy   Numberz         60506785                       Effective Datez         06-15-2020

  Name     Insured    2   Episcopal Churches of PA

                                                         Premmm   Basis                          Rate                   Rate
  Classification                      Code       Pr/Co                    Olher          PrVCo          Olher   PrVCo          Other




 0090 Religious Insuruuon
lncludlng Shed and Parsonage



Directors and Officers Liabilhy



Employee Iseneme


Employers Practice Llabulny



Fire Legal Liabilny



Nursing Liability




Religious Counseling Liability




Medical Payments


Sexual Misconduct Liability 7 Expanded Defense




          THIS POLICY CONTAINS                    AGGREGATE LIMITSz SEE PART II D FOR DETAILS
 630346   /MURRAY EIGHT AGENCY INC EDP       -
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                                              COMMERCIAL SCHEDULE OF COVERAGE
                                                             PARTS        I    84 II


 Policy      it    60506785                           Effective Date      06/15/2020

Name         Insured   2   Episcopal Churches of PA

Schedule of Premises i For use with Parts and I or ll
                                          l


Pan ll List all Locations Controlled. Occupued, Owned or Rented by YOUI
         1
                                                                          it




                                                                                                      Applies
Loc.         Build.                                                                    Construction   mvam
N0.          N0.            Lncatinn                                   County            (Part   I)   Part(s)   Occupancy




                                                           See Endorsement        C




630346       /WURRAY EIGHT AGENCY INC -EDP
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                                                  PROPERTY SCHEDULE or
                                                           PART       I



Policy   Numbers 60506785                           Effective Datez       06-15-2020

Name     lnsuredz      Episcopal Churches of PA

Schedule of Coverages

                       Limitsof
Lock          Bldgff   Liability      Coverage   CauseofLoss    Deductible         Windstorm Deductible ReplacementC0st

   I Schedule on file with         company         Expanded               51,000        51,000               Yes




630346    /   SOVEREIGN INSURANCE
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                                                           Endorsement A
Policy Numberz          60506785                                                Effective Datez        06-15-2020

Forms and Endorsement Applicable                   to Part   I    8.   ll




MCM411  0115            Certified Terrorism        Loss Coverage
MCM418  0115            Non-Certihed Acts of Terrorism Exclusion
MCM810  1007            Mandatory Endorsement 7 Pennsylvania
MMR010  0910            Religious Institutions Policy
MMR011  0910            Supplemental Declarations
Endorsement B           Additional Named Insured Schedule
Privacy Notice

Forms and Endorsement Applicable                   to Part   I




MMB030 0610             Equipment Breakdown Coverage - Religious                        Institutions
MMB200 0610             Equipment Breakdown Schedule
MMP116 0909             Earthquake Coverage
MMR172 1205             Forgery or Alterations Crime Coverage
MMR200 0910             Religious Institutions Extension Endorsement
MMR213 1205             Builders Risk Coverage
MMR422 1205             Extended Replacement Cost Coverage
MMR424 1205             Accounts Receivable Coverage
MMR427 0206             Named   Insured Property Deductible
MMR429 0910             Identity Recovery Coverage-Part (Religious Institutions)
                                                                            I




MMR501                  See form MMR010 - Religious Institution Policy
MMR503                  See form MMR010 7 Religious Institution Policy
Endorsement C           Schedule of Location
Endorsement   F         Modification to Money 8- Securities
Endorsement   J         Statement of value
Endorsement   U         Vacancy, and Other Increase in Hazard
Endorsement   V         Named Insured
Endorsement   W         Broad Named Insured
Endorsement   X         Personal Effects of Clergy
Endorsement   Y         Modiication to MML100
Endorsement   Z         90 Day Cancellation Clause

Forms and Endorsement Applicable                   to Part   ll




MCL187 0407             Lead/Lead Contamination and Asbestos Exclusion
MCL205 0605             Knowledge/Notice of an Injury or Occurrence
MCL320 0605             Additional Insured
MCL425 0605             Employee Benefits Liability          Coverage
MML100 1205             Trampoline Exclusion
MML800 1098             Employment   Practice Liability Insurance
MMR400   1107           Religious Counseling Liability
MMR411   1205           Directors and Oficers Liability - Claims Made Part                    ll


MMR412   12/05          Hired and Non Owned Automobile Liability
MMR413   12/05          Teachers Errors 8 Omission
MMR415   12/05          Cemetery Operations Errors 8 Omissions
MMR421  1205            Aggregate/Total Limit - Per Insured
MMR423  1205            Nursing       Liability   Coverage
Endorsement P           Part   ll   Liability   Schedule
Endorsement R           Schedule of lnsureds
MMR425 1107             Sexual Misconduct Liability Coverage - Expanded Defense
MMR511 1205             See form MMR010 - Religious Institution Policy
MMR512 1205             See form MMR010 - Religious Institution Policy

Forms and Endorsement Applicable                   to Inland Marine
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MlM01O 0607           Inland Marine   Common    Provisions
MIM1121296            Miscellaneous Property Floater
MlM102 0407           Computer Hacking and Virus Exclusion
MlM1101296            Fine Arts Coverage
MlM140 0115           Certified Terrorism   Loss Coverage
MIM143 0115           Non-Certified Acts of Terrorism Exclusion
MlM5201296            Replacement Cost Coverage - Applicable to   Computer Equipment Only
Endorsement K         Fine Arts Schedule of lnsuredls




                                                    Page 2 of2
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                           Endorsement F - Money/Securities

Policy Numberz      60506785
Effective Dater     06/15/2020


Form MMR010- Part    lA-   Main Property Coverage
Common Glossary Part       I   and   ll, -   Part   I,   Securities to include

Evidences of debt issued in connection with credit or charge cards, which cards are not
issued by youg but does not include Hmoneyn.
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      Endorsement U -Vacancy, Unoccupancy and Other Increase                           in
                                                     Hazard
Policy Numberz              60506785
Effective Datez             06/15/2020

PART G - SPECIAL PART CONDITIONS, ITEM 3 - OTHER SPECIAL
           I                          I



CONDITIONS, SECTION C - VACANCY, UNOCCUPANCY AND OTHER INCREASE
IN HAZARD ITEMS 1 AND 2 have been amended to read as followst

C. Vacancy, and Other Increase               in   Hazard

(1) If the building where loss or damage occurs has been vacant for more
than 120 consecutive days before that loss or damage occursz

We     will not pay for any loss or damage caused by any of the following, even
if   they are Covered Causes of Lossz

                    (a) Vandalism)
                    (b) Sprinkler leakage, unless          you have protected the system
                    against freezing)
                    (c) Building glass breakage)
                    (d) Water damage)
                    (e) Theft) or
                    (f)   Attempted       theft.

(2)   No   longer applies.
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                         Endorsement V - Named Insured

Policy NUITIDQFI      60506785
Effective Dater       6/15/2020


Named   Insured on Policy Declarations   is   to readr

Episcopal Churches of PA, and their associated Daycares, Ministries, Operations, its
Districts, its Officers, Directors, Trustees, Members, Employees and Volunteers while acting
within the scope of their duties for the named insured - see Endorsement B - Named Insured
Schedule
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                    Endorsement        W - Broad Named Insured
Policy NUITIDQFI      60506785
Effective Daler       6/15/2020


ll  agreed that throughout this policy, the words llyoull and Hyourll refer to the Named Insured
     is
shown in the Declarations and any entity incorporated or organized under the laws of the United
States of America (including any State thereof), its territories or possessions or Canada
(including any Province thereof) in which the Named Insured shown in the Declarations owns,
during the policy period, an interest of more than 50 percent. If other valid and collectible
insurance is available to any business entity covered by this policy solely by reason of
ownership by the Named Insured shown in the Declarations in excess of 50 percent, this
insurance is excess over the other insurance, whether primary, excess, contingent, or on any
other basis.
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                                                                                                                                        M.\/IP      11609 09
EARTHQUAKE COVERAGE 7 OPTION 6 o PART I (SUB-LIMIT)
Thii 2fld0FJ6m2fll6Sf1ZbIiSh6S the provisions /br Euffhqml/(9 (U                     1171   tlddifiorml 1-Wei-mi       CGMJ6 0/ LOSS. The        i-hqiiii-ha
             mall be J/IOWII below or 61564/hfrk in this phihth
in/brlitafiuil

The provisions of this endorsement apply only when                         the endorsement           number is         listed in the Declarations.
Except   as   provided below,   all   other provisions in this policy are unchanged.


Policy 860506785



SCH EDU LE
Numherc                                                                              Limit Bf Liability                                Deductible

                                                                                     si,0iio,iio0     Slll)   limit   per risk         550,000



Aggregate Limit                                                                      SS,0lJ0,lJ00



Qlncluding Masonry Veneerli Option                                    Yes            U No           XX

kltem No. or Location/Bldg Nos.                as   Shown   in the   Declarations


COVERAGE MODIFICATION
                            Part      I       C Cause   of Loss Options      is    extended to include Cause of Loss Option 6 covering
                            the fttllttwlngi

                            0         Earthquake

                            -         V(tlCiil\lC Activity,       meaning      the   Cff\lSl(tl\,   eruptions, DI CXpl(tSl(tnS       mi V0lC2ll10 Dil\Cf
                                      than that described as included in Volcanic Eniption.

                            All Earthquake shocks or Volcanic Activity that take place within a continuous 168 hour
                            period are considered a single occurrence and constitute a single loss.

                            Part          I   Common      Exclusions       1. is   deleted However, ifloss resulting from                 fire   or
                            explosion, due to earthquake and volcanic activity (including volcanic etfusion, eruption
                            or explosion). or theft (to the extent otherwise insured                               by this   policy) ensues,   we   insure
                            S\lCl1    rcsultlng loss.

                            Endorsement MCP l l9 under Part I C Cause of Loss Options 7 Option 6 Earthquake                                              is

                            amended to Endorsement         I6.       MMP       l




                            Unless             MMP 519      is listed in   the Declarations,        MMP        l   16 does not apply to Sprinkler
                            Leakage             loss arising out   of E3\1llqU2lkC OI         V(tlCill\lC     Activity.
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ADDITIONAL CONDITIONS
                 A.   Aggregate / Total Limit
                      Our annual       aggregate        / total    maximum       limit   payable under      this   coverage for all
                      losses incurred        is   the aggregate limit ofliability           shown     in the     Schedule. This limit
                      does not increase any limit ofliability provided                      in this policy.

                 B.   Deductible

                      The Deductible amount otherwise applicable to                         this   policy   is   replaced by the
                      Deductible listed above             in   connection with Earthquake or Volcanic Activity loss

                      1.      Coverage       D
                              We are       only for such covered loss that you incur after the iirst 168
                                       liable
                              consecutive hours following direvl covered loss arising out of Earthquake or
                              Vt)iC2l\1iC Activity. Biit this             C()VCHlgC iimiiliiilm applies only iniic subject
                              building   is 5     or   more    stories in height.

                 C    Property Limitation

                      We do nor cover loss to masonry veiieer (except stucco) over wood frame. But this
                      does not apply ifless than I00/ll ofthe exterior ofthe S\lbjECl building is masonry
                      veneer or the ulncluding Masonry Veneerll option on this form is checked HYes.ll

                      The value of such veneer                is   nor used in connection with Coinsurance Coiidition                 I   G.
                      Z, E.


                 D Time of Attachment
                      Coverage does not begin                 until   I68 hours atier the effective date of this endorsement,
                      unless such      is   concurrent with the effective date oi-this policy.




                                                                      2                                                 MMP ll6 09 09
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                                                                                                                         MMR 424 12 05
Accounts Receivable Coverage 0                        PART      I

This endorsement provides accounts receivable coverage /or your operations.                             The required information may be
shown below or elsewhere in this policy.

The provisions of this endorsement apply only when the endorsement number is listed in the declarations.
Except as provided below,                all       other provisions in this policy are unchanged.

Policy   ii    60506785                                                                  Effective Dates 6_l5-2020


                           50,000     4 Accounts Receivable Limit

The following         is   added    to Part    I   B 7 Supplemental Coverages

              Accounts Receivable Coverage
              This covers, up to the applicable limit shown above,                loss   due to your   inability to collect   on
          accounts receivable/credit card billings because of a covered loss to records of such accounts. This
          covers all sums dueyou from customers which are uncollectible because of such loss. This also includes
          your increased collection expenses, and other reasonable necessary expenses incurred byyou to replace
              or restore these records.

              Coverage does not apply                 to loss   from the followingz
                  0        Due to accounting, billing, bookkeeping error or omission.
                  0        Where proofis dependent upon an audit, or inventory computation. But                    such can be used   in
                           support of a claim which you prove through other sources.

              This supplemental coverage                is   an additional amount ofinsurance.
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                                                                                                                      MMR 423 12 05
NURSING LIABILITY COVERAGE FORM - PART II
This endorsement, i/listed in the Declarations, extends the liability coverage to nursing activities
performed on your premises or elsewhere. The required in/brrnation may be shown below or
elsewhere          in this policy.


The provisions of this endorsement apply only when the endorsement number is listed in the
Declarations. Except as provided below,                  all   other provisions in this policy are unchanged.


Policy   it    60506785                                            Effective Dates 06/l5/20


LIMITS OF INSURANCE

51,000,000                      Each Medical Incident
5l,000,000                      Aggregate

    l.        The Limits of Insurance shown above or elsewhere                        in this policy   and the niles below    fix the   most
              we will pay regardless of the number oft

              a.    Insuredsg

              b.    Claims made or       suits broughtg or


              c.    Persons or organizations making claim or bringing                    suits.


    2.        The Each Medical Incident Limit is the most we will pay for all damages because of injury
              arising out ofany one medical incident or suit covered under this insurance.


COVERAGES
    1.        Insuring Agreement

              We will pay those sums thatz

              A. The insured becomes legally obligated to pay as damages because ofinjury                              to   which   this
                    insurance appliesg or

              B.     You   shall   become                     pay as damages because of injury to which this
                                            legally obligated to
                    insurance applies caused      by any insured for Whose acts or omissions you are legally
                    responsible.

              No    other obligation or liability to    pay sums or perform              acts or services   is   covered unless
              explicitly provided for under        SUPPLEMENTARY PAYMENTS.
              This insurance applies only to injury which occurs during the policy period. The injury must be
              cause by a medical incident.

              We will      have the right and duty to defend any          suit   seeking those damages, but

                           a.     The amount we will pay     for   damages       is   limited as described in     SECTION If
                                  LIMITS OF INSURANCE.

                           b.     We may investigate and settle any claim              or suit at our discretiong and


                                                                      l
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                    c.    Our right and duty to defend ends when we have used up the applicable                    limit of
                          insurance   in   payment ofjudgment or settlements.

   2.     Exclusions

          This insurance does not apply         tor


          A. Injury for which the insured is obligated to pay damages by reason ofthe assumption of
             liability in a contract or agreement. This includes but is not limited to any contract or
             agreement between a physician or surgeon and the insured. This exclusion does not apply to
               any Warranty, or fitness or quality of goods or products.

          B.   Any obligation of the insured under a workers,                   compensation, disability benefits or
               unemployment compensation law or any                 similar law.

          C.   Bodily injury to

               l.   An employee of the        insured arising out ofand in the course of employment by the
                    insured, or

               2.   The spouse,   child, parent, brother or sister ofthat             employee as a consequence of (1)
                    above.

                    This exclusion appliesz

                    l.    Whether the insured may be            liable as   an employer or    in   any other capacityg and

                    2.    To any obligation         to share   damages with or repay someone          else   who must pay
                          damages because of the          injury.


          D. The ownership, maintenance, use or entrustment ofany aircraft, motor vehicle, trailer
             or watercraft owned or operated by or rented or loaned to any insured. Use includes
             operation and loading or unloading.

          E.   Injury arising out ofthe performance              by the insured ofa criminal        act.


          F.   Injury for which the insured may be held liable as a proprietor, superintendent,
               administrator, officer, stockholder, or member ofthe board of directors, trustees, or
               governors of any hospital, sanitarium, medical clinic with bed and board taeilities, nursing
               home, laboratory, or any other similar business enterprise.

SUPPLEMENTARY PAYMENTS
We will   pay, with respect to any claim or suit           we   defend)

               a.   All expenses      we   incur.


               b.   The   cost of bonds to release attachments, but only for bond amounts Within the applicable
                    limit of insurance.  We do not have to fumish these bonds.

               c.   All reasonable expenses incurred by the insured at our request to assist us in the
                    investigation or defense ofthe claim or suit including actual loss of eamings up to                     S250 a
                    day because oftime off from work.

               d.   All costs taxed against the insured in a            suit.


                                                                    2
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            e.   Pre_judgment interest awarded against the insured on that part of the judgment we pay.           If

                 we make an offer to pay the applicable limit ofinsurance, we will not pay any pre-
                 judgment interest based on that period oftime after the offer.

            f.   All interest on the full    amount ofanyjudgment     that accrues atter entry   of thejudgment
                 and before we have paid, offered  to pay, or deposited in court the part of the
                 judgment     thatwithin the applicable limit of insurance. These payments will not
                                      is

                 reduce the limits ofinsurance.

WHO IS AN INSURED
1.    The following    is   an insured as respects the insurance provided under this coverage forms

            a.   The organization named     in this policy (you) and any executive officers or directors while
                 acting within the scope of their duties as such.
            b.   Your employees (other than executive officers) while acting within the scope of their
                 duties as such.
            c.   Any ofyour members, but only with respect to their liability for your activities or
                 activities they perfonn as such on your behalf.
            d.   Any trustee, official, member ofthe board ofgovernors or clergyman, but only with
                 respect to their duties as such for you,
            e.   Any other person who is a volunteer worker for you, but only while acting at your
                 direction and within the scope of their duties for you as such. However, no volunteer is
                 an insured fori
                 l.  Bodily injury to a co-volunteer or your employee arising out of and         in the
                     course of their duties for you as such,

                 2.   Property damage to property owned, occupied or used by, rented, in the care,
                      custody, or control of, or over which physical control is being exercised for
                      any purpose byz youg any co-volunteerg your employee.

            f.   Persons (other than your employees) or organizations acting as       real estate
                 manager      for you.
            g.   An   organization (not a partnership, joint venture or limited liability   company)      that
                 You newly acquire or form, ifowned with majority interest by yous but only up to 364
                 days after you first acquire or fon-n such or the end ofthe policy tenn, whichever ends
                 first. Such entity is not an insured under this policy if there is other similar insurance
                 available to it or for any accidents, occurrences or offenses prior to the time of such
                 acquisition or formation.

       This insurance does not apply to any partnership, joint venture or limited liability company 7 of
       which the insured is a partner or member 7 if not named in this policy, including those
       responsible for      such

       2.   The following      is   not an insured as respects the insurance provided under this coverage formr

            a.   Any nurse, whether or not acting at your direction and within the scope of his or her
                 duties. This includes nurses who are volunteers, employees or independent contractors.


CONDITIONS
 1.    Bankruptcy.

       Bankruptcy or insolvency of the insured or of the insured iv estate       will not relieve us   of our
       obligations under this Coverage Form.

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     2.   Duties in the Event of a Medical Incident, Claim or Suit.

              a.     You must see to it that we are notified promptly                   ofa medical incident which may result          in
                     a claim. Notice should includer

                     l.    How, when and where            the medical incident took place, and


                     2.    The names and addresses of all            injured persons and witnesses.

              b.     Ifa claim      is   made   or suit   is   brought against any insured, you must see to      it   that   we   receive
                     prompt written notice ofthe claim or                  suit.


              c.     You and any other involved insured musti

              d.     Immediately send us copies of any demands, notices, summonses or legal papers received
                     in connection with the claim or suitg


              e.     Authorize us to obtain records and other informationg

              f.     Cooperate with us          in the investigation, settlement or         defense of the claim or    suitg   and

              g.     Assist us, if we request, in the enforcement of any right against any person or
                     organization which may be liable to the insured because ofinjury or damages to                            which
                     this insurance may also apply.


              h.     No     insureds will, except at their own cost, voluntarily              make a payment, assume any
                     obligation, or incur    any expense, Without our consent.

3.   Legal Action Against Us.

     No person or organization has              a right under this Coverage Formz

     a.   Tojoin us       as a party or otherwise bring us into a suit asking for             damages from an
          insuredg or

     b.   To sue   us on this Coverage          Form unless all of its tenns have been          fully   complied with.

     A person or organization may sue us to recover on an agreed settlement or a final judgment against an
     insured obtained after an actual trial, but we will not be liable for damages not payable under the
     terms ofthis Coverage Form or in excess of the applicable limit ofinsurance. An agreed settlement
     means a settlement and release ofliability signed by us, the insured and the claimant or the claimantls
     legal representative.


4.   Other Insurance.

                 and collectible insurance is available to the insured for a
     If other valid                                                                              loss   we cover under this
     Coverage Form, our obligations are limited as followsr

     This insurance        is   excess over any other insurance, whether primary, excess, contingent or on any
     other basis.

5.   Premium       Audit.

     a.   We will compute all premiums             for this      Coverage Form     in   accordance with our rules and

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          rates.


     b.    Premium shown           Coverage Fonn as advance premium is a deposit premium only. At the
                                            in this
           close of each audit period we will compute the eamed premium for that period. Audit premiums
           are due and payable on notice to the First Named Insured. lfthe sum of the advance and audit
           premiums paid for the policy term is greater than the eamed premium, we will retum the excess to
           the First         Named Insured.

     c.    The      Named Insured must keep records of the information we need for premium computation
                     First
           and send us copies at such times as we may requests

6.   Representations.

     By accepting this policy, you                    agreeg

     a,   Those statements are based upon representations you made                            to asg   and

     b.   We have issued this policy in reliance upon your representations.

7.   Separation of Insui-eds.

     Except With respect         Limits oflnsurance, and any rights or duties specitically assigned to the First
                                            to
     Named       Insured, this insurance appliesz

     a.   As    if   each     Named Insured were the only Named Insuredg and

     b.   Separately to each insured against                    whom claim is made or suit is brought.
8.   Transfer of Rights of Recovery Against Others to Us.

     Rights ofthe insured to recover all or part of a payment made under this                                  Coverage Form are
     transferred to us. The insured must do nothing after loss to impair them.                                  At our request, the insured
     will bring suit or transfer those rights to us and help us enforce them.



GLOSSARY
The Glossary           is    amended         to include the    following definition applicable to this coveragez

Loading or unloading means the handling of propertyz

           a.    After        it is    moved from  the place Where        it   is   accepted for   movement      into or onto   an   aircraft,
                     watercraft,        motor vehicle or trailerg or

           b.   While         it is    in   or on an aircraft, watercraft, motor vehicle or         trailerg   or

           c.    While         it is   being     moved   for an aircraft, watercraft,      motor vehicle or trailer     to the place     where
                     it is   tinally delivered.


           But loading or unloading does not include the movement of property be means ofa mechanical
           device, other than a hand tmck, that is not attached to the aircraft, Watercratt, motor vehicle, or
           trailer.




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Medical incident means an act or omissionz

        a.   In the fumishing of nursing services by a nurse or by any person acting under the personal
             direction, control or supervision of a nurse, or


        b.   In the service by a nurse as a member of your fun-nal accreditation, standards review or
             similar professional board or committee.

        An   act or   omission together with all related acts or omissions   in   providing services to any one
        person shall    be considered one medical incident.




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     BUILDEIUS RISK COVERAGE PART I                    -
                                                                                                                                                           MMR 213 12              05

     This endorsement establishes amended provisions niodijving Coverage
                                                                                                     A and related conditions      with respecl             To   buildings under
     conslruciion or additions 10 compleled buildings.                                                                   -




     The provisions of this endorsement apply                only when the endorsement number                is listed   in tl1eDecla1-niions.
     Except     as provided below,          all   other provisions in this policy are unchanged.

     COVERAGE MODIFICATION
                                       Coverage A B Buildings/Structures Part I A is replaced by the following provisiousr

                                       COVERAGE A BUILDINGS/STRUCTURES
                                                                  -

                                       We cover the described buildings/additions while in the course oflawful construction, including
                                                                                                                                       the
                                       following extensionsr
                                       1,  Foundations.

                                       2.                      become a permanent part of the described buildingr
                                                  If intended to
                                                  -
                                                      Equipment, iixtures, and lll8Gl1lll6I_Y used to service the building.
                                                  -
                                                      Your building materials and supplies used for The construction.

                                       3.         Temporary structures built or assembled on silo, including construction forms,                                   cribbing, and
                                                  scaffolcluig. But, we cover such property under this endorsement
                                                                                                                   only if not otherwise                          insured.
                                       4.         You may also choose to extend this insurance to building materials and supplies, intended
                                                                                                                                            to become a
                                                  permanent part of the described building, that are owned by others while such property is
                                                                                                                                            in your care,
                                                  control, or custody.


ADDITIONAL CONDITIONS
                                       A. Partl G.2.A is supplerneisted by the followings
                                          Thc amount ofinsurance shown in the Declarations
                                                                                                                                                .




                                                                                                               is   a provisional amount based on the                -full   completed
                                          value of the building.

                                              This amount         is    apportioned based on values at the time of loss related      to   the       full   completed value of the
                                                  building, and    it   is a Condition oflhis insurance that-I

                                                  In the evcnt of covered loss, we are liable for no greater proportion of
                                                                                                                           the loss than the amount of
                                                  insurance boars to the value at the date of completion.

                                       B.     Additions to Existing Buildings.
                                              lf the construction covered by this endorsement                is   an Addition to an existing building, then, unless
                                                  otherwise specitied in this policy,       this   insurance applies solely  to the described Addition while in Lhc
                                                  course of construction.

                                       C.         Occupancy Condition.                                                                          -




                                              Unless    MCP 540 is listed           as applicable in the Declarations,
                                                                                                           it is a condition of this insurance-that the
                                              sulljectbuilding not be occupied prior to completion. If done solely for purpose
                                                                                                                                 oftesting, machinery
                                              pertaining to occupancy may be so installed and operated.

                                       D.     Comnion Condition 13 is inoditicd and restricted by         the followings
                                              Unless       MCP 541           applicable in the Declarations, you may not waive, he-fore or alter loss,
                                                                          is listed as
                                                                                                                                                       your
                                              nights of recovery from any architect, building trades contractor or
                                                                                                                         subcontractor, or engineer with
                                              respect to the subject oifthis insurance.                                                    -.




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      ._A   .   (D2005 MSOGD,   Inc.
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                                                                                                                                                   l\/(CM 4110115

CERTIFIED TERRORISM LOSS COVERAGE PARTS IAND                             -
                                                                                                 ll
Ibis eiiciorsemenr modifies the policy to extend cove/iagcfor cnrrifierl acts of terrorism.
Except as provided below, all other provisions in this policy are unchanged.

1.           COVERAGE MODIFICATION
             A.   Any     exclusion of terrorism contained in           this    policy or attached to        this   policy by endorsement does not apply   to   a   as/-iijieil
                  t6F7nOill1SI7l   ZOSS,

             B.   Cap on Certified Terrorism Losses
                  If the Secretary of the Treasury determines that the amount of certified terrorism loss has exceeded the maximum annual
                  liability under the terms of the Federal Terrorism Risk Insurance Act of 2002 or any subsequent action of Congress pursuant
                  to the Act, we will not pay for any amount of cernjied terrorism loss that exceeds such maximum annual liability.

             C.   Other Exclusions
                  The terms and limitations of any terrorism exclusion,                   or the inapplicability or omission of a terrorism exclusion, do not serve
                  to create coverage for          which would otherwise be excluded under
                                                 any    loss                                                       this policy by the Governmental / Legal / War
                  Exclusion, the Nuclear / Radioactive Loss Exclusion or any other exclusion.

2.           ADDITIONAL DEFINITIONS
             The following         definitions applyi

             Certified act of terrorism means an act that is certified by the Secrettny of the Treasury, in consultation with the Secretary of
             Homeland    Security and the Attorney-General of the United States, to be an act of terrorism that lSI
             A.   A  violent act or em act that is dangerous to human life, property or infrastructure and that resulted in damage with an
                  aggregate loss exceeding il95,()00,0001
                  1.   Within the United Stat-esg
                  2.    At the promises of a United            States Missiong or

                  3.    To an  air carrier (as delined in section 40102 of title 49, United States Code) or to a United States flag vessel (or a vessel
                        based principally in the United States, on which United States income tax is paid and whose insurance coverage is
                        subject to regulation in the United States), regardless ofwhere the loss occursg

             B.   Committed by an    individual or individuals as part of an effort to coerce the civilian population of the United States or to
                  influence the policy or affect the conduct of the United States Government by coercion.

             Certified terrorism loss       means    loss that results       from a   certified c/ct   of terrorism.




                                       _.

       III
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                                                                                                                                   MCM 418       01 15
NON-CER TIFIED A CTN OF TERRORISM EXCLUSIONS PARTS I AND II                              -


This e/idorsementer/ends the policy to exclude certain loss arising nut Qfterrorism.
The provisions of this endorsement apply only when the endorsement number is listed in the Declarations.
Except as provided below, all other provisions in this policy are ulichanged.                        __
1.           COVERAGE IVIODIFICATION - PROPERTY                                                   seventy -two hour period and appear to be carried
             A.   If Part I      is   included in      this   policy, the following               out in concert or to have a related purpose or
                  exclusion      is    added     to   the     PART       I   COMMON               common leadership will be deemed to be one non-
                  EXCLUSIONSz                                                                     certwed act of terrorism.
                  NON-CERTIFIED                  ACTS            OF      TERRORISM                The preceding paragraph     describes the threshold
                  EXCLUSION                                                                       used to measure the magnitude of at non-certified
                  1.   We do not provide insurance for any loss         or                        act of terrorism and the circumstances in which the
                       damage directly or indirectly arising out of     or                        threshold    will  apply, for the purpose        of
                       resulting from a /iunecerlified act of terrorism,                          determining -whether the Non-cc/ti/Zed Acts of
                       including any action taken in hindering or                                 Terrorism Exclusion will apply to that incident.
                       defending against an actual or expected non-                               When the Non-certified Acts of Terrorism
                       certijied act of terrorism. Such loss or damage is                         Exclusion applies to a iron-certified act of
                       excluded regardless of any other cause or event                            terrorism, there is no coverage under this
                       that contributes concurrently or in any sequence to                        lTlSIlT8TlCC.

                       the loss.
                                                                                                  In the event of any non-certified act of terrorism
                       If loss resulting       from   the extent insured by
                                                      tire (to                                    that is not subject to the Non-certified Acts of
                       this policy) ensues, we insure such resulting loss.                        Terrorism Exclusion, coverage does not apply to
                       However, this exception for fire applies only to                           any clement of loss or damage that is otherwise
                       direct physical loss by lire to covered property.                          excluded under this insurance.
                       Therefore, this exception does not apply to any sort
                                                                                             3.   However, with respect to any activity that also-
                       of consequential loss, loss of use, or loss of utility,
                                                                                                  comes within the terms of the Governmental /
                       including losses under Business Income and /or
                                                                                                  Legal    / War Exclusion, that exclusion supersedes
                       Extra Expense coverages.
                                                                                                  this   Non-certified Acts of Terrorism Exclusion.
                  2.   Regardless of the amotmt of damage and losses,
                                                                                                  In the event of a lion-certified act
                                                                                                                                    of terrorism that
                       this Non-certified Acts of Terrorism Exclusion
                                                                                                  involves nuclear reaction or radiation,          or
                       applies to any non-certijied act of terrorismr
                                                                                                  radioactive contamination, this Non-certijierl Acts
                       a.  That involves the use, release or cscapc of
                                                                                                  of Tcrrorism Exclusion supersedes. the Nuclear. /
                            nuclear materials, or that directly or indirectly
                                                                                                  Radioactive Loss Exclusion.
                           results in nuclear reaction or radiation or
                            radioactive contamination 3 or                                   If Part I is included in this policy, the      PART     I   -
                       b.   That    carried out by means of the dispersal or
                                                                                             GOVERNMENTAL      / LEGAL / WAR               COMMON
                                      is
                            application of pathogenic or poisonous
                                                                                             EXCLUSION is replaced by the follcwingt
                            biological or chemical materials, or                             GOVERNMENTAL / LEGAL / WAR
                       c.   In which pathogenic orpoisonous biological or
                                                                                             1.   Any act or condition ofz war (declared   or not), civil
                                                                                                  war, invasion, insurrection, rebellion, revolution, or
                            chemical materials arc released, and it appears
                                                                                                  seizure of power, including acts done to defend
                            that one purpose of the Vl07leCEI/llfittti act of
                                                                                                  against any such act or condition, Whether actual or
                            terrorism      was   to release such materials.
                                                                                                  expected. With respect to any action that comes
                       In incidents of non.-certified acts of terrorism other                     Within the terms of this exclusion and involves
                       than those described in the preceding Paragraphs                           nuclear reaction or radiation, or radioactive
                       1.A. 2.a, b, and c, the Nonecertijied Acts of                              contamination, this cxclusion supersedes the
                       Terrorism Exclusion will not apply unless the                              Nuclear / Radioactive Loss Exclusion.
                       insured damage to all types of property (in the
                                                                                             2.   Knowing     violation of penal law or ordinance
                       United States, its territories and possessions, the
                                                                                                   committed by, or with the consent of, an iris-urec/.
                       District of Columbia, Pueito Rico and Canada),
                                                                                                   Statutory tines or liability. Exemplary or punitive
                       sustained by all persons and entities affected by the
                                                                                                   damages.
                       non.-certi/Zed act of terrorism (and including loss of
                       Business Income and Extra Expense sustained by                        3.    Confiscation, loss, or seizure under customs, drug
                       owners or occupants of such damaged property),                              enforcement,     or     quarantine    legislation  or
                       exceeds a total of 325,000,000. Multiple non-                               regulations. Loss to property that is contraband or
                       certified acts of terrorism Which occur within a                            in the course of illegal transportation or traclc.


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       4.    Damage      or destruction of property ordered by        civil   coverage does not apply to any loss                   or   daniage that       is
             authority, other than   immediate        acts   of destruction   otherwise excluded under this insurance.
             ordered by authorized civil authorities for the
                                                                              Multiple non-certiyiatl acts of terrortsvn which occur within
             purpose ofpreventing the spread ctifirc - provided
                                                                              a seventy-two hour period and appear to be carried out in
             the fire originates from a cause of loss cpvei-ed by
                                                                              concert or to have a related purpose or common leadership
             this policy.
                                                                              will be dccined to be one no/1-certi/ied act ofterroris/11.
COVERAGE MODIFICATION - LIABILITY                                             OTHER EXCLUSIONS
If Part II is included in this policy, the following exclusion
is   added   PART 11- COMMON EXCLUSIONSZ
             to the
                                                                              The ten-ns and  limitations oltiany terrorism exclusion, or the
                                                                              inapplicability or omission of a terrorism exclusion, do not
N(7N- CE RTIFIED A CTS OF TERROR ISM                                          serve to create coverage for any loss which would otherwise
EXCLUSION                                                                     be excluded under        this   policy by the Governmental        /   Legal    /
We do       not insure bodily      property danuzge, personal
                                injury,                                       War Exclusion,  the Nuclear / Radioactive Loss Exclusion or
injury or czdvertising injury arising directly or indirectly out              any other exclusion.              -




of a non-certrfied_ act of terrorism, including any action
taken in hindering or defending against an actual or
                                                                              ADDITIONAL DEFINITIONS
expected non-certified act of terrorism.
                                                                              The following definitions applyz

However       this    exclusion only applies    if   one or more of the
                                                                              C8Flij,i6(/    act of terrorism       means on    act that is certified by
                                                                              the Secretary of the Treasury, in                 OOl1S1liiE1lli.O11 with the
following are attributable to a non-certified act ofterrorismx
                                                                              Secretary of Homeland Security and the Attorney General
A. The   total of insured damage to all types of property
                                                                              of the United States, to he an not often-orisin that isc
    sustained by all persons and entities affected by the
    non-camped act of terrorism (and including loss of                        A.   A  violent act or an act that is dangerous to human life,
                                                                                   property or inn-ustructure and that resulted in dania-go
    Business Income and Extra Expense sustained by
                                                                                   with an aggregate loss exceeding S5,000,0O()1
    owners or occupants of such damaged property),
                                                                                   1.       Within the United        Statesg
    exceeds 3i325,000,000g or
                                                                                   2.       At tho premises of 11 United States Mission, or
B.    Fit-ty or   more personssustain death or serious physical
      injury. For the purposes of this provision, serious                          3.       To an   air carrier (as Ciel-llttiti-ill section 40-I02 of
      physical injury incansc                                                               title49, United States Code) or to a United States
      1.     Physical injury that involves a substantial risk of                            flag vessel (or a vessel based principally in the
             deathg or                                                                      United States, on which United States income tax
                                                                                            is paid and whose insurance coverage is subject to
      2.     Protracted and obvious physical dis-tigtu-ernentg or
                                                                                            regulation hr the United States), regardless of-
      3.     Protracted loss of or impairment of the function of                            where the loss occursg
             st bodily member or organ, or
                                                                              B.   Corninittcd      by an individual or        individuals as part of an
C. The non-cer-it/Zed act of terrorism involves the use,                           effort to coerce the civilian population of the                  United
   release or escape of nuclear mirtcrials, or directly or                         States or lOil7Tfitl01lI68t the pol-icy or affect the conduct of-
      indirectly results in nuclear reaction or radiation or                       the United States Government by coercion,
      radioactive containinntioiig or
                                                                              Insured damage means damage that                    is covered by any
D. The non-certified act of terrorism is carried out by                       insurance plus         damage         that   would be covered by any
   means of the dispersal or application of pathogenic or                     insurance but          for      the    application    of   tuiy   terrorism
   poisonous biological or chemical materialsg or                             exclusions.

E.    Pathogenic    or poisonous biological or chemical                       Nan-certified not cf terrorism niezms ti violent tact or an act
      materials are released, and it appears that one purpose                 that is dangerous to human life, property or infrastructure
      of the non-certified not of terrorism was to release such               and that ist
      materials.                                                              A, Coininitted by an individual or individuals and appears
                                                                                  to be a part of an effort to coerce a civilian population
The preceding Paragraphs 2.A and B             describe the thresholds
                                                                                  or to influence the policy or affect the conduct of any
used to measure the magnitude of a non-cm-tijliecl act of
                                                                                   government by (7OE7lT1l0lTf- and
lerrorrfsm and the circumstances in which the threshold will
apply for the purpose of dcterniining whether the Non-                        B.   Not deemed   to be a certified act of terrorzls-In under the
ccrttfied Acts of Terrorisnt Exclusion will apply to that                          terms of the Federal Terrorism Risk Insurance Act of
incident. When the Non-certyied /lots of Terror-ism                                2902 on any subsequent action.-of. Qougress pursuant. to
Exclusion applies to a not-z-cerlifiezl act of terrorism, there is                 the Act.
no coverage under this insurance.
In the event of       any non-certified act of terrorism        that is not
subject to the        Non-camped Acts of Terrorism              Exclusion,




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                                                                                                                                                                                                             MCM 810         10 07
 MANDATORY ENDORSEMENT - PENNSYLVANIA
                                                                                                                                                                        _




This endorsement provides a Special Notice,                                                amends   the policy in conjfmnance with Pennsylvania                                              Law and        modijies other policy
provisions.
 .E..1.49EPl.t4.Sl,Ej,QYigEQrfEli1Yr.Elli,93,1311.PlIQYl5l9P.5.il1.lilliP.9ii.9Y.Hl19P9iEl1E.l1.g.Hlr,,,.,,                              .. L-1+zr71z.z.zrzrtr.Tr-e.+7.4rrva-Iii   it-erase2assesses-erzr.zaemqaz-zzu.1
                                                                                                                             ..   .._.                                                                                     _.._



 SPECIAL PENNSYLVANIA NOTICE                                                                                            c.               A condition, factor or loss experience rnaterial to
      An Insurance Company, its agents,                                          employees, or service                                              has changed substantially or a substantial
                                                                                                                                         irrsurability
       cont1_-actors acting                  on   its   behalf,        may provide          services to reduce                           condition, factor or loss experience material to
      the likelihood of injury, death or loss. These services rnay                                                                       insurability has                          become known during the policy
      include any of the following or related services incident to the                                                                   period.
      application for, and issuance, renewal or continuation of, a
                                                                                                                        d.               Loss of reinsurance or a substantial decrease in
      policy of insurances
                                                                                                                                         reinsurance has occurred. Such loss or decrease must
      1.   Surveysg
                                                                                                                                         be                                                  Insurance Commissioner
               .




                                                                                                                                                   certified to the                                                               as
      2.           Consultation or advice, or                                                                                            directly affecting in-force policies at such time of
                                                                                                                                         cancellation.
      3.           Inspections.
                                                                                                                         e.               You materially                           fail to     comply with policy terms,
      The Hlnsurance     Consultation Services Exemption Actli of
                                                                                                                                          conditions or contractual duties.
      Pennsylvania provides that the Insurance Company, its agents,
      employees or service contractors acting on its behalf, are not                                                    ll                You materially fail to comply with safety standards or
      liable for damages from injury, death or loss occurring as a                                                                        loss control recommendations aier receiving writ-ten
      result of any act or omission by any person in the furnishing of                                                                    noticefrom us of deficiencies with respect to safety
      or me failure to furnish these services.                                                                                            standards or loss control reconnnerrdatiorls and after
                                                                                                                                          being given a reasonable opportunity to cure such
      Tire Exernptions of this Act do not apply to the followirrgz
                                                                                                                                          deiciencies.
      1.  If the injury, death or loss occun-ed during the actual
           performance of the services and Was caused by the                                                             g.               Any    other reason approved.                                       by the Insurance
           negligence of the Insurance Company, its agents,                                                                                Connnissicner.
           employees or service contractors,
                                                                                                                         l1.              This policy may also be cancelled by us effective
      2.           To consultation services required to be performed under                                                                from inception upon discovery that the policy was
                   a written service contract not related to a policy of                                                                   obtained through fraudulent statements, ornissicns or
                   insurance.                                                                                                              conceahnent of fact material to die acceptance of the
                                                                                                                                           risk or to the hazard assumed by us.
      3.           If any acts or omissions of the Insurance Company, its
                   agents, employees or seryicc contractors are judicially                                               Notice of cancellation                                          /   termination must be mailed or
                   determined to constitute a crime, actual malice, or gross                                             dclivered by uss
                   negligence.                                                                                           a.              Not            less than l5                    days prior          to the cancellation
                                                                                                                                           effective date as to a and bg
ADDITIONAL CONDITIONS
The COMMON CONDITION - CANCELLATION                                                                                /     b.               Not           less          than 60 days prior                    to    the cancellation
I ERIWNATION is supplerncntcd as followsz                                                                                                   effective date as to e, d, e,                            f,   and    g.
B Our Right to Cancel Terminate                   /
                                                                                                                          We mail or deliver our notice to the first named instzrecils
      1.           Policies in Effect Less Than 60 Days.
                                                                                                                          lastmailing address known to us. If notice is mailed, it
                    We may cancel this policy by mailing or delivering to 1he
                                                                                                                         Will be by registered or first class mail. Proof of mailing
                   first named insured Written notice of cancellation not less
                                                                                                                         or delivery will be sufficient proof of notice.
                   than 30 days prior to the effective datc of cancellation.
                                                                                                                          Our notice rnust statez
      2.           Policies in Effect 60                 Days or l\/Lore.                                                 a. The specific reasons for cancellationg and
                   If this policy has been in effect for 60 days or more or is
                                                                                                                          b. The effective date of canccllationz the policy period
                   a renewal of a policy with MS, we may cancel only for one
                                                                                                                                            will         end on this date.
                   or more of the following reasons                              by mailing or delivering
                   to tlrefirsi   named insuretl written notice of cancellationz                                          Return 0 f P1-cmiunr
                   a.   You have rnade a material                               rnisrepresentation     which              We send the first named                                            insured any pr-erniunr refund due
                        affects the insur-ability                          of the rislc.                                  resulting frorn cancellation.                                           The refund is pro rata and
                                                                                                                          rnust    be returned within 10 business days after the
                   b.   You   fail to         pay a prenriurn when due A Whether the
                                                                                                                             effective date of cancellation. However, our cancellation
                        premium is payable directly to                                its   or our agents or
                                                                                                                                                                                                                                       is


                        indirectly           under a pretniunr finance plan or
                                                                                                                             effective                    even              if   we have not rnadc              or offered a rchurd    at
                                                                                                    0Xl611S.lOl1
                                                                                                                             such              titnc.
                        of credit.

                          I


we         T-win
                         WW        -M51114
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                                             is-13.6     il1F1ll.1t   it
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      4.   Termination (Noni-enewal)                                             C.    Paragraph 2 of the Our Options          in Settling   Losses Section of
           Ifwe elect not to renew this policy, we mail or deliver                     the    HOW LOSSES ARE SETTLED Condition                  is   replaced by
           written notice of ncnrenewal to the frst named insured                      the followingz
           not less than 60 days prior to the expiration date of this                  2.        We may repair or replace all or any part of the property as
           policy.                                                                               provided for in this policy, or take all or any part of such
           Any notice ofnonrenewal or renewal premium increase                                   property at a mutually agreed, or appraised value. We may
           must he mailed or delivered to the jirst named insured is                             give notice of our intent to do so at any time up to 15
           last   mailing address known to                                                       working days after our acceptance of our liability for the
                                                  us. If notice is mailed, it
                                                                                                 loss (i.e., proof of loss).
           will be   by registered   or first class mail. Proof of mailing
           or delivery will be sufiicient proof of notice.                       COVERAGE MODIFICATIONS - LIABILITY
                                                                                 1fPatt It  is included in this policy, the following provisions applyz
     5.    Increased RcnewalPremiu1n
           If we increase your renewal preniinin, we must mail or                A.    If you or your employees are certilied by a federal or state

           deliver notice of increased premium to the _/lit-YI named                   agency to use herbicides or pesticides, Paragraph of the        A
           insured, not less than 30 days prior to the increase.                       Pollution / Environinental Damage Exclusion does not apply
                                                                                       with respect to the use of such herbicides or pesticides.
     6.    Notice to Mortgagees
           If we cancel or elect not to renew this policy,                       B.    If this policy covers a residential dwelling under Part                   the
                                                              we will mail                                                                                 ll,

           or deliver notice of such to the nnortga gees named in this                 following provisions applyz
           policy not less thanz                                                       PART ll C LIABILITY NOT INSURED
                                                                                                             --



           a. 10 days prior to the effective date of cancellation if                   1.         We will not insure bodily l7tfLI7_)Y or property damage
                we cancel for nonpayment ofpremiuin.                                              arising out of any consequences of the failure of any

           h.     30 days prior to the                                                            insured to disclose the presence of any lead-basedpairzt
                                         effective date of cancellation if
                  we cancel for any other reason.                                                 or lead-basedpairti hazard at the time of the sale or lease
                                                                                                  of a residential dwelling.
           c.     l0 days prior to the expiration date of this policy if
                  -we elect not to renew.                                              2.         We will not defend any action which arises out of such
                                                                                                  failure.
     7.    Automatic Termination
           This policy terininates automatically on the expiration                     As used in this endorsement, the following            defniitions applyz

           date of the expiring policy term if thejir-st named insured                 Lead-I1 used Paint
           fails to pay when due any renewal preiniuin, or                             Lead-Z7 aseclpaint means paint or other surface cc atings that
           installment payment, for this policy.                                       contain lead equal to or in excess of 1.0 milligram pcr square

COVERAGE MODIFICATIONS PROPERTY              -I
                                                                                       centimeter or 0.5 percent by weight.

If Part I isincluded in this policy, the following provisions applyc                    Lead-b asezl F/tint azarrlH
A.   The   CONEMON CONDITION - ASSlGNl\/JTTNT OP YOUR                                   Lend-based paint hazard means any condition that causes
     INTEREST is ainended as followsi                                                   exposure to lead -from lead-contaminated dust, lead-
                                                                                        coiitaininated soil, or lead-contaminated paint that is
     lfyoiz die, Part I of this policy will remain in effect until the
                                                                                        deteriorated or present in accessible surfaces, friction surfaces,
     covered property    is sold, but no later thant
                                                                                        or impact surfaces that would result in adverse human health
     1.    180 days after your death, regardless of the expiration
                                                                                        effects as established by the appropriate Federal agency.
           date of the policy term, or
                                                                                        Residen lial D1 well ing
     2.    The    expiration ofthe policy         terni.
                                                                                        Residential dwelling rneansz
     Coverage during the period. following your death is subject to all                 1.         A single-fzunily dwelling, including attached stnlctures
     provisions of this policy including payment of all premiums for                               such as porches and stoopsg or
     the policy term or any extension of such
                                                                                                   A single-family dwelling unit in a stntcture that contains
               COMMON
                                                                                        .2.

B.   The                    CONDlTION- ACTION OR SUTT                                              more than one separate residential dwelling unit, and in
     AGAINST US is supplemented as followsi                                                        which each unit is -used or occupied, or intended to he
                                                                                                   used or occupied, in whole or in part,    as the residence      of
     No action may be brought against in until all conditions in this
                                                                                                   one or more persons.
     policy are complied with, and unless brought within one year
     from the date of loss.                                                       C.        If endorsement        MCL
                                                                                                                 425 (Employee Benefits                    Liability

     No                                                                                     Coverage) is included in this policy, Paragrapli               1   of the
           right exists   under
                            this policy for you or others to           make MS
     party to an action against any insured.
                                                                                            EXTENDED REPORTlNG PERIOD Condition ofMCL 425
                                                                                            is   replaced by the followingi
                                                                                            1.     Tins condition applies only iii
                                                                                                    a. This Coverage Form is cancelled or not renewed for

                                                                                                        any reason,
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b.   We renew or replace this Coverage Form with other
     insurance that
     1.  Provides claims-lnade coverageg and

     2.   Has   21   Retroactive Date later than the one    shown
           in this endorsementfs soheduleg or

c.   We replace 111is endol-se1ne11twi1Lh       other insurance
     ihat applies     on other than a claims-made basis.




                                            /
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                                RELIGIOUS INSTITUTIONS POLICY                                                          Ii/IIVIR    010 09 10
   I/OUR POLICY INCLUDES
                                                The Declarations Page, describing
                                                    You and Your Organization
                                                    -



                                                    The Locations Covered
                                                    -


                                                -
                                                    The Applicable Coverages
                                                i
                                                    The Applicable Limits of Liability and Deductible
                                                -
                                                         Who We are and Your Insurance Representative
                                                The Supplemental Declarations, describing
                                                -
                                                     Special Limits of Liability                               -




                                                -
                                                     Certain Special Conditions of Coverage
                                                This Religious Institutions Form
                                                The policy may          also include other endorsements.
  Tl-IIS         FORM INCLUDES
                                                                               ITEM
                                               Part I A -- Main Property Coverages Descriptionsi

                                                     Coverage A -- Buildings
                                                     Coverage B -_ Personal Property
                                                     Coverage C         -
                                                     Coverage D         -
                                                                   Loss of Income

                                               Part I B       -     Money and Securities-

                                               Part I C       _
                                                           Supplemental Coverages
                                                           Losses Insured
                                                     D         -- PIOPBI-liy
                                               - Property
                                               Part      I

                                                                           F-
                                                                  Exclusions                 Part   IE                                                     zQoc7\f2ooa_




                                                                         -
                                                          Limitations             Part   I
                                               Lossos Not Insured      G   Pait   I          Special                                             )-4)_)d




                                               Paitl Conditionsz
                                                   Duties When Loss Occurs
                                                        How Losses Are Settled
                                                        Other Special Conditions

                                               Part II A       -
                                                           Main Liability Coverages Descriptions
                                                    Coverage E -- Liability to Others
                                                                       -
                                                    Coverage
                                               Part II B       _  Medical Payments to Others
                                                           Supplemental Coverages
                                               Part     II   C -_ Liability Not Insured
                                               Part     II   D -- Special Liability Conditions,          lncliicling
                                                        Duties of Jnsureds
                                                        L-units of Liability

PARTS I AND II                                 Common Exclusions
                                               Coininon Glossary
                                               Connnioii Conditions, Iiicludingz
                                                   Action or Suit Against Us Cancellation                  /
                                                        Termination Coiicealinentl
                                                        IVIISTBPISSGIIIPJITIOII / Fraud Coverage
                                                        Territory Exzuninationl Changes Other
                                                        Insurance O llier Conditions

DEFINITIONS AND WORD MEANINGS
Words shown in zialzrs aie defined in the Glossaries, Part I C, or elsewhere in this policy
The Word _lJ1OV1S1C\ll5,H iefeis to all or part oftlie text of this insurzuiee GOl1lTBCi-vll1ClUClll1P
                                                                                                                       agieeineiits, conditions, exclusions, liinits,
limitations,        and   all   other teiins

The  incanings of other WOICIS or phrases not specifically defined in the Glossaries are
                                                                                         to                             be found   in thou ielcvaiit conventional
definition based on coiisideiation of the context in which they are used
                                                                         in this policy




                 O 7007 MSOG), Inc
   5475-if




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                                           PARTLT A         it
                                                                 lVlA.IN       PROPERTY COVERAGES
     COVERAGE A BUILDINGS     B
                                                                                       A.   Tangible personal property owned by you and usual to your
     This agreement covers the following property at the                                    activities / operations as described that is not included in
     described premises for which a limit of liability ls shown for                         Coverage A.
     Coverage A, subject to all applicable provisions in this policy.
     A. Buildings (buildings include related structures such as                        B.   Similar tangible personal property owned by others in your
        garages, storage and similar outdoor structures) owned by                           care, custody, or control for your use. This does not apply to
        you and usual to your activities / operations as described.                         the extent the loss is covered by others or ifyou are not
                                                                                            responsible to others for-the loss.
     B.    Additions under consttuctionft Alterations or                   repairs.
                                                                                            Tombstones are considered personal property of others. lf
           Completed     additions.
                                                                                            covered by other insurance, such are covered in this policy
                                                                                            only   on an excess basis.
     C. Equipment, fixtures, and machinery that are permanent parts
        of such structures. For example, air conditioning systems,
                                                                                       C.   Tenantls improvements and betterments. This means your
        awnings, canopies, elevators, heating systems, and radio and
                                                                                            remaining use interest in items made part of the premises by
        television antennae.
                                                                                            you, or otherwise acquired at your expense, which cannot
                                                                                            legally be removed by you. This coverage applies only when
 D.       Outdoor      crosses, gravemarkers, statuary, tombstones, and
                                                                                            the cost of such items is not included in your rent and repair
          other     similar property Which is usual to a religious
                                                                                            or replacement is inade at your expense.
          institution.


 E.       Outdoor yard fixtures. For example,                                          COVERAGE C LOSS OF INCOME RESULTING FROM
                                                                                                                -

                                                        fences, ftagpoles,     and
          leunps.
                                                                                       DIRECT COVERED LOSS
                                                                                       This agreement covers your following      loss of income and
                                                                                       related expenses, subject to all applicable provisions of this
 F.       Supplies and materials for use         in alteration, construction, or
                                                                                       policy.
          repaurof such property.)-k
                                                                                       A.   Coverage
          If a special limit for such property is shown in the
                                                                                            (1) Your following                loss of income (that otherwise
          Supplemental Declarations, loss caused by theft is only
                                                                                                   would have been earned) and related incurred
          covered up to that lin1it.
                                                                                                   expenses are covered during a necessary interruption
                                                                                                   of activities or untenantability of the premises at
G. Building glass (including stained glass windows).
                                                                                                   the described premises.
          IfMMR
             508 is listed in the Declarations, coverage for                                       a.    The  continuing usual operations expenses (such
   building glass (including stained glass windows) is deleted.
   If       MMR
             509 is listed in the Declarations, coverage for
                                                                                                         as payroll, utilities, rents) to the extent such
                                                                                                         are necessary to restore your nonnal operations.
          stained glass windows is deleted.
                                                                                                         This includes loss which results from the
          If MMR.    510 is listed in the Declarations, stained glass                                     cancellation or suspension of any written
          windows are covered for covered causes of loss except                                          agreement which was made prior to the loss,
          breakage due to vandalism, Windstorm or                falling objects.                        provided that you could demonstrate that you
          Stained glass windows are covered tor breakage due to
                                                                                                         otherwise would have been able to satisfy and
          vandalism, Windstorm or falling objects provided such                                          meet       all   the requirements of the agreement had the
          windows     are protected by Plexiglas or wire inesh screening.
                                                                                                         direct covered loss not occtured.
                                                                                                   b.    The reduction    in rental income from
H. Permanently                instal.led   cquipinent and furniture such         asz                     tenant occupancies that you rent to others at the
          altars, baptismal fonts / pools, bells, clocks, fnte curtains,
                                                                                                         described premises, plus any continuing charges
          lecternsg organs and operating motorsg pewsg pulpitsg
                                                                                                         which are the usual obligations of tenants (under
          railings, seats, desks and tablesg sound and communication
                                                                                                         tcrms of the lease) that become your obligation
          equipment.
                                                                                                         because of the loss.
it
     If   covered by other insurance, such are covered             i11   this policy               c.    Reasonable extra expenses  in excess of your
          only on an excess basis.                                                                       usual operating expenses to the extent such are
                                                                                                         necessary to continue your nonnal operations.
COVERAGE B PERS ONAL PROPERTY
                         it
                                                                                                   cl.   Reasonable increases in living expenses that you
This agreement covers the following property at the                                                      incur to maintain your clcrgyls customary standard
described premises for which a limit ofliahility is shown for                                            of living when that part of the described preiniscs in
Coverage B, subj cct to all applicable provisions in this policy.                                        which your clergy resides is made untenzurtable.
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                     e.    We cover your Business Income loss in
                                                                 connection               (3) Interference at the described premises
                           with tuition and fees from students,                                                                          by strikers or
                                                                  including fees              others with the repair or replacement
                           for laboratories or other similar                                                                        of property or with
                                                             sources. Business                 the resumption or continuation of
                           Income loss does not include fees for                                                                 your operations.
                                                                     room and
                           board and does not include income                        D. Limits of Liabilityl Coverage
                                                                  from other
                           educational services or related activities.                 (1) If marked as Hlncludedn (or           if   no dollar amount
                    Coverage is not provided for expenses                                      is   shown) in the Declarations, no
                                                                                                                                     speciticmaximunr
                                                          incurred winch
                    need not continue during the period                                        dollar limit of liability applies in
                                                        of interruption or                                                          any one occurrence.
                    untenantability.
                                                                                         (2)   If a specitic dollar amount is shown
                                                                                                                                    in the Declarations,
             (2)    Coverage applies onlyto loss and expenses                                  the amount shown is our maximum
                                                              that directly                                                         limit of liability in
                    result from a direct covered loss atithe                                   any one occurrence.
                                                                described
                    premises which causes the necessary                                        If marked as nDeletedn, HNilH, nNot
                                                           interruption or               (3)
                    untenantability.                                                                                               Applicable (N/A)H,
                                                                                               nNot Covereclu or some other similar
                                                                                                                                          reference in the
                   Coverage also applies, for up to 14                                         Declarations, Coverage    C does not apply.
                                                         consecutive days
                   from the date of loss, when occupancy
                                                           of the described
                   premises is prohibited by civil authorities
                                                                because of
                                                                                   COVERAGE D MONEY AND SECURITIES This
                                                                                                        B


                   loss (as would be covered under                                 agreement covers, up to the applicable limits
                                                    this policy) at a local                                                          shown in the
                   premises not owned or occupied                                  Declar-ations,y0ur following loss to money
                                                  by you.                                                                        and securities
                                                                                   used in your activities / operations,
            (3)    You  are required to irnmediatoly take
                                                          all reasonable
                                                                                                                          subject to all applicable
                                                                                   provisions in this policy.
                   actions to reduce the amount of
                                                   covered /ass and      period    A. On Premises. Meaning loss to
                    of interruption or untenantability. For                                                             such property while within
                                                             example, byz              the described premises (but not in alms
                   resuming partial operations or occupancy,                                                                     boxes) or within a
                                                               making use              bank or similar place of safe deposit.
                   of other locations, or expediting
                                                      restoration of your
                   property. This condition applies in
                                                          deterinining the         B.   Off Premises. Meaning loss to such
                   extent and amount of our liability                                                                         property while being
                                                         for any loss and               carriedby you, or any authorized officer, employee
                   expense otherwise covered     in this policy.                                                                           or other
                                                                                        custodian. Coverage applies to
                                                                                                                         property so enroute        to or
 B.     Coverage Period                                                                 from the described premises and any bank
                                                                                                                                    or similar place of
        We   will pay only for covered loss
                                               sustained and rel.ated                   safe deposit or, while so in route,
                                                                                                                            within the living quarters
        expense incurred during the shorter period                                      of such authorized custodians.
                                                     of time required
        to with diligence and ongoing
                                      effort eitherz
        (1)       Restore the described operations to the
                                                          same                     C.   A S200  deductible per occurrence applies,
                                                                                                                                   unless another
                   capability and quality of service which                              deductible amount is shown for this
                                                           existed just                                                         coverage in the
                  prior to the lossg or                                                 Declarations or SupplementalDeclarations.

       (2)  Promptly repair, restore, or replace that part
                                                                of
           the property subject to the direct
                                               covered loss.
       Also, ifyotz occupy a premises owned
                                                  by others and do not
       have control of its repair or restoration
                                                     theirs we provide
       coverage (if required) beyond this period
                                                     for the additional
      time required to effect such repair,
                                                     replacement, or
      restoration or 90 days, whichever one is
                                                  the shorter period.
      This period is not limited by the
                                              expiration date of this
      policy, but, in no event is coverage
                                                 provided beyond 12
      moutlrs (3 65 days) ii-om the first day of
                                                 the covered loss.
C.    Coverage Limitations
      We do not pay for covered lass or expense caused
                                                       by or
      rcsulling from the followings
      (1)     The   cancellation or suspension of
                                                       any lease
              or agreement, other than as provided
                                                   in Part 1 A,
              Coverage C, Item A.l.(a).

      (2)    Loss of or       to data processing      equipment
             (including       component     parts),   media or software
             used     in   youroperations beyond 30 consecutive
                                                                days.
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                                       PART I B SUPPLEMENTAL COVERAGES
                                                           Q


            These coverages do not extend or modify any provisions of this policy except to the extent specifically
            described in the following Items 1 through 18. The limits shown for the following Supplemental Coverages are
            additional amounts ofinsurance unless otherwise indicated.

1.    AUTOMATIC INCREASE IN POLICY LIMITS                                                     (2)    For any       loss or expense arising out of the
      The   limits     of liability   for   Coverages   A and B   are increased                      enforcement of any code,   directive, law, ordinance,
      on an annual pro rata basis by            the percentage    shown   in the                     or regulation requiring any jnsurerl or others to
     Declarations.                                                                                   clean up, contain, detoxify, monitor, neutralize,
                                                                                                     remove, test for, or treat any pollutants, asbestos,
2.   BUILDING CODE / LAW COVERAGE                                                                    fungi,     mold   or lead contamination.
     A. Coverage A is extended to cover, up to the applicable
                                                                                              Our maximum               liability   under   this    Supplemental
            limit   shown in the Declarations Supplement,           the loss or
                                                                                              Coverage (A.l, 2 and 3 combined), subject to (1), the
            expense described in Items l, 2 and 3 that ensues as a
                                                                                              specified limit and (2), the applicable limits and
            directconsequence of a covered loss at the described
                                                                                              limitations on our liability described in Par-tlG.
            premises. The losses or expenses covered arez
                  The       caused by enforcement of any building,
                          loss
                                                                                              Condition 2.   A is the sum of the followingt
            (1)
                                                                                               (1)   The cost to demolish the properly and clear the site.
                  land use, or zoning code / law in force the date of
                                                                                                     And,
                  the covered loss, thatz
                  a.   Requires the demolition of parts of the same                            (2)   The cost to reconstruct / replace the property on the
                      property not damaged by a covered cause of                                      described premises.
                          loss.
                                                                                              This Supplemental Coverage does not apply -to
                  b.      Regulates the construction or repair of                             buildings or structures insured on an Actual Cash Value
                          buildings, or establishes building, land use or                     basis.

                          zoning requirements at the described premises.
                  The increased expense you incurto
                                                                                      3.   COLLAPSE COVERAGE
            (2)                                                     construct,
                                                                                              Coverage is extended to cover the collapse of a building
                  rebuild,        or repair theproperty caused by
                                                                                              or any stmctural pair of a building that ensues only as a
                  enforcement of building, land use, or zoning code /
                                                                                              consequence of the followiugz
                  law in force on the date of the covered losss the
                                                                                              (1) Any cause of loss provided for in Coverage B.
                  property must be intended for the same use /
                                                                                                     Under this coverage, these causes of loss apply                to
                  occupancy as the current property unless otherwise
                                                                                                      both covered buildings and personal property.
                  prohibited by such code / law.
                                                                                               (2)    Hidden decay, unless such decay                   known to    an
            (3)   The expeiiseyou incur to demolish undamaged                                                                                      is
                                                                                                      insured prior to collapse.
                  parts of property and clear the site of such parts,
                  caused by enforcement of building, land use, or                              (3)    Hidden insect or vermin damage, unless such
                  zoning code / law in force on the date ofthe                                        damage is iCl1DW1l to an insured prior to collapse.
                  covered loss.                                                                (4)    Weight of contents, equipment, animals,             or people.
                  Coverage C is extended, as to Condition B under                              (5)    Weight of rain that collects on a roof.
                  Part I A, -to the increased period of time required to
                                                                                               (6)    Use    of defective material or methods                       in
                  comply with the conditions described in the                                         construction, remodeling, renovation or repair.
                  preceding Paragraph 1.5 but, in no event is
                  coverage provided beyond l2 months (365 days)                                For the preceding Items A. (2)ithrough A. (6), we do
                  ii-om tho first day ofthe covered loss.                                      not cover the following unless the loss is a direct
                                                                                               result of the collapse of a building or a structural part
     If MM-R 513 is listed in the Declarations, this
                                                                                               of a builciingz antennas, includirlg their lead-in Wires,
     Supplemental Coverage does not apply.
                                                                                               masts, or towers H awnings B beach or diving
     B.   We        are     not     liable    for   payment under          this                platforms and related equipment or structures                    1


          Supplemental Coveragcz                                                               decks doclts, piers or wharvcs downspouts or
                                                                                                        I                                   -



          (1) Until the      property is repaired or replaced by you or                        gutters fences outdoor swinuning pools epaved
                                                                                                            I           -I




                  us (at the same premises or elsewhere if permitted                           surfaces of any sort (including but not limited to,
                  or required in this policy), and, unless the repair or                       bridges, driveways, parking lots, patios, pavements,
                  replacement is made as soon as possible after the                            roads, walks) D retainhig walls 0 yard fixtures.
                  loss, but not later than the period described in Part I                  This Supplemental Coverage does not provide an additional
                  G, Condition 2 C.                                                        amount of insurance.
                                                                                  I
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It   PROPERTY COVERAGE EXTENSIONS                                                     covers the loss, or to personal effects while at the
           Consequent Loss Coverages (Spoilage)                                       residence of your clergy.
           Coverage B is extended to cover, up to the applicable
           limits shown in the Supplemental Declarations, loss                  D.   Personal Effects of Others
                                                               to
                                                                                                                                                                 V




        property within buildings or other structures on the                         Coverage B is extended to cover, up to the applicable
        described prerniscsz we cover loss to property spoiled as                    limit shown in the Supplemental Declarations,
                                                                                                                                   loss to
        a consequence of the disruption in power, cooling,                           personal effects owned by anyone, other than
                                                                                                                                       your
        heating, or refrigeration service resulting from the                         clergy, while at the described premises. This Extension
        followingz                                                                   of Coverage does not apply if there is other insurance
           (1)   Loss of Utility Services       The loss ofutility
                                                        -                            available    which covers the          loss.
                 services to the described premises resulting from              E.   Other than the preceding paragraph A., these
                 direct loss (as would be covered by this policy) to
                                                                                     Extensions do not provide additional amounts of
                 property of the   utility.                                          insurance.
        (2)      Mechanical Brealrdown             -
                                                       The sudden accidental
                 mechanical breakdown          or faulty operation              ARSONI FRAUD REWARD
                 (including reiitigerant leakage) of equipment on the           We will reimburse you for any reward you                          give to anyone
                 described premises providing cooling,            electrical,   who discloses information that leads to the                       conviction of a
                 heating, or refrigeration service.                             person or persons for arson          at    the described         pr-cruises.
       This Extension of Coverage does not include loss                         The most we Will pay under this              special provision             is        85,000.
       resulting from or caused bys any conditions within
                                                          your                  No deductible applies to this          special provision.
       control. For example, insufficient fuel, inadequate or
       improper maintenance, disconnection or failure to                        DEBRIS REMOVAL COVERAGE
       connect units to power source, failure to turn on power
                                                                                A.   Coverage is provided, subject to the limits specified in
       or units, and the like.
                                                                                     the following Paragraph B,, for the necessary
       When   such loss results ii-om covered loss to power,                         reasonable expenses incurred to remove the debris of a
       cooling, heating, or refrigeration equipment on the                           property loss covered in this policy.
       described premises the specified limits do not apply.
                                                                                B.   We pay such debris removal   expense, up to the special
       If a 390 (zero) limit is specified, then the subject
                                                                                     limit  shown in the Supplemental Declarations, ifz
       coverage is not applicable under this policy.                                 B
                                                                                           The sum of the debris removal expense incurred
      Off Premises Coverage                                                                and the amount otherwise payable by us for the
      With respect to personal property covered under                    this
                                                                                           covered direct physical loss exceeds our rnaxinrum
      policy (including any covered within the definition of or                            limit of liability   on the      loss.
      by extension of Coverage A), premises coverage applies                         We pay up    to the shortfall or special               limit,    whichever             is
      to    covered loss that takes place outdoors within 100            feet        the lesser amount.
      of the described premises. Otherwise, coverage off the
      described premises is extended as followsz
                                                                                C.   This Supplemental Coverage docs not apply                             to         any of
                                                                                     the following expenses
      Coverage        A   R
                              Coverage   A is extended to cover, up to               (1)   Remove the
                                                                                                                     tor
                                                                                                            debris of trees.
      the applicable limit shown in the Supplemental
                                                                                     (2) Extract pollutants     (whether or not
      Declarations, property temporarily away from the
                                                                                           covered property) from land or waterxt
      described premises for maintenance, repair, or service.
                                                                                     (3)   Remove,       replace, or restore land or water
      Coverage        B   -
                              Coverage   B
                                      extended to cover, up to
                                              is                                           that   is   polluted or   is a_/pollutant.       it


      the applicable limit shown in the Supplemental                                 (4)   Remove volcanic           ash, dust, or particulate
      Declarations, loss to covered property while in transit or                           matter that does not cause               loss.
      otherwise temporarily away from the described                                  it
                                                                                           This also excludes the expense to safely dispose of
      premises. Property while in transit is also insured for
                                                                                           such as required by any code, directive, law,
      direct physical loss caused by collision, crashing, or
                                                                                           ordinance, or regulation.
      derailment of vehicles, stranding or sinking of vessels,
      and collapse of bridges, culverts, docks or wharves.                      D.   This Supplemental Coverage applies only to such
                                                                                     covered expenses reported to us in writing within 180
      Personal Effects of Clergy                                                     days from the date of the covered direct physical loss.
      Coverage B is extended to cover, up to the applicable
      limit shown in the Supplemental Declarations, loss to                          Other than Extension B, these Extensions do not provide
     personal effects owned by your clergy While at the                              additional amounts of insurance.
     described premises. This Extension of Coverage does
     not applyz if there is other insurance available which



                                                                                                                                                     lvl.l\/IR       010 0910
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  ELECTRONIC DATA PROCESSING COVERAGE                                           collusion with others).           A series of similar or related acts
  Coverage B is extended to cover, up to the limits shown in                    is one occurrence.
  the Supplemental Declarations, direct physical loss to
  covered property used by you in your business. The Part 1               B.    The limit is not cumulative from year to year even
                                                                                                                                   if the
  deductible does not apply. This coverage applies in lieu of                   acts take place over a period cfyears. We cover loss
  any other coverage provided in this policy.                                   discovered during the policy term, or within one
                                                                                                                                    year
  A. We cover all data processing equipment, including                          from the end of the policy term or the expiration date of
      component parts, owned or leased by you that are                          a prior bond covering the loss (but only ifrecovery
      customarily kept at the described premises. However, if                   cannot be made under the prior bond).
     _we schedule items in this policy, then this coverage                C.   This does not cover-loss where proof is dependent upon
        applies only to the items scheduled.
                                                                               a proiit and loss or inventory computation. But, such
 B.     We cover your media and data (meaning information                      can be used to support a claim which you otherwise
       stored on the media, including concepts, computer                       prove.
       programs, facts, and instructional material used in your           D.   This insurance         is     automatically cancelled on any
       data processing system), including the cost to
                                                                               employee or volunteer worker immediately upon
       reconstruct such data.
                                                                               discovery by you or your directors, officers, or trustees
 C.    We cover reasonable extra expenses in excess of your                    of such dishonesty or fraud by the employee or
       usual operating expense to the extent such are necessary                volunteer worker, whether or not you make claim or
       to continue your business operations, to the extent                     repoit such to   us.

       required because of covered loss under Part I.
                                                                          FIRE EXPENSE COVERAGES
 D.    Losses Not Insured
                                                                          A.   Fire Department Service Charges
       Parts I D, I E and I F (other than 2,        7 and l3.A) do not
                                               3,                              Coverage is extended to cover, up to the applicable limit
       - TheTheunexplained
       apply.     following exclusions applyz Disappearance
                              or mysterious disappearance of
                                                                               shown in the Supplemental Declarations, your written
                                                                               contractual obligation to pay service charges when a fnte
       property, or shortages discovered on taking inventory.
                                                                               department is called to protect or save property .6-om
       Intentional Loss -H Acts committed by, or at the                        imminent direct physical loss covered in this policy. The
       direction of, any insured with the intent to cause a loss.              Patti deductible does not apply.
       We also do not cover lossi                                              This Supplemental Coverage does not cover service
       (1) To media or data which cannot be replaced with                      chargesz
             other of like kind and quality.                                   (1)    Incurred prior to assumption ofyour contractual
       (2)   To property held for lease or sale to     others.                        obligation.

       (3)   Caused by an original defect               or   error   in        (2)    Arising in coimection with a false alarm.
             progrannning.
                                                                          B.   Fire Extinguisher Recharge Expense
      (4)    To media    or data which results as a consequence of             Coverage is extended to cover, up to the applicable limit
             the failure to perform routine (at least on a monthly             shown in the Supplemental Declarations, the cost to
             basis) complete backups of such media or data with                recharge fire extinguishers / related equipment
             such backups being kept off ofthe described                       discharged in pursuit of extinguishing a fire at the
             premises.                                                         described premises. The Part I deductible does 11ot
                                                                               apply-
EMERGENCY REMOVAL COVERAGE
Coverage     extended to cover direct physical loss to covered
              is                                                          LOCK REPLACEHVIENT COVERAGE
property     when removed from  a described premises when in              We will pay reasonable expenses, up to the limit shown in
imminent danger of loss by a covered cause of loss. This                  the Supplemental Declarations, to replace locks at
                                                                                                                               your
extension applies for up to 30 consecutive days from the date             premises. Coverage applies only                   if   your keys have been
such removal begins. The HOff Premiscsn limits                            stolen.   No deductible applies to this coverage.
Supplemental Coverage 4. B) and Part I E do not apply.
                                                                          NEWLY ACQUIRED PROPERTY COVERAGES
EMPLOYEE DISHONESTY COVERAGE                                              A.    Coverage is provided for property newly acquired by
A. We will pay up to the limit of liability shown in the                       you as followsi
    Supplemental Dcclarations, your loss of money,                             Coverages A and B You may apply an amount not
                                                                                                              B


   securities and other personal property because of                           exceeding the limit shown in the Supplemental
      dishonest or fraudulent acts involving your employees                    Declarations to buildings            at   newly acquired    locations, or
      or volunteer workers (whether acting alone or in                         7.5M of the specific                 of liability
                                                                                                           limit.                  to additions   made   in
                                                                               the current policy period to a described premises.


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      Coverage C          -
                              You    may apply    an amount equal to that             This Supplemental Coverage does not provide an additional
      applicable     to   Coverage      A   /   Coverage B at the subject             amount of instuance.
     location.

     These extensions apply when the occupancy                  at a   newly    16.   VAL UABLE PAPERS AND RECORDS COVERAGE
     acquired location        similar to the described operations.
                                is                                                    Coverage B       is   extended to cover, up to the applicable
     The       Hgreatestll limit applies where two or more                            limit   shown         Supplemental Declarations, your
                                                                                                        in the
     locations described in the Declarations are insured                   at         expenses (including the cost of research) incurred to
     different limits of liability.                                                   replace or restore valuable papers and records because
                                                                                      of loss to such property by direct physical loss covered
B. This coverage applies for up to 180 days from the                            \
                                                                                      under this policy. Parts ID, E and F (other than 7 and
    beginning date of acquisition, but not beyond the policy
                                                                                       13. A) and the Part l deductible do not apply.
    period or alter you report to us such acquisitions or
                                                                                      The full Coverage B limit applies to the cost of
     additions.
                                                                                      replacements in blank form, or other costs you incur to

OUTDOOR (EXTERIOR) SIGNS COVERAGE                                                     transcribe or copy written (non-electronic) records.

Coverage    is extended to cover, up to the applicable limit

shown    in the Supplemental Declarations, loss to outdoor
                                                                                17.   VEHICLE COVERAGE
                                                                                      A.   Coverage B is extended to cover your motorized land
signs at the described premises.
                                                                                           vehicles which are used principally on the described
We cover such signs for direct physical loss. Parts ID, E and                              premises to service the premises or the described
F (other than 13.A) and Part I deductible do not apply (but, a                             operations. For example, electric carts, fork lifts, lawn
specific llsignsn deductible may apply).
                                                                                           mowers, tractors and the like so used. lf Coverage B is
                                                                                           not provided in this policy, then Coverage A is extended.
POLLUTION CLEANUP COST COVERAGE                                                            to   cover such vehicles used exclusively         to   service the
A.   Coverage is extended to cover, up to the applicable               limit               premises.
     shown in the Supplemental Declarations, the necessary
                                                                                           Coverage does not apply to any vehicles which arez
     reasonable expenses that you incur to extract pollutants
                                                                                           licensed for use on public roadsg not principally kept on
     from land or water at the described preniiscsz but only if
     the discharge, dispersal, emission, escape, migration,
                                                                                           the described premisesg or         more specifically insured.
     release or seepage ofpollutanrs is a consequence of                              B.   1fMt\/JR 501  is listed in the Declarations, Coverage B is
     fortuitous direct physical loss to covered property                                   extended to cover, up to the applicable limit shown in
     caused by a covered cause of loss.                                                    the Declarations, loss to motorized land vehicles,
     The   special limit specified for this Supplemental                                   trailers and watercraft which arez donated to youg and

     Coverage                                                                              held by you, at the described premises, pending sale.
                                                            -
                is our total liability for all such expenses for

     each annual (12 month) tcnn of the policy     regardless                              Loss under     this Extension is settled on the basis of the
     of the number of occurrences or total expenses incurred.                                 actual cosh value of the property at the time of loss.
     This Supplemental Coverage applies only to such                                  This Supplemental Coverage does not provide an additional
     expenses reported to -us in writing within 180 days from                         amount of insurance.
     the date of such direct physical loss.

B.   This Supplemental Coverage docs not apply to l-lic
                                                                                18    WATER DAMAGE RELATED DAMA GE REPAIR
                                                                                                                     /

     extraction of any sort of nuclear or radioactive materials
                                                                                      EXPENSE COVERAGE
     -A whether such is natural or human made.                                        A. Coverage A is extended to       cover the following
                                                                                              additional expenses incurred in connection with an
C,   If a specific deductible is shown for this Supplemental                                  otherwise covered Sprinkler Leakage loss or Water
     Coverage, such deductible applies in lieu of any other                                Damage loss      (including freezing) when the building
     deductible otherwise shown as applicable under this                                      containing the appliance, equipment, or system is
     policy.                                                                                  covered property iuider this policyz
                                                                                              (1) The expense to repair damage to the building
TREES, SHIRUBS, PLANTS, AND LAWNS COVERAGE                                                         that occurs because of necessary reasonable
Coverage   A is extended to cover, up to the applicable limits                                      efforts to get at and repair damage to the
shown   in the     Supplemental Declarations,             loss (including                           appliance, equipment, or system from which watcr
debris removal expense) to decorative trees, shrubs, plants,                                        escapes.
and lawns. This coverage applies for all covered causes of
loss, other than loss by hail, ice, sleet, snow, or wind. This                                (Z)   The  concurrently incurred expense to repair or
coverage does not apply to property held or grown for                                               replace that particular defective / damaged part
business purposes.                      _
                                                                                                    (ioiiit,   piece of pipe, valve, or similar specific item)




                                                                                                                                                  l\/WfR0liHif)1it
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                               of the appliance, equipment, or system ti-om which
                                                                                                   part as provided for in the preceding Paragraph
                               water escapes.
                                                                                                   A.   2.
                                                                                           (7.)    If others are responsible
                                                                                                                          by contract or law
                    B. This Supplemental Coverage does not     applyz
                                                                                                                                                 for
                                                                                                   payment of such expenses.
                         (1)   To theexpcnse      to repair or replace the
                               subject appliances, equipment, or systems,            This Supplemental Coverage does not provide an
                                                                                                                                    additional
                               other than the particular defective / damaged         amount of insurance.


                                                      PART T C LOSSES TNSURTED
                                                                          it




      GENERAL CAUSE OF                            LOSS CONDITIONS -       property covered under
                                                                                    applies,
      COVERAGES A, B, C                                                                                                  this policy is insured
                                                                                    against fortuitous direct physical loss as iollcwsc
      The various causes of loss cover fortuitous direct physical loss
     not otherwise excluded or limited. Loss -_ covered loss -A
                                                                                                    A
                                                                                    Coverage and Coverage B.
                                                                                    Property covered under this policy is insured
     meansz fortuitous direct physical darnage to or destruction of                                                                         against
                                                                                    fortuitous direct physical loss, not otherwise
     covered property by a covered cause of loss, (including, if                                                                       excluded or
                                                                                    liniited in this policy. If only Coverage B
     covered, the taking of the subject covered property                                                                              applies, this
                                                             by theft               includes loss (other than by tire or explosion or
     and damage arising in the course of such theft). Covered cause                                                                     to glass) to
                                                                                    that part of a nonowned building occupied
     of loss means a cause of loss contemplated by the following to                                                                     by you or
                                                                                    containing your property directly resulting from
     the extent that such are applicable to the subject                                                                                   an act of
                                                             covered                theft, provided you are responsible to others for
     propeity.                                                                                                                        such loss.
     Direct physical loss does not include or mean any sort of                      The  losses and costs excluded under the descriptions
                                                                                                                                            of the
                                                                                    causes of loss Falling Objects and Siuldiole Collapse
     consequent loss, loss of use, or loss of utility. But such loss                                                                      (below)
                                                                     may            also apply to       Expanded Coverage.
     otherwise be specifically provided for in this policyz for
                                                                example,
     see Coverage C or Supplemental Coverage 4.
                                                                                    DESCRIPTION OF CAUSES OF LOSS
     1.            BASIC PLUS COVERAGE                                              The following cause         of loss definitions applyz
                   If the declarations show that llBasic Plus Cover-agell           A.    Aircraft This means direct physical contact of aircraft
                                                                                          with covered property. Airci-alt includes objects that
                   applies, property covered under this policy is insured                                                                               fall
                                                                                          iitom aircraft, spacecrait, or self-propelled
                   against fortuitous direct physical loss as followsz                                                                  inissiles.

               Coverage        A                                                    B.    Falling Obj ectsz This means damage to
                               Property included in Coverage A is insured
                                   e                                                                                                     other
               against fortuitous direct physical loss, subject to all                    property caused by the falling object.
               applicable provisions of this policy.                                      This does not inclndez
              Coverage                                                                    (1) Loss to personal property outdoors
                               Property included in Coverage B is instured
                               IB -                                                                                                              (not
                                                                                                  in buildings).
              against fortuitous direct physical loss by the following,
              subject to all applicable provisions of this pclicyz                        (2)   Loss to the interior of a building, or any
              Q
                   Fire (hostile tire)                                                          property Within a building, unless the falling
              Q
                      Aircralti                                                                   object first penetrates the roof or exterior walls    oil
              e
                      Explosion                                                                 the building.
              -
                      Falling    Obj ects-It                                        C.    Glass Breakagez This means damage to other
              -J
                      Glass Brealtagei                                                    property caused by breakage of glass that is part of
                                                                                          buildings.
          B
                      Lightning
          -I
                      Riot or Civil Connnotioni                                     D.    Riot or Civil Coniniotiouc This includes, but           is    not
                                                                                          limited toz
          B
                      Sinltihole   Collapsed
          -           Smokey-t                                                            (1)   Acts of striking employees while occupying
                                                                                                the described preiniscsg
          e
                      Sprinltler      Leaka get
                                                                                          (2)     Looting occurring at the time and place of
          H
                      Vandalistni
                                                                                                  riot or civil connnotion.
          -           Vchiclesi
                                                                                    E.   Sinkholc Collapses This ineans abrupt collapsing or
          -
                      Volcanic Eruptioni
                                                                                         sinking of land causing loss to covered proper-tyt
          e
                      Weight of Icc, Sleet, or Snow                                                                                         such
                                                                                         collapsing or sinking must bc into an underground
          Q
                      Windstorm /Hail                                                    empty space created by the action ofwater on limestone
          -
                      See following cause of loss descriptions.                          or similar rock.
                                                                                         This docs not includes the cost oflilling sinkholesg
2,        EXPANDED COVERAGE                                                              collapsing or sinking into      man made cavities.
          U the Declarations show that lllbrpnntled Coveragcll
                                                                                                                                          M1\/lR0l()09l0
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          F.     Smoker This means srnoke causing             abrupt                               au automatic sprinkler system.
               Accidental direct physical loss.                                                    Water includes steam and such                                                  discliarge     of other
           G. Sprinkler Lealtages This means accidental                                            liquids or materials.
              Discharge orleakage from an automatic sprinkler
              system and the collapsing of a tank that is part of such
                                                                                              it
                                                                                                   Applicable to Coverage                                            A and Expanded Coverage for
                                                                                                   Coverage B.
                 system.
          H. Vandalisniz This means wilful iiialicious damage
             To property, and includes such damage done to a
                                                                                              SPECIFIED CAUSES OFLOSS
                                                                                              Where         the teiin specified causes of loss is used, the teini
             building by burglars while breaking into or out of such
                                                                                              means         the followingz Fire I aircraft - explosion - falling
                building.
                                                                                              objects        -I
                                                                                                                      lightning
                                                                                                                         or civil coininotion        -
                                                                                                                                               sinkhole  riot
                This does not includes breakage of building
                                                                                                                                                                                             H

                                                                           glass or
                                                                                              collapse  smoke sprinkler leakage - vandalism I vehicles -
                                                                                                              -                     -3


                signsg loss   by the-it.
                                                                                              volcanic eruption - water damage weight of ice, sleet, or
                Vehiclesz This means direct physical contact
                                                                                                                                                                          -

          I.
                of a vehicle, or an object thrown up by a vehicle,                            snow windstonn / hail.
                                                                                                        B




                with covered property.                                                        However,                these apply only to the extent that the subject
                This does not includez loss caused by vehicles you own                        property        is      otherwise insured for such causes of loss.
                or   which   are operated in the course ofyozzr business.
          J.   Volcanic Erupticnz This ineans onlyz                                           COVERED LOSS
                                                                                              A. Coverages A and B                                               Covered loss     as described-in Part
               (1) Airborne blast or shock wavesg and
                                                                                                                                                           -I




                                                                                                   I C,       General Cause of Loss Conditions.
               (2) Ash, dust, or particulate matter other than that
                   which can be swept or washed away without                                  B.   Coverage                     C            -
                                                                                                                                                 Relevant            to the context in      which        it is
                   leaving physical daniageg and                                                   usedz
               (3)   Lava fl0Wg                                                                    (1)       Direct covered loss ineansz the fortuitous direct
                      caused by eruption of a volcano. But see Partl                                         physical loss as described in Partl C, General
                      Coninion Exclusion l.                                                                   Cause of Loss Conditions, which occurs at
                                                                                                             described premises occupied by you (occupancy is
      All volcanic eruptions that take place within                              21                          not a condition for Rental lncoine loss), which
      continuous 168 hour period are considered a single                                                      directly results in the subject covered Loss of
      occurrence and constitute a single loss.                                                                    lnconie,
      K. Water Daningetz                     Means
                                               the abrupt accidental                               (2)        Covered loss iiieansc the subject covered Loss of
               discharge of water as a direct result oftlie breaking or                                       liicoine which results as a direct consequence of
               cracking of any part of an appliance, equipment, or                                                such described direct covered loss.
               systeni containing waterz but see Sprinkler Leakage for




     M           Mm           Q                                                                                                                                                      4444                  T
                                              ivlnr..         his   iindhniirir nadir irsronsm
                                                                                                                                                                                                     C




                                                         it            .   M.   .4                                     .1                .                  in



PROPERT Y NOT COVERED
We do not cover the following property except to the extent                                   3.   Underground drains, tlues, and pipesg and foundations
otliei-wise spcciically provided for in this policy.                                               below the ground surface or, if there is a baseinent,
A. Accounts, bills, deeds, evidence of debt, money or securities,                                  below the subsurface of the lowest basement.
   notes, and gold, silver, or other precious metals. Valuable                        E   i   Property not described in                                    this policy.

   paper-.r and records. But sec Suppleineiital Coverage 16.
                                                                                              Property otherwise insured under Coverage B that is more
B.   Outdoor (exterior)          signs.    But sec Supplemental Coverage                      specifically described and insured by this policy or under
                                                                                              any other insurance                                contract.
C.   Creatures of any         sort.
                                                                                              Trees, shrubs, plants, lawns, and growing crops. But see
                                                                                              Suppleincntal Coverage 15.
D.   1.        Earthworks and land, including costs of excavation,
               grading, and mung, and Paved Surfaces Such as Walks
                                                                                      H. Vehicles,                as foilowsi aircraft, niotoi-iz.ed land vehicles
                                                                                                                                                    and
               and drivewaysgwaler.                                                                                         I
                                                                                                                                                                   J

                                                                                              watercraft.  This includes any of thenV. accessories
                                                                                                                                -
                                                                                                .   .             -
                                                                                                                                                 -

                                                                                                                                                                 .
                                                                                                                                                                              V

                                                                                                                                                                                                 .



     2.        Pilings, piers,   Wharves and docksg and retaining walls                                                                               ,

                                                                                              equipment, motors, and parts, and their trailers. But see
               not part ofbuildings.                                                          Supplemental Coverage                                       l7.
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                                           PARII E j PROPERTY LIMITATIONS                                                         .




                                                                                                                                                               _
     PROPERTY LIMITATIONS COVERAGE         -
                                                           13                 C. Jewelry - Jewelry, jewels, pearls, precious and semi-
     The following     restrictions apply to loss to covered property.           precious stones, watches and Watch nioveinentsg and gold,
     A.    Breakage - Glass and     other similar ii-agile glass type items      silver, and other precious metals in bullion or other form are
            are not covered for breakage.                                        covered, in aggregate, up to the applicable limit shown in the
                                                                                 Supplemental Declarations.
 B.        Furs    Furs and fur trimmed garments are covered, in
                   -1



                                                                                  If loss   is   caused by    a specified cause   of loss these restrictions
           aggregate, up to the applicable limit shown in the
      A
                                                                                  do not    apply.
           SupplementalDeclarations.




                 ___                      _ Pzsirijiu           mosses not INSURED
                We do not insure loss consisting of, or directly or indirectly caused by, one or more oi the following, except to
                the extent otherwise specifically provided for in this policy. Such loss is not insured Whether
                                                                                                                       or not an
                otherwise covered cause of loss contributes concurrently or otherwise to the loss.

 1.        BUILDING LAVV EXCLUSION                                                But, if loss by     fu-e,   explosion or   theft, to the extentotherwise
           The enforcement of any laws regulating construction, repair,           covered in this policy, ensues           we insure such   ensuing loss.
           demolition, or debris removal, other than safety glazing
           laws. But see Supplemental Coverage 2.                                 INTENTIONAL LOSS EXCLUSION
                                                                                  Acts committed by, or           at the direction    oi any insured with
2.         COIWPUTER HACJQNG AND COMPUTER VIRUS                                   the intent to cause a       loss.
           EXCLUSION                  -




           Computer hacking       or computer viruses.                            LEAKAGE                FROM             FROZEN           EQUIPMENT
                                                                                  EXCLUSION
3.         DISAPPEARANCE OR DISHONESTY EXCLUSION                                  The leakage or overflow from, or damage to, plumbing,
          The unexplained or mysterious      disappearance of property            heating, an conditioning or other equipment or appliances
          including money and securities,    or shortages disclosed on            which Breeze while the building is vacant or unoccupied.
          taking inventory. Acts of appropriation, pilferage or                   But, we do insure such loss ifymz (and others you designate
          shoplifting. Criminal,-dishonest, or iiraudulent acts
                                                                  by, or          to care for the premises) exercise necessary and ongoing care
          instigatcd by, you or your directors, employees, ofticcrs,              to maintain adequate heat in the building, or such equipment
          trustees or volunteer workers or other insureds, or by anyone           and appliances are drained and the water supply shut oft
          given possession of property, other than a bailee for hire.
                                                                                  LOSS OF USE OR DELAY EXCLUSION
4.        ELE CTRICAL INJURY EXCLUSION                                            Because you cannot            sell or   use property, or resulting from
          Electrical injury caused by artihcially generated electrical            delay.
          currents. But, if loss by fire, not otherwise excluded, ensues
          we insure such ensuing loss.                                            POWER, HEATING, OR COOLING FAILURE
                                                                                  EXCLUSION
6.        EXPLOSION OF STEAIVI EQUIPMENT EXCLUSION                                Power, heating, or cooling failure, change in temperature or
          The explosion of steam boilers, engines, pipes, or turbines             humidity, or loss of utility services. But see Supplemental
          you own or lease or which are operated under your control.              Coverage 4. A.
          But, if loss by lire or subsequent explosion, not otherwise
          excluded, ensues we insure such ensuing loss.                           STAINED GLASS WINDOW EXCLUSION
          We              by the explosion of gas or fuel within the
               also insure loss                                                   If   MMR 507       is listed   in the Declarations,     we do not   insure
          firebox, combustion chamber or flucs of any such                        losscaused by breakage              to stained glass   windows covered
          equipment.                                                              under Coverage A.

6.        FLOOD FLOODING EXCLUSION
                        /                                                         WATER DAMAGE EXCLUSIONS                                                _




          Flood, ilooding, surface water, waves, storm surge, tidal               A. Uindcrgrotind, surface or subsurface water which exerts
          water or tidal Waves, overflow of streams or other bodies of                pressure on or -flows, seeps or leaks through
          water, or their spray, aggravated by or resulting from any                  basements, driveways, floors, foundations, paved
          natural or human inade causes, all, whether or not caused                   surfaces, sidewalks, swinuning pools, walls, windows,
          by, or a consequence of, rain, snow, wind or other                             doors, or other openings.
          conditions of the weather, or other covered causes of loss.
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      B.   Water or sewage which backs up through sewers or                              E.   Earth / groundl land movement on or below the
           drains or overflows from a sump.                                                   surface of the earth aggravated by or resulting from any
      But, ifloss by fire, explosion, sprinkler leakage or theft, to                          natural or human made causes including, but not limited
      the extent insured by this policy, ensues we insure such                                 toz earthl ground / land collapsing (other than sinkhole
      ensuing    loss.                                                                        collapse), pressure, rising, shining, sinking, sliding, or
      If   MMR 502       is listed in       the Declarations, then Exclusion l2.              subsidence, landslide, mine subsidence, mudflowg
      B is deleted.                                                                           mudslideg rockslides or rockfalls.
      If   MMR 503       is listed in       the Declarations, then Exclusion l2.              See also Part 1 Common Exclusion l as to catastrophic
     B    amended in that we do cover damages caused by water
           is                                                                                 earth movement.
      or sewage which backs up through sewers or drains or                               F.   Motrin g or scratching, but only with regard to
      overilows from a sump up to the applicable limit shown in                               personal property.
     the Supplemental Declarations.
                                                                                         G. Smog,          or    smoke from
           MMR 514
                                                                                                                                agricultural   or   industrial
     If                  is        listed in the Declarations, then
                                                   Exclusion 12                               activities.
     is amended to cover damages caused by Water damage up to
                                                                                         If lossby a covered speczjied cause of loss ensues we insure
     the applicable limit shown in the Declarations Supplement.
                                                                                         such resulting loss.
     This coverage is subject to a 181,000 deductible per
     occurrence, applicable to each location covered under
     Section I ofthis policy.
                                                                                         WEATHER RELATED EXCLUSIONS
                                                                                                            /

                                                                                         A.   Coverage B
                                                                                              (1) Loss to personal property caused by changes
13   V/EAR, TEAR AND                       OTHER SPECIFIED CAUSES OF                                                                                         or
                                                                                                      extremes of temperature or by dampness or dryness
     LOSS EXCLUSIONS                                                                                  of the atmosphere.
     A.     Wear and tear      birds, domestic animals, insects,
                                       I


            raccoons       rodents or vermin - contamination or
                              -1                                                              (2.)    Loss by  hail, ice, rain, sleet, or snow to personal

            pollution including, but not limited toz (1) the discharge,                               property within a building or structure unl csst
            dispersal, emission, escape, migration, release, or                                       a.   Insured for Expanded Coverage, or
            seepage ofpolluranrsp (2) the costs associated with                                       b.   The exterior roof or walls first sustain loss
            enforcement of any governmental directive, law or                                              by any covered cause of loss which then
            ordinance which requires you or any others to clean-up,                                        allows these elements to enter the building or
            contain, detoxify, monitor, neutralize, remove, test for,                                      stmcture.
            or in any way respond to pollutants, asbestos, fungi,                              (3)    Loss by freezing, hail, rain, ice, sleet or snows but
            mold or lead contamination or asscss the effects of                                       these apply only to personal property while
                                     mold or lead contaminationz
            pollutants, asbestos, jimgi,                                                              outdoors at the time of loss.
            but see Supplemental Coverage 14 for certain coverage
                                                                                         B,   All Property
            -
              bacterium Q corrosion - decay or deterioration                        -I




            deficiency, error, or omission in design, materials,                              (1) Drought.

            plans, or workmanship             -
                                               dry or wet rot ifizngi,
                                                  disease   B                                  (2)    Any other Weather conditionsz but this only applies
                                                                                                      if weather conditions contribute with a cause,
            mold, spores, mildew, bacterium, or other natural
            growth - inherent vico (21 customary characteristic of the                               condition, or event, otherwise excluded in this
                                                                                                     policy, to produce the loss.
            property) B latent defect (an original condition or fault
            leading to loss) mechanical breakdown - rust.
                                      4-                                                 If loss otherwise covered in this policy ensues,           we   insure
                                                                                         such resulting loss.
     B.     Buckling, bulging, contracting, cracking, expansion,
            settling, slrrinlcage, or sinking.
                                                                                              AND WEDO NOT COVER LOSS TO
     C.     Contamination by any virus or other pathological agent                             THE FOLLOWING PROPERTY
            that causes disease or illness in humans, animals, birds,
            or other creatures, or the costs associated with                             HOT WATER I STEAM EQUIPMENT EXCLUSION
            enforcement of any governmental directive, law or                            A.   I-lot       Boilers -M To hot water boilers or other
                                                                                                      Water
            ordmance which requires you or any others to cleanup,                             equipment for heating water caused by any condition or
            contain, detoxify, inonitor, neutralize, remove, test for,                        occuirence within such boiler or equipment. But, we do
            or in any way respond to any virus or other pathological                          insure loss       by explosion.
            agent.
                                                                                         B.   Steam F.quip1nent-- To steam boilers, engines, pipes
     D. Continuous or repeated leakage or seepage horn any                                    or turbines caused by any condition or occurrence
        part of an appliance or system which contains water or                                within such boiler or equipinent. But, we do insure loss
            othcr liquids resulting          from   a condition   which you fail   to         caused by the explosion of gas or fuel within the
           repair.                                                                            firebox, conibustion chamber, or tlues of any such
                                                                                              boiler or equipment.
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 UNAUTHORIZED VOLUNTARY TRANSFER OF
                                                                                                                              -
                                /

 PROPERTY                                                                         Voluntary Transfer           Loss in connection with
 A. Unauthorized Transfer -- Loss in connection with                              property that you (or others to whom you have entrusted
    property that is given or transferred to any persons or                           the property) voluntarily give or transfer to anyone on
         transferred to any place (not the described premises)                        the basis of being induced to do so by false pretense or
         011 the basis of false / unauthorized instructions -
                                                                                      fraudulent device, scheme, or trick.
         however such        are given or transmitted,



                                        PART G e SPECIAL PART l CONDITIONS
                                                     It



DUTIES WIIEN LOSS / DANGER OF LOSS OCCURS                                                          Submit to examination and provide statements
                                                                                        (3)
You, other insurezls, and other coverage beneficiaries
                                                                                                   under oath, and sign and swear to such. If more than
must do all ofthe following tbingsz
A. Report the Loss              _
                           Give inunediate Written notice to 7-IS
                                                                                                   one person is examined we reserve the right to
                                                                                                   make such examination of each person out of the
    of any loss. Also, imniediately notify the police in case
                                                                                                   presence of the others. We also reserve the right to
    of theft, vandalisni, or other violation of law. As soon as
                                                                                                   video record any examinations.
         possible, give us a description of1iow,When and where
         the loss occurred.                                                             (4)        Otherwise cooperate with us in the investigation/

B.       Protect Property           -
                                Protect property if in imminent
                                                                                 D.     Inventory
                                                                                                   settlement of the claim.
                                                                                                             - At our request, prepare and sign an
         danger from a covered cause ofloss or, ifloss has
         occurred, from further damage. For example, by taking
                                                                                        inventory of           all   damaged and undamaged property,
         exposed property indoors, by covering openings or                              showing            in detailz   age, description, quantity, actual
         windows, or by making temporary repairs. We cover the                          cash value and, if so covered, replacement cost, source,
         reasonable necessary expenses that you incur for such                          amount of loss claimed. To the extent possible, sot the
         immediate temporary repairs or safeguards                                      damaged property aside and put such in best possible
                                                                                        order for our examination.

         to     W
         However, it is your ongoing obligation, at your expense,
               as soon as feasible after you, your employees, or                 E.     Statement of Loss /Proof ofLoss
         those you authorize to act on your behalf become aware                         Submit to us a statement about the                 loss that includes all
         of any condition under your control which could lead to                        information reasonably required by us (including, but
                                                          -
     -




         loss While this policy is in force          undertake all                      not limited to, that described in the preceding
         reasonable coustru ction, maintenance, or repair                               Paragraphs C. (2) and D) to dcterminez coverage, our
         necessary to protect property from such covered loss.                          liability for the loss and the amount and scope of
         Listing of all such conditions is not feasible, but                            loss, specifications of any damaged buildings. The
         examples includez it a roof is leaking, to repair such, if a                   statement is also to include detailed repair estimates.
         flooring support-is collapsing / deteriorating, to repair                      And  if reqniredz submit to us within 60 days after our
         such, if new supports or retaining walls become                                request a signed, sworn proof of loss. This is to include
         required, to construct such.                                                   the   information described in the preceding
         Any additional or subsequent loss rcsultingfroni your                          paragraphs and any other infonnation reasonably
         neglect of these duties is not covered under this policy,                      required by us, including all knowledge available to
         and you must either rcly on other insurance or absorb                          yon, and others ab outz
         such loss yourself                                                              (1) The time and cause of loss.

C.       Cooperation on the Loss                                                            (7.)   Your interest and that of all others         in the property
         As     often as   we may reasonably request / requires                                    involved, including a description of             all

         (.1)   Imnicdiately exhibit all that remains of the                                       cnculnbrances on such property.
                damaged and undamaged property, and allow us to                             (3)    All other insurance policies which          may apply to the
                take samples of such property for examination                /                     loss.

                inspection.
                                                                                            (4)    Any changes          i11   occupancy,   title,   or use   ofthe
         (7.)   Produce       for   examination and
                                                 oopyingz the                                      property during the policy term.
                inventory described in the following Paragraph                   Failure to comply with these (or other Conditions) can
                D. belowg all relevant accounting procedures,                    alter or void our obligations under this policy.
                affidavits,   books of account,     bills, contracts,   deeds,
                documents, evidcncc, iinancial records, invoices,
                liens, leases, receipts, records, tax returns,                          \




                vouchers, or other sources of information, or
                facsimiles zicceptable to    ZLY.
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Z   HOW LOSSES ARE SETTLED A.                              Limits of Liability
    Our    liability for loss          is   limited to whichever      amount is                     (3)   Money    or Securities
    the smallest oithe followings
                                                                                                          Our   liability for loss to         money      or securities, to the
     (1) The replacement cost or actual cash value of the
                                                                                                          extent  covered in this policy, does not exceed
         propeny at the time of loss, whichever basis applies to
                                                                                                          Whichever amount is the smaller of the followingz
         the properly covered under this policy. But not
                                                                                                          a.  The actual cash value of the property at the
           exceeding the lesser               oft   thcreasonable cost                                                             I




                                                                                                               time of loss.
          required, with diligence, to repair or replace the
          property with equivalent property at the described
                                                                                                          b.    The   cost to replace the property with
                                                                                                                 equivalent property. The cost of replacing
                                                                                 -
          premises intended for the same use / occupancy, or
          the amount spent for such repair or replacement                                                        securities may be determined by us by market

          cvcn if the actual cash value is greater.
                                                                D

                                                                                                                 value at the time of settlement.

    (Z)    The     limits or      amounts of insurance shown                in this
                                                                                                          If   more than one             location   is    covered, the    HOff
          policy applicable to the loss.
                                                                                                          Premisesn       limits        are   not cumulative,       and any
                                                                                                          specific location limit applies only to loss              from the
    (3)    Your insurable interest or that of any Hmoitgageell                                            described location.
          named in this policy.
                                                                                                    (4)   Tenantls Irnproveinents and Better-ineuts
    Deductible                                                                                            We will pay your use interest in such property based
          We are liable for that amount of the loss in any one                                            upon consideration ofi (a) the unexpired tenn of the
          occurrence in excess of the deductible amount shown in                                          lease at the time of loss and, (b) the age of such
          the Declarations. The deductible docs not apply to                                              property at the time the lease expires related to your
          Coverage C.                                                                                     expenses to acquire such property. However, if you
                                                                                                          repair or replace the property at your expense we will
    Bases ofSettIe1nent
                                                                                 I




    (fl) Replacement Coverage. Loss settlement under
                                                                                                          pay for the loss on a replacement cost or actual cash
         Coverages A and B is on a replacement basis                                                      value basis, whichever coverage option is applicable in
                                                                                                          this policy.
         (unless otherwise provided in this policy), except
         that the following property is covered on an actual                                   D.   Abandonment    of Property
          6613/7  value basist                                                                      There can be no abandonment               to us of any property.
           a.    Manuscripts, paintings, statuary and               tapestries.
                                                                                               E    Appraisal
                   Works of
           b.
                    including       - but not limited H books,
                                    art,     antiques,   or   rare
                                                               to
                                                                          articles,
                                                                                                    (1)   If you and we fail to agree on the amount of the loss
                                                                                                          or values, either oue can require that the amount of
                    bronzes,           bric-a-brac,      etchings,         marble,                        loss or values be sot by appraisal. Within 30 days of
                                                                                           .




                   pictures, porcelains.
                                                                                                          receipt of a written.        demand for appraisal, each is to
          Replacement coverage                  applies only if replacement               is              select a competent   and disinterested appraiser. Each
          made at the described premisesi We may waive this                                               is to then notify the other of the selected appraiser.
          requirement in writing if building laws prohibit
                                                                                                    (2)   The two      appraisers are to select a competent and
          replacement at the described premises (then see
                                                                                                          disinterested umpire. If the appraisers are unable to
          Supplemental Coverage 2), or for other reasons
                                                                                                          agree upon an runpire within fifteen days, you or we
          acceptable to       us.
                                                                                                          may petition a judge of a Court of Record to select
          We     are not liable for payment on a replacement basis                                        an tunp ire.
          until   the repair or replacement is completed, unless the
                                                                                                    (3)   The  appraisers are to set the amount ofthc loss or
          total cost for full repair or             replacement
                                                       than the      is   less
                                                                                                          value. lithe appraisers fail to agree within a
          replacement threshold limit shown in the Declarations
                                                                                                          reasonable time, they are to submit their differences
          Suppleirient. You may submit a claim on an actual
                                                                                                          to the umpire. Written agreement signed by any two
          cash value basis and then, no later than 180 days
                                                                                                          ofthcse three persons sets the amount of loss or
          following settlement on an actual cash value basis (or
                                                                                                          value.
          our offer of such            ifyou decline settlement)          make       further
          claim in Writing on repair or replacement which you                                       (4)   Each appraiseris paid by the party selecting that

          have completed at the time you make such claim.                                                 appraiser. Other expenses of the appraisal and

          if    MMR   504 is listed in thc Declarations,                               loss
                                                                                                          compensation of the umpire arc lo be paid equally
          settlement is on mi actual cash value basis.                                                    by you and     us.


          ActurtiC11sl1 Value                                                                       (E)   If we agree to appraisal,           we specifically retain our
    (Z)
          If the actual cash value settlement
                                                                                                          right to    deny the claim.
                                                          is applicable, then

          loss     is   scttlod   on   the basis of the actual cash value of
          the properly at the time of loss.
                                                                                                                                                             ivtMR0l00910
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P    Loss  to a Portion of a Pair or Set of Articles             W
     Coverage B                                                             With respect         to   any mortgagee or secured party named
     (1) Loss to some portion of a pair or set of articles or to            under      this   policy,    governmental entityg or others with
         property consisting of two or more parts (when                     contractual, legal, or statutory rights in loss payable under
            complete) is not considered a total loss unlcssz                this policyi we may make payment jointly to all interested

            because ofthe loss, the remainder is of no use and              parties at our option. But we need not pay any loss assignee,

            repair or replacement    is   not feasible.                     unless they receive a full assignment of the loss from you.

     (2.)   In case we agree to pay for total loss,you are                  lf an insurance trustee is           named   in this policy,   we may
                                                                            negotiate the loss and make payment solely to such
            required to give us the remainder of such property,
            at our request, prior to such payment.                          trustee    -
                                                                                      to the extent the trustee represents those with an
                                                                            interest   under this policy.
    Our Liability and       Satisfaction of Your Loss
     If themaximum liability payable by us on covered loss, as         3.   OTHER SPECIAL CONDITIONS
    determined under this policy, does not hilly satisfy your               A.   Mortgagee Clause
    loss, then you must either seek insurance that may be                         Mortgagees named in          this policy are covered for loss to
    provided by others for the difference or otherwise absorb the                                            and in order of precedence of
                                                                                  the extent of their interest
    unsatisfied portion of the loss yourself.                                     the mortgages. This condition applies to all moi-tgagees,
                                                                                  trustees or secured parties named in this policy who
     However,   loss does not reduce the amount of insurance
     unless an aggregate limit applies.
                                                                                  comply with the following conditions of this policy.

     Our Options      in Settling   Losses   - Coverages A and B                  Provided that the mortgagee willz
                                                                                 (1) Without delay, notify us of any change                    in
     (1)    We may pay for the loss in money.                                           ownership or occupancy, foreclosure proceeding         or
     (2)    We may repair     or replace all or      any part ofthe                     increased hazard known to the mortgagee.
            property as provided for in this policy, or take all or                           on our demand, any required premium,
                                                                                 (2) Pay,                                                  if you
            any part of such property at a mutually agreed, or                         fail to do so.
            appraised, value. We may give notice of our intent
                                                                                 (3) Furnish          proof of loss within 60 days after our
            to -do so at any time up to 30 days after our
            acceptance of our liability for the loss (i.e., proof of
                                                                                       request, if you fail to   do so.
            loss).                                                               (4)   Give 14Sill61Tl0HgE1g66lS rights ofreeovery against
                                                                                       anyone liable for the loss. This is not to impair the
    (3)     We may settle the claim with you, any loss payee
                                                                                       right ofthc mortgagee to recover the full amount of
            named in this policy, or others legally entitled to
                                                                                       the moitgageels claim.
            receive payment. If the claim applies to property of
            others, we have the right to adjust tho loss with the                (5)   Permit     us, after a loss, to satisfy the   mortgage
            owners of the propertyz satisfaction of their claim is                  requirements and receive a full assignment of the
            also satisfaction ofyozir claim as to such property.                    mortgage and all collateral securities to the debt.
                     taken in a claim against you, we have the
    If legal action is
                                                                                 We agree to provide this insurance to protect the
                                                                                 inortgageels interest in covered property in case we
    right to conduct and control a defense at our expense (but
    without increasing our liability under this policy).                         deny your claim.
                                                                                 Cancellation may be made by us in accordance with the
    Recovery of Covered Property                                                 cancellation provisions described in the Common
    In the event we make a payment for loss and a                                Conditions.
    subsequent recovery is made of any of the property, you may
    choose to keep the property you have recovered or receive               B.   No Benetit to Bailee                                      _




    the property that we have recovered. If you choose this                      This insurance does not inure to the benefit of any
                                                                                 carrier or others having custody of your property for a
    option, our liability is reduced accordinglyz payment is
                                                                                 fee or other payment.
    adjusted for the amount which you received for tho loss to
    such property, and you must compensate us for the amount                C.   Vacancy, Unoccupancy, and Other Increase                       in
    we previously paid.                                                           Hazard
    Ifyou do not choose                       recovered property
                                 this option, the                                 (1)      This insuranceis suspended on a covered building

    becomes our propertyz     if you have such property, you are                           while vacant beyond a period of 60 consecutive
    required to give us those items we request.                                            days, (180 consecutive days if the covered
                                                                                           building is a parsonage, sexton house or staff
    When    Loss l3ecomes Payable /Payment to Others
                                                                                           dwelling).
    Loss becomes payable 30 days after completion and
                                                                                           HVacantn or HVHCZIIIC)/H means not containing the
    acceptance by us of a written agreement hetwcen the
    parties, or after an award is filed with us as provided in this
                                                                                           contents customary to occupancy of the building.         A
                                                                                           building in the course of lawful construction
    policy. Our payment does not reduce the amount of
                                                                                           O1 renovation is not considered vacant.
    insurance provided in this policy.
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           (2) This insurance is   suspended on a covered building                                                                       lncrease in hazard includes changes affecting any of the
                  while unoccupied beyond a period 60
                                                                                                                                         fcllowingi use of the preniisesg the rates for this
                   consecutive days, (180 consecutive. days if
                                                                                                                                         insuranceg the acceptability of hazard / risk to us,
                  the covered building is a parsonage, sexton house
                                                                                                                                         including breach of conditions which were the basis of
                  or staff dwelling). This does not apply to unoccupancy
                                                                                                                                         our acceptance ofsuclig the underwritiiig conditions and
                  during that pait of the year when it is your custoiii
                                                                                                                                         changes in physical conditions required by us for such
                    because of seasonal use.
                  to close
                                                                                                                                         hazard / rislcg ongoing continuous effectiveness and use of
        (3) We are not liable for loss occurring while the
                                                                                                                                         any protective safeguards required by us or for which we
            hazards we undertook to insure at the subject
                                                                                                                                         have given preiniurn consideratioiig circuinstaiices which
            Premises are increased by means which are Within
                                                                                                                                         would affect the scope of coverage, covered causes of
            VOW 00113.01 (01. of tho-96 you designalg to have                                                                            loss, or amounts of insurance otherwise acceptable to
            control of the premises in your absence). Lawful
                  building
                                                                                                                                         W for Suchhazal-d/1-iSk_
                                             alteration,          construction, inaiiiteiiance,                        or
                  repair, unless changing the use of the premises,                                            is   not
                  an increase in hazard.




W                                                   PART ii all MAIN Lianiiiry coynniioiss
APPLICATION OF THIS INSURANCE (PART ID                                                                                              Damages because of bodily injury insured in this                                        policy
This       lnsulltlnce aPl3l_ie5 lo                          lift-bi1ilY    M51113        (fut Of)/07-4l.Plieml54_3S                include claims by others for care, death (at any tiine),                                or loss
     opixi-atiops,tglesigigatetd in ll1GdDSC(l12i1-itliE110.11S oi-1 elsexyhcdre Hg
and                                                                                                                                 of S61-Vices result-mg from Such                      bod,-1y     injum
 its po icy, o ie ex en covere un er iis po. icy, r ios

newly        acqlinigd ml                          ffmed               you       _dum_1g vthe            Cunem pohcy
period      as pl()Vl(l6(l                   111   the   ClBllfl1llOH       of insureds.
                                                                                                                               B, Bodily injury or property       damage which occurs during the
                                                                                                                                    policy tciin, provi.d e d iio I77.SLl)Qd oi amp I oyee authorized by
                                                                                                                                          .
                                                                                                                                                                          .
                                                                                                                                                                                  V   ,       _                  _     _.



All provisions applicable to your operations and your premises                                                                      you to give or receive notice of a claim or occurrence loiew,
designated in this policy apply to additions, changes, and new                                                                      prior to the policy tcriii, that such bodily injury or property
entities, unless                otherwise nioditied.                                                                       .        damage had   occurred, includes any change in, contiiiuation
We have no   obligation to provide any insurance
                                                                                                                                    of) Orresmnption ommt bodily injury Orpmperly damage
                 D                           (   or Fservice i or pay
                                                                   L
                                                                                                                                    alter the end of the policy tcnn.
any expense or any   suin, other than those specifically described
                                                                                                .                      .




as applicable and insured under this policy.
                                                                                                                               C.   Bodily injury or property damage will be deemed to have
COVERAGE E                           0   LIABILITY To OTHERS                                                                        been known to have occurred at the earliest time when any
A A Wcipay
       .7
                          for the          b-mam of insureds up to                                   the applicable
                                                                                                                                    insured or any employee authorized by you to give or receive
                                                                                                                                    notice of a claiin or occurrences
                                                                                      I


                          of liatliility (Sec                               D)
             .                           .
                            _
                                 .            .                         .
                                                                                            .                      .
                                                                   V
                                                                                                               _
                                                                       ll
      1ljliT1lt(S)                 S1110\W1Hll1F1Bb113eSE1mamnS,                                                                    1.   Reports all, or any part, of the bodily inju/y or property
        O56 SUIDS H ITISHTE S CCOH16 C 1
                                     .
                                               121 C O 3. ES
      damages because of bodily injury gdr ljbroperty dljmiyage
                                                                                                                                                         _

                                                                                                                                                                   W
                                                                                                                                         damage to or any Gum insular)        .
                                                                                                                                                                                      ,
                                                                                                                                                                                          -
                                                                                                                                                                                                  .   .




      insured under this policy. Such bodily injury or proper-gr                                                                    2.        Receives a written or verbal dcniaiid, claiiii or suit for
      ddmageinustz                                                                                                                            damages because of the bodily injury or properly
      1.  Be caused by an occurrence that takes place Within the                                                                              411477715185-I   QT
          applicable coverage territoryz See Cominon Condition
                                                                                                                                    3_        Beconies awarc of anything                      that indicates that bodily
                 65
                                                                                                                                              injury or properly        damage has                occurred or   is   occurring.
      2.         Occur during the policy term, and
                                                                                                                               D.   We have no               obligation to pay any damages not covered in
                 Prim           to the policy                  term no Insured                           no Employee
                      _                                  _
                                                                                  _

      3t                                                                                            or
                                                                                                                                    this policy or in            excess of our limits of liability (See Partll
                 authorized                   by you to    give or receive notice of a claim or
                                                                                                                                    D) fol. any covered damages
                 occurrence,                       knew that  the bodilY inJury or 1W0P or
                 clan-rage           had           occiured in whole or in part. If any insured
                                                                                                                               COVERAGE F MEDICAL PAYMENTS To OTHERS
                                                                                                                                                               ,
                 or authorized employee    knew, prior to the policy term,
                 that the bodily W7/U3) Orpmperiy damage Occurred) than
                                                                                                                               A     We pay) up to the applicable limit Ofhabimy (See Pm H
                                                                                                                                     D) shown in the Declarations, the reasonable necessary
                 any Change in) Continuation on O1-liesmnplion of such
                                                                                                                                     niedical expenses incurred by others arisine out of an
                 bodily in-7m-y O1-properly                                 damage during or after the
                                                                                                                                     accident which aria both incurred and 1l6pOl-log to usby)/011
                 policy term       ba deemed to   Wm                           haw men known Prior to
                                                                                                                                      or the coverane
                 the policy terni.                                                                                                                 D benciciary within three years froin the
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       date of such accident. The accident music take place within                      Fault or legal liability      is   not a condition for such
       the applicable coverage territory and policy term                                 payment (and our payment is not an admission of
       (See      Common Conditions), and occurz                                          liability by any insurecbj however, we pay medical
       1.     On your-premises.                                                         expenses only for bodily injury not otherwise excluded or
                                                                                        uninsured under this policy.
       2.     Away      from your premises,       but, if so, then     only   if
              the accident    eitherz
                                                                                        Medical expenses means expenses fora ambulance,
              a.     Arises out of a condition    at your premisesg     or
                                                                                         dental, funeral, hospital, medihal, professional nursing,
              b. Arises out of the operations insured in this policy.
                                                                                         surgical or x-ray services, prosthetic devices, drugs and
                                                                                         surgical supplies.




                         PART ll E e SUPlPLElViEl\lllilAL COVERAGES
             The following coverages do not extend or modify any provisions of this                     policy, including     our Limits of Liability or
             any applicable Exclusions, except to the extent specifically described.

l   DEFENSE COVERAGE                                                                     Suit includes altelnative dispute resolution proceedings to
      With counsel of our choice, we defend                   suits (civil              which an insured     either must submit or may choose to
     proceedings) against insureds seeking damages for bodily                            submit (but only if done with our prior written consent).
      iiyizry, property damage, and personal / advertising injury
     covered by this insurance. We have no duty to investigate                     2.   CONTRACTUAL COVERAGE
     any claim, defend or provide for a defense for any                                 A. Coverage      E is extended to include your liability to pay
                                                                                           damages to others (third parties) because of bodily
                                                                                                                            -
      inszlredx                         .




             connection with either suits seeking damages                                  injury or property damage
                                                                                                                     policy _
      (1) In                                                                                                             to the extent otherwise
          not covered by this policy or allegations within a suit                          insured under this           arising out of your
          which are not covered by this policy, or                                         expressed assumption ofthe liability of another (your
      (2) When the applicable limit ofliability is used                                    indemnltec) under the following oral or written
            up in payment ofjudgrncnts           or settlements.                           contractsz


     We may investigate        and   settle   any claim or suit   as   we                  Item    1.
     deem such to be reasonable.                                                           (1)    Agreement to inderrinify a municipality as required
                                                                                                  by law or ordinance. This does not include
     We assume at our expense the following             costs    and expenses                     agreements made in connection with work for a
     in a suit     defended by nsz                                                                rnunicipalityz but the assumption of tort liability of

     (1) All costs incurred by us.
                                                                               -
                                                                                                  another for such work is included under Item 2.
     (2)    The  interest which accrues after entry of ajndgment,                          (2)    Easernents.- This         docs not include easements
            but only until that time when we pay, offer to pay, or                                involving     work on, or within 50 feet oi, a railroad,
            deposit in court that part of the judgment within our                                 nor   is   the assumption oftcrt liability for such
                 of liability.
            lirnit                                                                                included under Item        2.
     (3) The prejudgment interest awarded against any                                             Lease of promises (but not as to fire or eXplOSlOn
                                                                                           (3)
          insured on that part of the judgment we pay. But, if
                                                                                                  damage) or elevator maintenance agreement.
          we offer to pay our applicable limit of liability under
                                                                                                  Sidctrack agreement.
          this policy, we will not pay any prejudgment interest
                                                                                           (4)

         which is based on thc period oftime that follows our                              Item 2.
            offer.                                                                         That part of other contracts (not as described in item l)
     (4) Costs taxed against the insured.                                                  in Whichyon have expressly assumed the tort liability

     (5) Costs  of appeal bonds or bonds to release                                         (liability imposed by law in the absence of contract) of

          attachments, for that amount of the bond within our                               another, providing the bodily injury or property        damage
          applicable limit of liability. We need not furnish or                             is   caused, in whole. or in part,     by you or by those acting
         secure such bonds.                                                                 on your behalf, but only to the extent that you or those
     (6) The reasonable expenses incurred by the insured                                    acting on your behalf contributed to the bodily injury or
         at our request, as well as earnings (up to S3500                                   properiy damage.
         pcr day) lost because of absence from worlr at our
           request.
                                                          I




                                                                                                                                               lvH\/IROIO   0910
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B.          Exclusion 2, in Part ll C, does not apply to covered
            contracts under ltern 2 with respect to maintenance,          INCIDENTAL FIRE AND EXPLOSION LEGAL
            ownership, or use of aircraft or watercraft.                  LIABILITY COVERAGE
                                                                          Coverage E is extended to include, up to the applicable limit
    C.      This Supplemental Coverage applies only to contracts
                                                                          of liability (See Part II D) shown in the Declarations or
            made   in connection with your operations or your
                                                                          Supplernental Declarations for Fire and Explosion Legal
            prernises covered by this policy and, then, solely to
                                                                          Liability Coverage, property damage, as followsz
            bodily injury or properly damage which occurs
                                                                          A. Arising out of tire or explosion at a nonowned premises
            subsequent to execution of the covered contract.
                                                                               rented   to.    or occupied by, you.

.        FEST AID EXPENSE COVERAGE                                        B. lfMl\/JR 506   is listed in the Declarations, then this
         We pay necessary reasonable medical expenses         incurred
                                                                               extension also applies to property damage arising out of
                                       of an accident, other than
         for fu-st aid to others at the time
                                                                               any other fortuitous direct physical loss at a nonowned
      in connection with bodily injury otherwise excluded in
                                                                               premises rented to, or occupied by you.
     this policy,

                                                                          INCIDENTAL MEDICAL / PROFESSIONAL
     INCIDENTAL ALCOHOLIC BEVERAGE COVERAGE                               LIABILITY COVERAGE
     Coverage E is extended to include bodily injury and
                                                                          Coverage E is extended to include                    bodily injury arising out
    properly damage arising out of the furnishing, giving,
                                                                          of your providing for the benefit of others, without charge,
    serving or use of alcoholic beverages, as followsz
                                                                          any incidental medical or nursing services or drugs or related
    A. When you furnish, give, or serve alcoholic
                                                                          supplies. This does not apply to any insured, or any
        beverages without charge and a license is not                     insured is indernnitee, whose business / profession involves
        required for such activity.
                                                                          the rendering of such services or drugs or supplies.

    B.       IfI\/IMR 5 05 is listed in the Declarations, their we also   IN CIDEN TAL MOBILE EQUIPMENT COVERAGE
             provide coverage when you -furnish, give, or serve           A. Coverage E is extended to include bodily injury and
             alcoholic beverages for which a charge may be made if             properly damage arising out of loading or unloading,
             such activities are an incidental and minor part of your          mairrtenance, ownership, or use of mobile equipment.
             operations (end such do not pertain to the distribution,
             manufacture, or sale of alcoholic beverages).                B.   Glossary
                                                                               (1) Mobile equipment means solely land vehicles
     INCIDENTAL A UTOMOBILE COVERAGE                                                (including any equipment or machinery
     Coverage B is extended to include bodily injury and                            permanently attached to, or forrning an integral part
    properly damage arising out of the followingz                                   of,       the vehicle) as followsz
    A. The parking of automobiles (not borrowed or owned by,                        a.        Vehicles used solely at yourpreinises.
        or rented to, any insured) at your preinises.
                                                                                    b.        Vehicles designed for primary use off public
    B.      The operation of the following devices permanently                                 roads such as bulldozers, farm urachinery,
            attached to an automobiles                                                         forklifts,   and similar corrunercial types.
             (1)    Air compressors, generators, or pumpsg building
                    cleaning, geophysical exploratiorr, lighting,                       c.    Vehicles used primarily to provide mobility                 to
                    spraying, Welding, or well servicing equipment.                           the followingt
             (2)    Cherry pickers and   similar devices useclto raise/                        1.    Concrete mixers (other than nrix-in-transit
                    lower workers.                                                                   time)-t
                                                                                              7..    Diggers,       drills,   loaders,   power   cranes, or
    C.      The operation of any device pernranently attached to a                                   shovels.
            vehicle that would qualify as mobile equipment, under                              3.    Road construction and resurfacing
            the definition of mobile equipment, if it were not                                       equipment, such as graders, rollers, or
                                                                                                     scraper-sfk
            subject to a compulsory or financial responsibility law
            or other motor vehicle insurance law in tho state wh er-c
            it is   licensed or principally garagcd.                                    cl.    Vehicles that arc not self-propelled used
                                                                                                prirnarily to provide nrobility tor

    If   MMR 501             the Declarations, this extension
                        is listed in                                                            1.    Air compressors, generators, orprunpsg
    also applies to the loading and unloading maintenance,                                            building cleaning, geophysical exploration,
                                                                                                      lighting, spraying, welding, or well
    ownersliip or use of automobiles at your prenrises which
        donated to youg and held by you pending sale. This
    at-er
                                                                                                      servicing equipment.

    extension does not apply when primary automobile liability                                 2)    Chmy l)1Fkm.S and snlknlml devices used lo
    insurance is provided in another policy by you.                                                  lowm      /   13136 lvolltmsti
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             e.        Vehicles that travel on crawler treads.
             f.        Vehicles not otherwise used as described                                  liability shown in the Declarations or Supplemental
                       in the preceding Paragraphs l.a. tlnlough l.e.                            Declarations, those sums that insureds become legally
                       that are maintained by you primarily for uses                             liable to pay as damages because ofz l. /ldvertiring
                       other than the transportation of cargo or                                 Injw/yg or 2. Personal Injury, as described and covered
                       personsz but this Supplemental Coverage does                              in this policy, arising      out of a covered offense.
                       not extend to self-propelled vehicles as                                  A
                  r




                                                                                                    covered offense must take place within the policy
                       described in the following paragraphs or                                  term and within the applicable coverage territoiyz See
                       equipped with any of the following                                        Connnon Condition 6.
                       permanently attached d evicesz
                                                                                                 This Supplemental Coverage applies only to the
                       1.       Designed primarily for road maintenance
                                                                                                 followingz
                                (other       than     road         construction       or
                                                                                                 (1) 4/ldveriising injury arising out of an offense
                                resurfacing),        snow removal,         or street
                                                                                                       committed    in the course of advertising goods,
                                cleaning.
                                                                                                       products, or services of your operations covered
                                                                                                                                                        by
                      2.    .   Equipped            with      air      compressors,                    this policy.
                                generators, or pumpsg building cleaning,
                                                                                                 (2)   Personal injury arising out of an offense committed
                                geophysical     exploration,    lighting,                               in the conduct of your operations covered under this
                                spraying, welding, or well servicing
                                                                                                       policy, but not advertising,    broadcasting,
                                equipment.
                                                                                                       publishing, or telecasting done either by you or on
                      3.        Equipped with chclry pickers and similar                               your behalf.
                                devices mounted on automobile or truck
                                chassis and used to raise / lower workers.
                                                                                           B.    Liability Not Insured (Additional Exclusions)
                                                                                                 We do not provide insurance for any sort of damages or
                      All such   vehicles are azztomobiles for                                   liability directly or indirectly, wholly or partially,

                      purposes of this insurance. But sce                                        aggravated by, caused by, or resulting from any of the
                      Supplernental Coverage 5 for coverage of                                   followingz
                      the operation of the described devices.                              Personal lnjliiy/Arlvertisin g Injury Exclusions.                We do not
                                                                                           insure any of the followings
     (2)   However, mobile equioznent does not include any                                 (1) Injury arising out of oral or written publication of

            land vehicle that is subject to a compulsory or                                    material, done by or at the direction of any ins-to-ed
           nriancial responsibility law or other motor vehicle                                 with knowledge that such is false or such would
           insurance law in the state where it is licensed or                                  violate the rights of another and would inflict the
           prineipally garaged. Land vehicles subject to a                                       injury.

           compulsory or financial responsibility law or other                             (Z)   Injury arising out of oral or written publication of
           motor vehicle insurance law are considered                                            material whose first publication took place prior to
           zzutolrzolziles,                                                                      the begiruring of this policy or such coverage under
     But only if permanently attached                        to,    or forming an                this policy.

      integral part             of,   the vehicle.                                         (3)   Injury arising out of rendering           /   failure to   render
                                                                                                 professional advico or service.
INCIDENTAL WATERCRAFT COVERAGE                                                             (4) lnjury for       which the insured has assumed
Coverage E is extended to include bodily injury and property
                                                                                                                                                        liability
                                                                                                 in an implied,            oral,     or written agreement or
damage arising out of any of the followingz                                                      contract. This does               not apply to liability for
A. Watercraft while ashore at your premises (other
                                                                                                 damages, otherwise insured under this policy, that
   Than premises you have abandoned, sold, or                                                    the insured has in the absence of contract.
   transferred to others).
                                                                                           (5) Injury to
B. Watercraft not owned by, or loaned or rented to,
                                                                                                              yo-1.1.



   any inszu-eel if the occurrence arises out 0-fyoz/r direct                              (6) Injury arising out            of an electronic bulletin board or
   act. Direct act does not include or mean                                                      chatrooin hosted or           owned by the imnred or over
     supervision of others                  or entrustrnent to others       of
                                                                                                 which the     insiu-eel   exercises control.
     watercraft.                                                                           (7) Injury arising out             of the uiiauthorized use of
C. Watercraift not owned byyou, ifless than 26 feet                                                     name or product in your e-mail address,
                                                                                                 another-ls
   in length and not used to carry persons or property                                           domain name or metatags, or any other similar
     for a charge.                                                                               methods      to   mislead another-is current or potential
                                                                                                 customers.
PERSO.NAL INJURY / AD VER TISIN G INJURY
COVERAGES
A.   Liability to Others
     We pay for the bencht                  olins-1.u-eds,   up   to the limit   of
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            Atlvei-rising Injury       -
                                   Additional Exclusions.                   We   do not
                                                                                                             personls or organizationls goods,
                                                                                                                                               products,              or
            insure any of the followings                                                                     services.

            (8)    Injury arising out of breach of contract, other than                                (4) Oral or written publication      of material   that violates
                   misappropriation of advertising ideas under an                                            a PSKSOHIS right of privacy.
                   implied contract.
                                                                                                   Personal injury means solely the followingt
            (9) Injury arising out of the failureof goods, products,                                   (1) False arrest, detention, or imprisonment.
                   or services to conform with advertised
                                                          quality or                                   (2)   Malicious prosecution.
                   perfonnance.
                                                                                                   (3) Oral or written publication ofinaterial thatr
            (10) Injury arising out of the wrong description of the                                                                                  slanders
                                                                                                              or libels a person or organizationg disparages
                 price of goods, products, or services.                                                                                                      a
                                                                                                             personls or organizationls goods,
                                                                                                                                                 products, or
                                                                   _



           (11) Injury arising out of an offense         committed by an                                     services.
                insured whose business isc
                                                                                                       (4) Oral or written publication      of material   that violates
                a.  Advertising, broadcasting,            publishing,            or                        a per-souls right of privacy.
                        telecastingg
                                                                                                       (5)    Wrongful entry into, eviction of a person from, or
                  b.   Designing or determining           th.e   content         of                          invasion of the right ofprivate occupancy
                       websites for others, or
                                                                                                                                                           oi a
                                                                                                             dwelling, room, or other private premises that
                                                                                                                                                            the
                                                                                     -




                       Providing                                                                             person occupiesz but only if done by, or on
                  c.                  inter-net access, content,       search or                         i
                                                                                                                                                         behalf
                       service.                                                                        of, the landlord, lessor, or owner of such
                                                                                                                                                  premises.
                                                                                             Personal Injznjy/Advertising Injury do not include
    C.    Glossary                                                                                                                                          borlily
                                                                                             injury or properify damage.
          Advertising injury means solely the followingz
                                                                                                                             -
           (1) Infringeincnt of copyright, slogan, title or trade
                  dress.
                                                                                             12   W
                                                                                             Accordingly, Part II C     other than Exclusions 5, 7, 9, and
                                                                                                    does not applyz however, Personal
                                                                                                                                        Injury/Azlvertising
                                                                                             Injury do not include or extend coverage under this
          (2)     Misappropriation of advertising ideas or style of                                                                                               policy in
                                                                                             any way     any costs, damages,
                                                                                                              to                            liability,   or loss expressly
                  doing business.
                                                                                             excluded under Coverage E.

          (3)   Oral or written publication of material that slanders
                or libels a person or organizationg disparages a




                                                   rarer tic inanitiriz Nor rivsniuto
                                                                       it
                                                                                                                                                 A   W
                We do not provide insurance for any sort of costs, damages, expenses, or
                                                                                           liability, directly or indirectly, wholly
                or partially, aggravated by, caused
                                                    by, or resulting from any of the following, even if an occur-relics
                covered contributes to such concurrently or in
                described and provided for in this policy.
                                                                 any sequence                     -                       otherwise
                                                                                  except to the extent. otherwise specitically



1        ALCOHOLIC BEVERAGE EXCLUSION
          We do  not insure bodily injury or property damage, arising
                                                                                                  arising out ofz        any device, equipment, machinery,             parts     ,
                                                                                                  trailers or semi-trailers attached to
         out ofz contributing to any personls l11lIOXlC1llOlT                    I                                                               any automobile,    aircraft,
                                                             , fl.) rnls lling
                                                       1
                                                                                                  or watercrait.     But see Supplemental Coverages              B, 5 and
         alcoholic beverages to persons under the legal clriulcing                                                                                          2.              9.
                                                                          age
         or under the influence of alcohol, violating
                                                                any law,                     3.   BUSINESS               ACTIVITIES          /    BUSINESS           RISK
         ordinance, or regulation relating to the distribution,
         or use of alcoholic beverages. But see
                                                                gift, sale,                       EXCLUSIONS
                                                          Supplemental                            A.    We do not insure any property damage to your
         Coverage      4.                                                                                                                             products
                                                                                                         or yourwork caused, to any extent, by your products or
                             _




                                                                                                         your work or any part of such
2        A UT0111OBILES           /    AIRCRAFT J WATERCRAFT
         EXCLUSIQNS                                                                                     This Exclusion does not apply to your work
                                                                                                                                                   ifi

         We do     not insure bodily nyiojy or properly damage arisuig
                                       _   I   I
                                                                                     _   _              (1) The Work has not, at the time of damage,

         out        the loading or unloading, loaning,                                                      been abandoned or wmpletedg O1.
                                                          niaintenance,
         operation, renting, use, or entrustinent to others                                             (2) The danmgnd Work, or Work out of which
                                                            (whether
          supervised or not) of any automobile, aircraft, or water-omit                                     the damage arises, was performed on yaw.
                                                                                                                                                     behalf
         operated or owned by, or loaned or rented to,                                                      by a Subc0nh.aGtO1._
                                                                       any
                                                                in.i-tired.
         This also applies to such bodily inj-my or property danzoge
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 B.     With respect   to imjnairedpropei-ty or property that                     (1) It incorporates     your products or your work that is
        has not been physically damaged, we do not insure                               known      to be, or isthought to be, dangerous,
        properly damage arising out of any of the followings                            defective, deficient, or inadequate      - and      it   can be
         (1) An inadequacy, defect, deficiency, or dangerous                            restored    by    adjustment,       removal,    repair, or
             condition in your products or your work.                                   replacement ofyour products or your work.
        (2)     A delay or failure by you or others acting on your                (2)   You have failed              terms of an agreement
                                                                                                           to fulfill the
                behalf to perform an agreement or contract in                           or contract and   can be restored by your fulfilling
                                                                                                          it
                accordance with its terms.                                              the terms of the agreement or contract.


                                                                            CONTRACTUAL LIABILITY EXCLUSION
                                                           -
 This Exclusion does not apply to loss of use of other
 property arising out of abrupt (sudden in time     not                     We do not insure bodily injury or properly damage for which
 gradual or ongoing) accidental physical damage to your                     the insured is liable to pay damages because of the
 proclucls or your work after such is put to its intended                   assumption of liability for such in an implied, oral, or written
 use.                                                                       agreement or    contract.    But see Supplemental Coverage            2.

                                                                            To  the extent that Supplemental Coverage 2 otherwise
C.    We do not insure any costs, expenses, liability or loss,              applies, we do not insure under such coveragez any liability
      incurred by you or others, arising out of recall by you or            to indemnify another for fre or explosion damage to a
      any other person or organization, of your products, your              premises loaned or rented to youg any bodily injury or
      work, or iinpoiredproperly when such must be taken                    property damage which fnrst occurs prior to execution of the
      E-om the market or from others because it is known to be,             agreement or contract.
      or   is   thoughtto be, dangerous, defective, deficient, or
                                                                            This Exclusion does not apply to liability for damages,
      inadequate.
                                                                            otherwise insured under this policy, that the insured has in
                                                                            the absence of contract.
      Recall includes adjustruent, disposal, inspection, loss of
      use, recall, removal, repair, replacement, or withdrawal
                                                                            EMPLOYEE, EMPLOYMENT, AND RELATED
      of your products, your         worlr, or iinpairedpl-operty,
                                                                            INJURY EXCLUSIONS
D.      We do not          insure property      damage    to   any oftlic   A. We do not insure any obligations of any insureds under
      followingz                                                                  a disability benefit, unernploytnent compensation,

       (1) That part of real property on which work is being
                                                                                  workersl compensation, or similar law.
           performed by either you, or any contractor or                    B.    We do not insure bodily in/iu/y to any ofyour employees
           subcontractor working (directly or indirectly) on                      arising out of and in the course of employment by you.
           your behalf, if the property damage arises out of
          such work.                                                        C.    We do not insure bodily injury or personal injury arising
                                                                                  out of the followingz
      (2) That part of any property that must be repaired,
           replaced, or restored because your work was faulty                     (1) Coercion, defamation, demotion, discipline,
           or incorrectly performed on iti this does not apply                          discrimination, evaluation, harassment, humiliation,

           to properly damage included in the products /                                reassignrnent, or other employment-related acts,

           completed operations hazard                                                   omissions, policies, or practices.

      This Exclusion does not apply to liability assumed                          (Z)   Reiiisal to employ.
      under a written sidetrack agreement.
                                                                                  (3)   Termination of employment.
E.    We do not   insure bodily injury arising out ofbody
      massaging, chiropody, cosmetic, ear piercing, reducing                 D.   We do not insure bodily injury or personal injuryi
      or slenderizing services or preparations or the use of sun                  (1)   Sustained by the brother, child, parent, sister, or
      or                 lamps or other                                                 spouse of your employee arising out of any injury
           lfllllllllg                    irradiating devices.
                                                                                        described in the preceding Paragraphs          5.   B    and C.
F.    We do not insure bodily injury arising out of the piercing
      of any skin or body partg skin dyeing or tattooing, or die                  (2)   With respect to any employee         (including any
      application of, or injection into or under the skin, of any                       officer) as an insured inthis policy, in connection
      permanent cosmetic or make-up.                                                    with bodily injury or personal injury to you or a
G.    Glossary                                                                          fellow employee, caused by the employee while in
      lnipoirecl properly means tangible property (other than                           the course of employment by you.

      your products or your work) that cannot be used, or is
      less useful, because one or both of the following applyi
                                                                                                     \




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      E.     We do not insure any obligation to share damages with,                   Mobile equipment means those vehicles described
                                                                                                                                      as such                             in
             or repay, others who must pay damages                                    Supplemental Coverage 3.
                                                     because  of any
             bodily injury described in the preceding Paragraphs
             5. B, c, and D.                                                   9.    POLLUTION              /   ENVIRONMENTAL DAMAGE
     Exclusions 5.B through E apply whether the                                      EXCLUSION
                                                   claim or suit is
     brought by your employees or by any others or                                   A.        We do not insure bodily injury, property damage,
                                                      whether you
     are liable as an employer or in                                                           advertising injury or personal injury arising
                                     any other capacity. However,                                                                            out of
     Exclusion B does not apply to liability assumed                                           the actual, alleged, or threatened discharge,
                                                                                                                                             dispersal,
                                                          under a
     contract covered under Supplemental Coverage                                              emission, escape, flowing, leakage, migration,
                                                      2.                                                                                        release,
                                                                                          .
                                                                                               or seepage ofpollutants or other
     ENDANGERMENT OR HARM EXCLUSION                                                            similar forms of environmental damage,
                                                                                                                                      regardless of
      We do not insure bodily injury or property damage, whether                               where or how such may take place.
     or not expected or intended by any
                                             insured, which is st                              Paragraph  A of this Exclusion does not apply to bodily
     consequence of an insuredts willfully harmful                                             injury,property damage, advertising injury or personal
                                                          act or
     knowing endangennent.                                                                     injury caused byz
     This exclusion does not apply to bodily
                                              irju/y or property
                                                                                              The fumes,   heat, smoke, or sootthat are products
                                                                                                                                                      of
     damage resulting from the use of reasonable force to protect                             combustion arising out of a fre at your premises,
                                                                                                                                                   other
     persons or property.                                                                     than such that are the products of burning
                                                                                                                                         pollutants.

     F UN GI / MOLD EXCLUSION
                                                                                              However, if the fire is a controlled act, the following
                                                                                              additional conditions applyz
     A.     We do not insure     bodily injury, property damage,          \                   (1) All materials    burned (and the burning process)
           advertising injury, or personal injury resulting                                         must give rise solely to ordinary combustion
                                                             from or
           caused by the actual, alleged, or threatened                                             particulate and products, such as those
                                                           absorption                                                                       usual to a
           of, contact with, existence of, exposure                                                 building (materials) fire
                                                    to, inhalation of,                                                           g

           ingestion of, or presence of any fungi.

 B.        We  do not insure any cost, expense, liability or                                  (2)    The fire must not involve any industrial,
                                                             loss                                    manufacturing, or processing activities and
           arising out of any of the followingr                                                                                                         g



           (1) Any demand, directive, order, or request
                                                         that any                             (3)   The premises,          or location
                  insured or others clean up, contain,
                                                                                                                    site                 is   not or   was not at
                                                             detoxify,                              any time used by or for any insured
                 monitor, neutralize, remove, test for, or treat, or                                                                     or others for the
                                                                     in                             disposal, handling, processing, storage, or
                 any way assess the effects of or respond to_ fungi.                                                                            treatment
                                                                                                    ofwaste, Waste includes materials to be
                                                                                                                                            reclaimed,
           (2)   Any claim or suit by, or on behalf of, any                                         reconditioned or recycled.
                 governmental     authority     for   damages        or
                 reimburseinent because of cleaning up, containing,
                                                                                    B.        We do not insure under this policy any cost,                  expense,
                                                                                                      or loss arising out of any of the followings
                                                                                              liability,
                 detoxifying, monitoring, neutralizing, removing,
                 testing for, treating, or in any Way assessing                               (1) Any demand, directive, order, or request that
                                                                the                                                                                  any
                 effects of or responding to fungi.
                                                                                                  insured or others cleanup, contain,
                                                                                                                                                detoxify,
                                                                                                  monitor, neutralize, remove, test for, treat, or
                                                                                                                                                               in    any
                                                                                                    way  assess the effects of or respond to
 However, these exclusions do not apply to bodib/                                                   pol/uianlsgor
                                                    injury
 resulting from the ingestion of foods, goods
                                              or products
                                                                                              (2)   Any   claim or suit by, or on behalf
 intended for internal       human   cousuiiiption                                                                                           of, any
                                                                                                    governmental    authority   for    damages     or
 MOBILE EQ UJPMENT EXCLUSION                                                                        reimbursement because of cleaning up, containing,
 We do not insure bodily injury or properly damage arising                                          detoxifying, n1onitori_ng, neutralizing,
                                                                                                                                             removing,
                                                                                                    testing for, treating, or in any way assessing
out ofany ofthe followingz                                                                                                                          the
                                                                                                    effects of or responding to pollutants.
A. Mobile equipment not speciiically covered
                                                   under
    Supplemental Coverage 8 5 transportation of mobile
   equipment by an automobile borrowed, operated, owned                       10.   PREMISES / OTHER PROPERTY ADDITIONAL
   by, or rented to, any insured--- even if such mobile                             EXCLUSIONS                                                                        i




   equipment is otherwise covered in this policy.                                   We do not insure property damage as followsi
                                                                                    A. Personal property in the care, control,
                                                                                                                               or custody
B.        Mobile equipment while being used   in a prearranged                         of any insured or any property borrowed
      demolition, racing, or speed contest or stunting                                                                                           by your      this
                                                       activity,                          does not apply to liability assumed under               a    written
      including preparation or practice for such We
                                                         even it                          sid etrack agreement.
      such mobile eguipineni         is   otherwise covered in this
      policy.
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             B.    Premises you have abandoned,          sold, or transfen-ed to
                   others, ifthc     damage       arises out of any part of such
                                                                                              B.    We do not insure any cost,    expense, liability or loss
                   premises.                                                                        arising out   of any ofthe followingr
                   This does not apply to premises that are your wor/c and                          (1)   Any   demand, directive, order, or request that any
                                                                                                          insured or others clean up, contain, detoxify,
                   have been neither occupied by you nor rented or held for
                                                                                                          monitor, neutralize, remove, test for, or treat, or
                            by you to                                                                                                                         in
                                                                                                    .




                   rental               others.
                                                                                                          any way assess the effects of or respond to any
         C.        Property occupied or owned by, or rented to, your but                                  virus or other pathological agents.
                   see Supplemental Coverage 6.
                                                                                                    (2)   Any claim or suit by, or on behalf of, any
         D.        With respect to an employee, to property borrowed,                                     governmental authority for damages or
                   occupied, owned, or rented byz such employee,                                          reimbursement because of cleaning up, containing,
                                                                 any of
                  your other employees, or any ofyour members or                                          detoxifying, monitoring, neutralizing, removing,
                  partners (if you are a joint venture, limited liability                                 testing for, treating, or in any way assessing
                                                                                                                                                         the
                  company or partnership).                                                                effects of or responding to any virus or other
                                                                                                          pathological agents.
  11.    PROFESSIONAL ACTIVITIES EXCLUSION
         We do not insure bodily injury or property damage arising                        However, these exclusions do not apply to bodily    injury
         out of the rendering or failure to render any sort                               resulting iitom the ingestion of foods, goods or
                                                            of pastoral                                                                    products
         counseling or other professional advice, product, or sen/ice                     intended for internal human consumption.
        whether such are those of any insured or insureds
        indemnitee or any employees of an insured or employee of                   THE FOLLOWING ADDITIONAL EXCLUSIONS APPLY
        an insured Lv indemnitee.                                                  ONLY TO COVERAGE F.
        But see Supplemental Coverage 7 for certain coverage.
                                                                                   14.   PR OD UCTS / COMPLETED OPERA TIONS HAZARD
 12.    SILICA EXCLUSION                                                                 EXCLUSION
        A. We do not insure
                                                                                         We  do not insure medical expenses in connection with
                                                                                                                                               bodily
                                            bodily injury, property damage,
                                                                                         injury included in the products / compleled
                  advertising injury, or personal injury, resulting from or                                                               operations
                                                                                         hazard
                  caused by the actual, alleged, or threatened absorption
                  of, contact with, existence of, exposure to, inhalation
                                                                          of,      15.   SPECIFIED PERSONS EXCLUSIONS
                  ingestion of, or presence of silica in any fonn, including
                                                                                         We do not insure medical expenses in connection with  bodibi
                  silica particles or dust, or any products or
                                                                 substances              injury to any of the following pcrsonsz
                  containing silica.
                                                                                         A. Any insured, other than a volunteer worker,
        B.        We do not insure any cost, expense, liability or loss                      director, trustee or a member of a board of
                                                                                                                                         governors
                  arising out of any of the followingz                                       when they are perionning for the named insured
                  (1)   Any  demand, directive, order, or request that any
                        insured or others clean up, contain, detoxify,                   B.         Any person to whom benefits are payable, or must
                        monitor, neutralize, remove, test for, or treat, or in                     be provided, under a disability heneht,
                        any way assess the effects of or respond to silica in                      workers. compensation, or similar law, for
                                                                                                                                              injury
                        any fonn, including silica particles or dust, or any                        sustained by such person.
                        products or substances containing silica.
                                                                                         C.        Any person hircd to  do work for, or on behalf on
                  (2)   Any   claim or suit by, or on behalf      of,   any                        any insured or a tenant of any insured
                        governmental authority     for damages or
                        reinibursement because of cleaning up, containing,               D. Tenants or other persons on your premises
                                                                                                                                      if the
                        detoxifying, monitoring, neutralizing, removing,                    injury occurs on that part ofyour premises
                                                                                                                                             such
                        testing -for, treating, or in
                                                      any way assessing the                  person normally occupies.
                        effects of or responding to silica in any for-in
                                                                         ,
                        including silica particles or dust, or any products or     I6.   SPORTS ACTIVITIES EXCLUSION
                        substances containing silica.                                    We do not insure medical expenses in connection with bodily
                                                                                         injury to any person taking part in athletic activities.
13.     VIRUS CONTAMINATION EXCLUSION
        A. We do not cover bodily injury, property damage,                               If   MMR 511 is listed in the Declarationsi This exclusion
              aclveriising irywy, personal injury or medical                             docs not apply. The Other Insurance Common
                                                                 payments                                                               Condition is
              resulting l.T01Tl or caused by the actual, alleged, or                     extended as followst
              threatencd exposure to contamination at your premises
              by any virus or other pathological agent that causes
              disease or illness in humans, animals, birds or other
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     The coverage provided by    this endorsement is excess over                18.   DAY CARE / NURSERY SCHOOL EXCLUSION
     any other medical expense insurance available for the bodily                     We do not insure medical expenses in connection with bodily
     injury. The injured person must first collect all other                          injury to any person enrolled in a day care center or
                                                                                                                                            nursery
     available insurance before making a claim under this policy.                     school.

     YOUR MEDICAL SERVICES GENERAL MEDICAL /
                                                                                      lf   MMR 512     is listed in the Declarationsi
                                                                                            -
                                                                                                  This exclusion does not apply to any person
     EXCLUSIONS                                                                                   enrolled in a day care center or nursery school run
     A.        We do not insure medical expenses in connection with
                                                                                                  by you.
               medical services that are provided by you, your                              -
                                                                                                  The Other Insurance Common Condition is
               employees, or others under contract to you to provide
                                                                                                  extended as followsz
               medical services, including first aid (Supplemental
                                                                                                                                       .
                                                                                                                                                .
                                                                                                                                                       .




                                                                                            The coverage provided by           this   endorsement          is   excess
               Coverage 3) to others at the time of an accident.
                                                                                            over any other medical expense insurance available for
     B.        We do not insure medical expenses in connection with                         the bodily injury. The injured person must first
                                                                                                                                             collect
               any bodily injury otherwise excluded under this policy.                      all   other available insurance before making a claim
                                                                                            under this policy.


                             PART ll D SPECIAL LTABILTTY CtONDlTlONS
                                                Q


 DUTIES OF INSUREDS - WI-LAT TO DO IN CASE                                 Cl         olairn (under oath, if required) g submit, at our
 OF CLAIM, INJURY, OCCURRENCE, OR SUIT You,                                                                                             expense, to
                                                                                      physical examinations by physicians of our choiceg and
 other insnrells, and other coverage beneficiaries must                               authorize us to obtain medical records.
 do all oft-he following thingsr
                                                                                      Failure to comply with these (or other conditions) can
 A. Immediately notify us of all relevant circumstances                                                                                      alter
                                                                                      or void our obligations under this policy.
     relating to a claim or any incident which may result in a
     claim, with all necessaiy information. F or exampler who
                                                                                2.    LIMITS OF LLABILITY
     you areg the time, place, and circumstances of the injury
                                                                                      Our maximum total liability      payable for the sum of all
     or occurrencej the names and addresses ofinjured
                                                                                      damages,     injury, liability   and   loss covered
                                                                                                                                   under this policy
     persons and witnesses.
                                                                                      is limited as follows -- regardless of the number
                                                                                                                                        of insureds,
 B.        Immediately send us all bills, documents, notices,                         or claims made or suits brought by one or more
                                                                                                                                         persons or
           papers, or summonses related to any claim or suit                          organizations. Our obligation to make payments ceases
           brought against any insured or to any medical expense                      when the applicable limit is uscd up in payment ofjudgmcnt
           claims.                                                                    or settlements.
                                                                                                                                 H
                                                                                                           l




                                                                                      A.    General Coverage Limits      The following limits
C.         Cooperate with us     in matters relevant to the claim or
                                                                                                    all damages or medical expenses in
                                                                                            apply for
          suit.Assist ZIS int conducting suits, including attending                                                                    any one

                                                                                                                         8 Coverages E and F
                                                                                            occurrence, accident, or injury,      as indicatedz
          hearings and trials and giving evidence, enforcing the                                                                                                        -




                                                                                            (1)   Occurrence Limits
          insured is rights of contribution or indemnity against
          others 5 investigating occur-rencesg making settlements
                                                                                                  Our maximum      limit of liability payable under
                                                                  5
                                                                                                  Coverages E and F in any one occurrence is the
          obtaining reco1rds/ infcrniation or the attendance of
                                                                                                  occurrence limit shown in the Declarations (but sce
          witnesses.
                                                                                                  the sublimit applicable to Supplemental Coverage
                                                                                                                                                                  6).
D.         Submit     examination and provide statements under
                      to
                                                                                            (2)   Accident Limit I Per Person Limit --_ Coverage F
           oath and sign and swear to such. If more than one person
                                                                                                  Our maximum          limit of liability payable under
           is examined, we reserve the right to examine
                                                         and receive                              Coverage     F for any one person in any one accident
          statements from each person separately and out of the
                                                                                                  is   the Hper personu limit shown in the Declarations.
          presence of the others. We also reserve the right to video
                                                                                                  Parson./il Injury / Ail verlisin Iitjttly           Limit
          record any examination.                                                           (3)                                   g
                                                                                                  Our maximum          limit of liability payable under
E.        Refrain from voluntarily making payments, assuming                                      Personal Injury / Advertising Injury Coverage for
          obligations, or incurring defense, investigative, or any                                all such injuries sustained by
                                                                                                                                 any one person or
          other expenses --A unless with our specific written                                     organization is the limit shown          in       the Declarations
          authorization to do so (otherwise such undertakings will                                or Declarations Supplement.
          be at the insiu-enlist own expense and we will not pay for
          them). This does not apply to first aid expense coverage.                   B.    Aggregate /Total Limits          _
                                                                                                                          The following limits apply
F.        With regard to Coverage F, coverage                                               for all damages or medical expenses for all
                                                    beneficiaries   must                                                                occm-renoe..v,
          as   we may reasonably   requirez provide written proof of


                                                                                                                                                       MMROIOOFHO
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           accidents, or injuries, that may occur in the                                                     occurrence   liinit   shown   in the Declarations.
                                                         period(s)
           described in the following Paragraph C.
                                                                                              C.    Application of Limits
            (1)   Aggregate / Total Limits H-- General Coveraves
                                                                 D                                   (1)    The limits described in the precediiigparagraphs
                   Our rnaximurn limit of liability payable fort
                                                                                                            apply separately to each consecutive 12 month
                    21.   Coverage E,
                                                                                                            period, beginning with the policy term shown
                                                                                                                                                            in
                   b.     Coverage F3 and                                                                   the Declarations.
                   c.     Personal Injury /Aalverrising Injury,-                                            If the policy is originally issued for
                                                                                                     (2)                                          more than l2
                   isthe general aggregate / total limit             shown                                  consecutive months with a teiniinal period less
                                                                               in the                                                                       than
                  Declarations.                                                                             12 months, the limits apply separately toz
                                                                                                                                                          each
                                                                        r




                  This general aggregate / total lhnit does not                                             consecutive 12 month period, the terminal
                                                                apply to                                                                                          period.
                  the products / completed operations hazard,                                               For example, if 27 monthsz 12 months, 12 inonthsg
                                                                  which                                     3 months. However, if extended after
                  is subject to a separate specitic                                                                                              issuance, the
                                                                aggregate     / total
                                                                                                            terminal period is included in the last 12
                  limit.                                                                                                                               month
                                                                                                            period. For example, 12 months and l5
                                                                                                                                                   months.
                  Iia specific aggregate / total limit is not shown in
                  the Declarations, then a general aggregate / total                    3.    OTHER CONDITIONS
                  limit does not apply to the subject coverages.                             A_     Except for the  limits of liability and any duties
                                                                                                                                                       /rights
                                                                                                    assigned to thefirsz namedinsured, this insurance
           (2)   Aggregate / Total Limit -H Prozlzmis / Completed                                   applies separatelyz to each insured against
                  Operations I-Jrlzarzl
                                                          I
                                                                                                                                                 whom claim
                                                                                                    is made or suit is brought, to each named
                  Our                                                                                                                            insured as if
                        aggregate / total inaxiinum limit of liability                              the only    named insured.
                  payable under Coverage E for all damages included
                  in theprodiiczs / completed operations hazard                              B.     Bankruptcy of the insured does not             relieve us     of our
                                                                is the
                                                                                                    obligations under this policy,




                                   CUNHWON lEXCLUSliOl\lS                                    ----
                                                                                                    PAQRTS l AND lil
       The following includes silnilar type Exclusions applicable to
                                                                     Parts I and II. These Common Exclusions apply
      ui addition to thoseshown under the Separate Coverage Parts.

      We provide no insurance for any damages, expenses, liability, or loss directly or
                                                                                         in directly, wholly or partially,
      aggravated by, consisting of, or resulting from the following --
                                                                       even if loss otherwise covered contributes to
      such concurrently or in any sequence.

PART I
The following apply to Part Ir                                                                      C_      Confiscation, loss, or seizure under custoins,
1.   EARTH MOVEM1ENT/ EARTHQUAKE /                                                                          drug enforcement, or quarantine legislation or
     VOLCANIC                                                                                              regulations.
                                                                                                           Loss to property that is contraband or in the
     ACTIVITY
                                                                                                           course of illegal lTEiiI1SpOIiHi.iOi1 or trade.
     Earthquake,    volcanic activity (including volcanic
     effusion,   eruption or explosion) other than that                                             D Damage or destruction                of property ordered by
     speciiicaliy described as included in volcanic eruption                                               civil authority, other than iinmediate acts
                                                                                                                                                             of
     in Part I C, Losses insured, or other catastrophic                                                    destruction ordered by authorized civil authorities
                                                        earth

                                                                                                           M
     movement. But if loss resulting horn tire or explosion,                                               for the purpose ofpreventing the spread of tire
     or theft (to the extent otherwise insured under                                                           provided the fire originates from a cause of
                                                         this
     policy) ensues, we insure such resulting loss.                                                        loss covered in this policy.


2.   G OVERNMENTAL / LEGAL / WAR                                                             3.     NUCLEAR / RADIOACTIVE LOSS
     A,      Any act or condition oiz war (declared or not), civil                                  A.     Any nuclear evcn  t, occurrence, or
                                                                                                                                               operation,
             war, invasion, insurrection, rebellion,revolution,                                            including nuclear explosion, nuclear reaction,
             or seizure ofpowcr, including acts done to defend                                             nuclear radiation, or radioactive conianiination.
             against any such act or condition whether actual or                                           Those    are not fire, explosion, smoke or
                                                                                                                                                              any
             expected.                                                                                     other covered cause of loss. However, if these
                                                                                                                                                            result
     IB.     Knowing violation of penal law                                                                in fire we insure such resulting direct
                                                       or ordinance                                                                                tire loss, but
                                                                                                           not any other direct physical loss which
             connnitted by, or with the consent of, an insured.                                                                                           may ensue,
             Riahitnrv tines f\Vli51l\il1-t\1 1-so.-..,..1...... IyV1V\\\v1I+3Iv1u
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                                                                        t




                    B.    The explosive, radioactive, toxic, or other
                                                                                                     (2)    The nuclear material             is   contained in spenlyiiel
                          injurious properties of nuclear or
                          materials      -                     radioactive
                                        whether such materials are           natural or
                                                                                                                or wasteany time disposed of, handled,
                                                                                                                           at
                                                                                                            possessed, processed, stored, transported,
                          Inanufacturcd.                                                                                                               or
                                                                                                            used by or on behalf of any insured
     PART II
     The        following apply to Part Hz                                                    D. The furnishing by any insured of
                                                                                                                                     equipment, materials,
     1.         EARTHQUAKE                                                                        parts, or services in connection with the
                                                                                                                                                construction,
               Earthquake.                                                                       maintenance, operation, planning, or use of
                                                                                                                                                 any nuclear
                                                                                                 facility but if such facility is located within the
                                                                                                                                                      United
     2.        GOVERNMENTAL LEGAL / WAR      /                                                    States ofA1nerica, its possessions or
                                                                                                                                              territories, or
               A.        Any act or condition ofwar (declared or not),                           Canada, this applies only to property damage to
                                                                                   civil                                                                 such
                         War, invasion, insurrection, rebellion, revolution,                      facility and property located at such
                                                                                                                                         facility.
                         or seizure of power, including acts done
                                                                   to defend
                         against any such act or condition whether
                                                                     actual or                E.    Glossary
                         expected.
                                                                                                    The following special definitions                      apply to this
               B.        Knowing violation of penal law or ordinance                                Exclusions
                         committed by, or with the consent of, any insured.
                                                                                                    (1) Haizarclous                  Properties      include
                         Statutory fnes or liability. Exemplary or                                                                                                explosive,
                                                                                                           radioactive, or toxic properties.
              punitive damages. Illegal trade.
                                                                                                    (2)    Nuclear Facility means any of the followings
           C. Violation of any ordinance, regulation
                                                        or statute                                         a.  Anynuclearreaclorg
              that prohibits or limits the connnunicating,
              distributing, sending or transmitting of
                                                                                                           b.      Any equipment or device designed or used forz
                                                       material or
              information such as the Telephone Consumer                                                           separating the isotopes of uranium or
                                                                                                                                                         plutonium,
              Protection Act (T CPA) or the CANASPAM                                      Q
                                                                                                                   processing or utilizing spent /uelg handling,
              Act of 2003, including any aniendrnents or                                                           processing or packaging wasteg

              additions to such laws.                                                                      c.      Any device    or equipment used for alloying,
           D.                                                                                                      fabricating, or processing of special
                     Confiscation, loss, or seizure under customs,                                                                                         nuclear
                                                                                                                   maierial if at any time the total amount
                     drug enforcement or quarantine legislation or                                                                                          of such
                                                                                                                   material in the custody of the insured at
                     regulations.                                                                                                                               the
                                                                                                                  premises where such
3.        NUCLEAR ENERGY                                                                                          device or equipment is located consists
                                                                                                                  or contains more than, 25 grams of
                                                                                                                                                          of,
          We do not insure bodily                injury 01-property                                               plutonium or uranium-233, or any
          dumageas followsz
                                                                                                                  combination of such materials, or more than
          A.        With respect to which an insured under                  this                                  250 grams of uranium-235g
                    policy          an insured under any nuclear energy
                               is also
                    liability policy (or would have been
                                                          an insured                                       d.     Any basin,   excavation, place, premises, or
                    under such but for its termination. upon exhaustion                                           structurc prepared for, or used for, the
                                                                                                                                                           storage
                    of its   limits).                                                                             or disposal of wasteg or

          B.        Resulting from the hazardous properties of                                             e.     The    site   on which any of the foregoing
                    nuclear material, with respect to whichz                                                      property      is   located, all operations conducted on
                    (l) Any person or organization is required to                                                 such     site,      and all premises used for such
                                                                                                                  operations.
                                                                                      _



                           in aintain financial protection
                                                              pursuant to the
                           Atomic Energy Act of 1954,                                              (3)    Nuclear ll/laterial nleans source, special nuclear,
                                                              or   any                                                                                        or
                           ainendrnents, or                                                                lzy-produci material.

                    (2)    The  insured is (or would be if this policy did                         (4)    Nuclear Reactor means any apparatus designed
                                                                                                                                                       or
                           not exist) entitled to indemnity hum the                                       usedz to sustain nuclear fission in a
                                                                                                                                                S6illSl1ppOl1lIlg
                           United States of America or its agencies                                       chain reactiong   to contain a critical inass
                                                                                                                                                               of
                           under any agreement entered into by the                                        fissionablc material.
                           United States of America or its agencies.                               (5)   Property Damage also includes all                        forms of
                                                                                                         radioactive contamination of property.
      C.        Resulting from the hazardous properties of
                nuclear                                                                            (6)    Source Mtilerial, Special Nuclear Material, and
                                                                                                                                                          By
                material,        ift                                                                      product _Ma/erial have the meanings given them
                                                                                                                                                                         in
                (1)       The nuclear material                                                            the     Atomic Energy Act of                    1954,    or
                                                     is at,   or   is                                                                                                   any
                          discharged or dispersed from, any                                               arncndnients.

                          m/clearfccilily owned or operated by or on
                          behalf of any insures/Z or
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                   (7)    Spent Fuel means any fuel component
                                                                   or                                    containing by-productmareriol other
                          element, whether solid or liquid, which                                                                            than the
                                                                   has                                   tailings orwastes produced by the extraction
                          been either used in, or exposed to                                                                                          or
                                                             radiation in,                               concentration of thorium or uranium
                          21   nuclear reactor.                                                                                                 from any
                                                                                                         ore processed primarily for       its   source material
                                                                                                         content.
                  (8)     Waste means any material, resulting
                         from the operation of a nuclear
                                                               facility as
                         defuied in the   first   two items ofnuclear facility,



                                           COMMON GLOSSARY PARTS I AND ll                     e

                  Certain words and phrases used              in this   policy are defined for the purposes ofthis
                  are described below.                                                                             insurance contract. These

   PARTS I and II
  The following apply to both Parts I and Hz                                          Autozmtic Sprinkler System

  Fungi
                                                                                             Automatic sprinkler system ineans           -
                                                                                             (l) Any automatic tire protection or
                                                                                                                                  extinguishing
     Fungi means any type or form of fungus,                                                        system, including any of the following
                                                                  mold, mildew
       spores, algae, smut, protists, rusts                                                         A. Ducts,
                                               or rot and decay                                                     fittings, pipes, or valves.
      organisms, and any similar or related
                                               organisms and any
      rnycotoxin, substance, compounds,
                                             chemicals, mist or                                    B.    Pumps and private       fire protection       mains.
      vapor produced by any yfungi in
                                          any form, or any by-
      products or Waste produced                                                                    C. Sprinklers and other discharge
                                       by yizngi, but does not                                                                        nozzles.
      include any fungi intended to be edible.

  Pollutants                                                                                       D. Tanks, including their component
                                                                                                                                       parts
      Pollutants are any gaseous, liquid,                                                             and supports.
                                          solid, or thermal
      contaminant or irritant, including acids,
      chemicals, fumes, smoke, soot, vapors,
                                                 allcalis,                                   (2)   When supplied by         an automatic   fire    protection
                                                and waste                                          or extinguishing systeinc
      (including materials to be reclaimed,
                                             reconditioned,                                        A. Hydrants, outlets, or stand pipes.
      or recycled).

 Rot a n d D ac ay O1-gun isms                                                                     B. Non-automatic lire protection or
                                                                                                      extinguishing systems.
     Rotandclecay oitganfs-177s means any living organism
                                                                        that
     causes decomposition of physical
                                      property.

 We/ Us/ Our                                                                         Collapse
     We,          and our refer to the lnsurance                                         Collapse means an abnipt falling down or
            us,
                                                      Company named in                                                               caving in of a
     this policy.                                                                        building or SlTLIClUH1lpH1TS of a building.


 You / You1/ Yourself
    J/ou,   your and yourselfrefer to the l7Gl71QdIl7SZlV6ClS                            Collapse does not include a building or
                                                                    who        are                                               part of a
    the insureds named in the Declarations.                Firsl named                   building that       isz
    insured is the insured named first in the
                                                Declarations.                                (1)   In danger of falling     down or   caving
    You also includes any organization that                                                                                                      in,
                                             you newly acquire                           (2) Standing,       even if it has separated from
    or form to the extent covered in
                                     this policy.                              -V


                                                                                                   another part of the building.
PART I1                                                                              Collapse docs not include bulging,
                                                                                                                        cracking, expanding,
The following apply to Part I                                                        settling or slu-inking.


Actual Cosh Value                                                                                    H
                                                                                     Compu/er ac-kin g
                                                                                        Computer hacking means u11autl1o1-izcd
   Consideration may be given by us in our                                                                                                   intrusion into
                                           determination of                              acomputer network, hardware, soltware or
   actual cash value toz age, condition,                                                                                           website
                                            cost to repair,                              including cntry of a computer worm,
   replace, or restore the property, subject                                                                                 Trojan Horse,
                                              to deduction for                           spywarc or adware that results int
   depreciationg deterioration, economic
                                            value, market valueg                         (1) Alteration,
   obsolescence (both structural and                                                                            contamination, corruption,
                                        functional), original                                      degradation, destruction or inodincalion
   cost, use, utilityg or other circumstances                                                                                               olthc
                                               that            may                                 integrity, quality or perlonnalice of
   reasonably affect value.                                                                                                              computer
                                                                                                   rnerlia rlma \\I-D1\f\/\Ir/\rv/xrl              -    Y
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        (2)    Copying, observation or scanning of data
                                                                                      (1)     Any land motor vehicle or trailer (including
               records, programs and applications and proprietary
                                                                                              semi-trailers) designed for travel on public
               programs,                                                                                                                   roads,
                                                                                              including any equipment or machinery attached
                                                                                                                                              to
        (3)    Corruption, damage, degradation, destruction,                                  such vehicle or trailer.
               inadequacy or malfunction of any hardware or
               media used with hardware,                                              (3)     Any other land vehicle that is subject to      a   compulsory
                                                                                              or financial responsibility
                                                                                                                        law or other motor
        (4) Deletion, destruction, generation or inodification                                vehicle insurance law in the state where
                                                                                                                                        it is
            of soltwareg or                                                                   licensed or principally garaged,

        (5)    Denial of access     to_   or denial of service    from               Automobile does not include vehicles covered in
               your computer network, hardware        or website.                    policy as mobile equipment.
                                                                                                                                                   this


  Computer Virus
                                                                              Bodily Injury
     Computer virus means          the introduction into hardware,
                                                                                 Bodily injury means bodily harm, sickness or disease
       software or a website of any malicious self-replicating
                                                                                 sustained by any person including death at
       electronic data processing code or other code                                                                        any tin-re
                                                            that is              resulting from such, caused by a covered
       intended to result in, but is not limited tor                                                                       occurrence.
       (1)    Alteration, contamination, corruption,
                                                                             Employee
              degradation, destruction or inoditlcation of the
                                                                               Employee means a person employed by you and includes
              integrity, quality or performance of computer                                                                                                  a
                                                                                leased worker. Employee does not include a
              media,   data,   prepackaged programs, hardware           or
                                                                                                                           temporary
                                                                                     worker or independent               contractor.
              software,
      (2)     Corruption,     damage,    degradation,
                                                                             lg-1
                                                                                    sure/1
              destruction, inadequacy or nialfunction of
                                                         any                         Jnsuredmeans            the following, as designated in the
              hardware or media used with hardware,                                  Declarations,      to   the extent set forth belowz
      (3)     Deletion, destruction, generation or modification                      (1)     The organization named in this     policy (you) and
          of sottware, or                                                                    any executive  officers or directors while acting
      (4) Denial of access          to or denial   ofservicc from                            within the scope of their duties as such.
              yo 1./rcotnputer network,    hardware or website.
 Insured                                               I
                                                                                    (Z)      Your employees (other than executive           officers)
                                                                                             while acting within the scope of their
                           .




     Insured means   the person or entity designated as insurerl                                                                           duties as such.
     in the Declarations or otherwise named as an
     this policy.
                                                     irzsurarl in
                                                                                    (3)     Any ofyour nienibers,      but only with respect to
                                                                                             their liability for your activities or activities
                                                                                                                                               they
Mon ey /15IE(iZlTl.lif3S       s
                                                                                             perform as such on yourhehalf.
   Money means We bank notes, bearer bonds, bullion,
   coins, currency, lottery tickets, money orders, prepaid
                                                                                    (4)     Any trustee, official, member of the board of
                                                                                            governors or clergyman, but only with respect to
   phone cards, registered checks, stored value            cards, and                       their duties as such for you.
   travelers checks held for sale to the public.
   Securities means _- negotiable and nonnegotiahlc
   Contracts or instruments that represent obligations to                           (5)     Any other person who is a volunteer worker for you,
                                                                                            but only while acting  at your direction and within the
   pay money or pay other property andthat are collectible
                                                                                            scope of their duties for you as such. However,
   at the time of lossz examples of such                                                                                                     no
                                         include -A but are
                                                                                            volunteer   is   an   ins-uracl forz
  not lin1itcd-to-- accounts, bills, deeds, evidence of
                                                                                            A. Bodily                to a co-volunteer or your employee
  debt, notes revenue and other stamps, tickets                                                              llifiiljl
                 3
                                                (not
  money), or tokens now in use.
                                                                                                 arising out       of and in the course of their duties
                                                                                                 for you as suchg

Valuable Papers and Rooorrls                                                                B.   Property damage to property owned, occupied
   Valuable papers and recorzlr means abstracts, books of
                                                                                                 or used by, rented, in the care, custody, or
  account, documents, deeds, electronic or magnetic
                                                                                                 control of, or over which physical control is
  media, manuscripts, and other like records.                                                    being exercised for any purpose byi
                                                                                                                                        youg any
PART II                                                                                          co-volunteer, your employee.
The following apply to Part II-      t



                                                                                    (6)     Persons (other than your employees) or
Automobile
                                                                                            organizations acting as real estate manager
  /liziorr/obile nieanst                                                                                                                          foryoii.
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          (7)     An organization (not a partnership, joint venture                                    A.     When all the work called
                  or limited liability company) thatyou newly
                                                                                                                                             for in   your
                                                                                                              contract    is   completed.
                  acquire or form, if owned with majority interest
                                                                      by
                  your but only up to 364 days after you first acquire or
                                                                                                       B.   When all the work. called for in your       contract
                  form such or the end ofthe policy term, whichever
                                                                                                              at the   job locationcompleted if your contract
                                                                                                                                      is
                  ends fntst. Such entity is not an insured under this
                                                                                                            calls   for work at more than one location.
                  policy  if there is other similar insurance available
                  to it or for any accidents, occurrences or
                                                                                                       C.   When that part of the Work at a job location is
                   offenses prior to the time of such acquisition or
                                                                                                            put to its intended use by any person or
                   formation.
                                                                                                            organization other than another contractor or
      This insurance does not apply to any partnership, joint                                               subcontractor working on the same project.
      venture or limited liability company -- of which the
      insured is a partner or member -M if not named in this                                           Work     that   needs nnal correction, maintenance,
      policy, including those responsible for such.                                                    repair, replacement, or service      -but is otherwise
                                                                                                       complete-- is deemed completed.
 Lease/I Worker
     Leased worker means a person who                                                    Prop ertfy Damage
                                                           is   leased to   you by a
     labor leasing iirm under an agreement between                                           Properly damage means the following, caused by a covered
                                                   you and such
     firm to perform duties related to the conduct of                                        OCCIII/FBVICEI
                                                           your
     business / operations. Leased worker does not include                                   (1)     Direct physical injury to tangible property,
                                                                                     a
     temporary        -worlter.                                                                     including loss of use of such property (the loss of use
                                                                                                                                                            is
                                                                                                    deemed to occur at the time of such direct physical
 L0atlii1g/ Ulzlotzdiug
                                                                                                    injury).
     Loading or unloading means the handling or rnovement of
     property as followsz
                                                                                             (2)    Loss of use of tangible property that is not
      (1)       Beginning while being moved from the place where
                                                                                                    physically injuretlz all such loss of use is deemed to
                it is accepted for inovement into
                                                   or onto an                                       occur at the time of the occurrence causing the loss.
                aircraft, automobile, or water-crait-5

                                                                                         Tempormy Worker
     (2)        While in or on an        aircraft,   automobile or watercrailg               Temporary worker means a person who is furnished to
                                                                                             you as a substitute for a permanent employee on leave or
     (3)        While being moved from an                aircraft,
                                                                                             to meet seasonal or other short-term workload
                automobile,       o.r   watercraft to the place      where it is             conditions. Temporary worker does not include a leased
                finally delivered.                                                           worker.
     Loading or unloading does not include rnovement of
     property by any mechanical device which is not attached to                          Your Premises
                                                                                            Your premises ineansz premises occupied or owned
     the aircraft, automobile, or Wat-crcraii, other than
    truck.
                                                                             at   hand
                                                                                            rented to, youg and           _                  by, or
                                                                                                                   whether or not such premises are
                                                                                            designated inlhe Declarations or elsewhere in this
                                                                                                                                               policy              M5
Occfurrence                                                                                 premises you have abandoned, sold, or transferred to             others,
    Occurrence means an accident, including continuous or                                Your llrorlucts
    repcated exposure to substantially the same general ltarmful                             Your products means the followingi
    conditions.
                                                                                             (ll)    Goods or products disposed of, distributed,
Products / Completed Op err/tions               Hazarzl                                             handled, sold, or manufactured byt youg others trading
    Products / Completed Opera/ions Hazard includes all bodily                                      under your nameg persons or organizations whose
    injury anclpproperty damage arising out of your products or                                     business or assets you have acquired.
    your work (occurring away from your premises), other than
    that arising out of any of the followings                                                (2)     Containers (other than vchicles), equipment,
    (1) Materials which are abandoned or unused,                                                    materials, or parts furnished in connection with
           tools, or uninstalled equipment.                                                         such goods or products.                     I




    (2)     Products that are           in your physical   possession                       Your products also includes the followingz warranties
                                                                                                                                                  or
                                                                                            representations made at any time with respect to
            Transporting property, unless the occurrence                                                                                                           the
    (3)                                                                                     durability, f1tness,pcrfor111ancc, quality or
                                                                                                                                    use of any of your
            results from a condition in or on a vehicle created
                                                                by                          prouluctsg providing or failing to provide
                                                                                                                                       instructions or
             loading or unloading of the vehicle.
                                                                                            warnings.

    (4)     Work that has not been completed or abandoned.
            Your work is clecmnd rtrminlvtr-vi at um pa.-tam-t
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            Your products does not includes real propertyg vending
                                                                                          (2)     Equipment, materials, or parts furnished in
            rnachines, or other property either rented to others
                                                                 or placed                        connection with such work or operations.
            for the use of others, but not sold.

     Your War/r                                                                           Your work also includes the followingi warranties or
         Your work means          the followingc                                          representations made at any time with respect to
                                                                                                                                               th
            (1)    Operations or work performed by you or on your                         durability, fitness, performance, quality or use of
                                                                                                                                              any of
                   behalf.                                                                your war/cg providing or failing    to provide instructions
                                                                                          or warnings.



                                      COMMON CONDITIONS W PARTS AND ll                                          ll

            The following are Conditions that apply to both Parts I and II.
                                                                            These Common                    Conditions apply        in   addition to those
            shown under the separate Coverage Parts.

 1.        ACTION OR SUIT AGAINST US                                                       CONCEALMENT / IVHSREPRESENTATI ON / FRAUD
       PART I
                                                                                     4.

                                                                                           This policy     is   void         either before or after a loss or
           The conditions for bringing an action or suit against us
                                                                                                                       if,
                                                                                          occurrence or claim, any insured misrepresents or
           are described elsewhere in this policy in
                                                          the state                       knowingly conceals any material fact or circumstance,
       mandatory enclors enrent.
                                                                                          commits fraud, or swears falsely relating to any aspect
       PART II                                                                            of this insurance (including the information we
                                                                                                                                                relied
       No  action rnay be brought against us until all conditions                         upon  in issuing this contract). However, rfwe
                                                                                                                                         specifically
       in this policy are complied with, and until the amount                             choose not to declare this policy void, we do not
                                                               of                                                                            provide
       the insurediv obligation (payable under this                                       insurance under this policy to, or for the benefit
                                                      policy) has                                                                             of, any
       been determined by judgment in trial or by agreement                               such insureds.
       made with our written consent.
       No  right exists in this policy for you or others to                  make
                                                                                     5     CONFORMITY WITH STATUTE
       us party to an action against any insured.                                         It is    agreed by us that the provisions in this policy
                                                                                                                                                   are
                                                                                          amended       to   conform to all applicable statutory
2.     ASSIGNMENTOF YOURINTERESTH                                 A                       requirements.
       No  assignnient of an interest in this policy              is   binding on
       us without our written consent.                                               6    COVERAGE TERRITORY
                                                                                          PART I
3.     CANCELLATION / TERMINATION                                                         We cover darnage or loss only within the fifty states of the
      A. General                                                                          United States of America (including its possessions
                                                                                                                                                      and
              You may cancel         this policy byz surrendering the                     territories), the District         of Columbia, Pnerto Rico and
              policy to us or our agent or by mailing us or our                           Canada.
              agent notice stating a subsequent cancellation date
              for the policy. Such request made                                           PART II
                                                by the first named
             insured applies for all insureds / interests named in                        Coverage under this policy applies only within
                                                                                                                                            the
             this policy. All cancellations are pro                                       following territoriesr
                                                         rate, but a
             mirrinruni earned prcrniurn may apply. Any return                            A. The United States of America (including its
             prcrniurn is payable to the first named insured                    W             possessions and territories), the District of
                                                                                                Colurnbia, Puer-to Rico and Canada.
             within 3O days after the cancellation date.
                                                                                          B.    lnternational waters or air space, if the bodily
                                                                                                                                                    injury
             If   you sccure insurance with another                    insurer to               or property damage occurs while in the course
                                                                                                                                                     of
             replace our policy and do not pay the prerniurn, or                                transit to or ii-orn the territory described in
                                                                                                                                                tho
             installn-rent payment, for this policy
                                                       when duez                                preceding Paragraph A.
             this policy ternrinates at the time such
                                                              other
             insurance becomes effective. If you sell the described                       C.    Anywhere in the world with respect to damages
             business or prenrises to others, coverage under this                                 because of bodily injury or property damage
             policy tenninates at the
                                                                               _
                                               tirrro title is   transferred to                   arising out of either-I
             others with respect to such business or prcrnises
                                                                                                  (1) Activities of a person whose llOl1lC is in the
             unless yo u retain arr insurable interest.
                                                                                                       territory described in the preceding
                                                                                                                                              Paragraph
      B,     Our Right to Cancel or Terminate                                                         A, but is away for a brief time in the course of
             Our rights to cancel or terrnirratc this                                                  your operations covered under this policy,       or
                                                                 insurance are
             described       elsewlrerc   in   this   policy     in    the   state
             mandatory errdorserncnt.
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                    (2)   Goods       or products   made   or sold   by you   in                 (whether you can collect on it or not) that
                          tl1e territory described in the
                                                            preceding                                                                                             is   not
                                                                                                 subject to the sarne provisions contained
                          Paragraph A.                                                                                                                          in this
                                                                                                 policy.
                    However, all coverage in this policy applies
                                                                 only to              B.         When this insurance is excess over other insurances
                    suits which are brought or agreements
                                                           made with                             We pay only our share of the remaining lossg that
                    our written consent within the territory
                                                             described in                       exceeds the sum ofbothz
                    the preceding Paragraph A.
                                                                                                 (1)    The total amount payable by all such
                                                                                                        insurance, as described, in the absence
      7.      EXAMINATION / CI-IANGES                                                                                                           of this
             We may,        at   our option, inspect your property, and
                                                                                                                   plus
                                                                                                        ll1S1lIEt11C6,


             operations     any time, make surveys, and make
                            at
                                                                                                 (2)    The total of any deductibles             or self-insured
             recommendations.     However,     our    reports   or                                      amounts under          all   such insurance.
             recomniendations or those of any inspection
                                                         bureau or                           Furthermore, any remaining loss is then
             rating bureau do not constitute a                                                                                        shared by
                                                 determination                  or           us with any other insurance remaining
             representaticn that your premises or operations                                                                       on the loss in
                                                                  are in
             compliance with any law or regulation, healthful,                               accordance with the provisions described
                                                               or        safe.
                                                                                                                                          in the
                                                                                             following Paragraph C.
            We may inspect and audit your books and records at                        C.     With regard to other insuraiicesubject to the
                                                               any
            time (including up to 3 years after termination                                  same provisions contained i.n this policy
                                                            of this                                                                         or
            insurance contract) to the extent such                                           where we otherwise are a primary insurer
                                                    pertain to the
            subject of this insurance or payment of                                                                                     (among
                                                    premium.               The               others), we pay in one of the followhrg
                                                                                                                                     waysz
            first   named   insured is required to keep all records                          (1)        If all such other insurers provide for
            necessary for such and send complete accurate                                              bonuibutions by equal sharesz we and
                                                           copies to                                                                             all other
            us at our request.                                                                         insurers contribute equal amounts
                                                                                                                                            until the
            We may rnake premium adjustiuentsz because of                                              an1ou11t of obligation is paid or the insurer-is
            inspection and auditg because of the use of                                                applicable limit of liability                 used up,
                                                         premises not                                                                           is
            described in this policy or any other ratable                                              Whichever comes fn-st.
                                                          additions or
            changesg because of newly acquired or
                                                     fonned business
            entities.                                                                        (2) If      any other insurer does not provide for
           But, as to Part ll, we are not obligated to                                                 equal sharesz we pay no greater proportion
                                                               conti.nue                                                                                of
           insurance on additions or changes, new                                                      the total amount of loss than our
                                                           entities, or                                                                   obligation on
           premises described in the preceding paragraphs.                                             the applicable limit of liability of this
                                                                Nor, in                                                                          policy
           any event, are such covered on renewal (of the expiring                                     bears to the total amount of insurance
                                                                                                                                                  of all
           policy term) unless you report such to us and                                               insurers covering the loss.
                                                              such are
           described in the renewal Declarationsz this
                                                             condition
           does not apply to additions or changes                                           However ifycu have any     other insin-ance applicable
                                                      (other than new
           entities) effected within 60 days prior to                                       to property covered under this policy _-
                                                      the renewal date                                                                but not
           of the expiring policy term.                                                     covering a cause of loss covered under this
                                                                                                                                         policy,
                                                                                            thonz any loss payable under this
                                                                                                                               policy in coiuiection
8.         INSURANCE UNDER MORE THAN ONE                                                    with such cause of loss is apportioned and
                                                                                                                                                           payable by
           COVERAGE                                                                          as in the same        way as       if such other insurance
                                                                                                                                                              covered
           In the event that more than one coverage under                                   the loss.
                                                              this policy
           covers the same loss we are liable only for
                                                          the amount of
           our obligation, up to our liinit of liability, not
                                                              exceeding
                                                                                     PART II
           the amount ofloss.     7                                                  A.     This insurance               is   excess insurance over valid
                                                                                            And        collectible insurance provided       on any basisz
9.         LIBERALIZATION                                                                  (1)    That is not subject to the same
                                          _
                                                                                                                                  provisions contained
       This policy is automatically extended to include                                           in this policy, other than an umbrella
                                                                                                                                              /
       provisions approved during the policy period                                               excess liability policy which applies in
                                                     or within            /i5
                                                                                                                                           excess of
       days prior to its inception, which would broaden                                           the limits of this policy.
       coverage under this policy, if such are not subject
                                                           to                             (2)     That     property insurance (including fire, allied
                                                                                                           is
       additional preinium or concurrent with coverage
                                                                                                  lines, inland  marine) for your work or a premises
       restrictions.                                            I




                                                                                                   rented to, or occupied by you

10.    OTHER INSURANCE                                                                    (3)     That is liability insurance (including
                                                                                                                                         an urnbreila/
       PART I                                                                                     excess liability policy) for aircraft,
                                                                                                                                         automobiles,
       A.     This insurance is excess insurance over other                                       watercrait, or pollution             to   the extent covered in this
              insin-anccynu may have applicable to the loss                                       policy.
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          (4)        That   is   primary     liability   insurance available to             payment has any     rights of recovery on the loss from
                     you when you have been added                         or    named       another, those rights are transferred to us to the extent of
                  as an additional insured on such other                                    our payment under this policy, Jnsureds (or such
                 irisurance for damages arising out of the                                  others) must do whatever we require to secure these
                 business / operations 01-premises described in                             rights.You may waive such rights in writing prior to a
                 that other policy.                                                         covered loss. You may also waive such rights after a loss,
                                                                                            but only if the Waiver
                                                                                                                is given to eitherz
  13.     When this              insurance     is   excess over other valid                 A. Another insured under this policyg or
         and         collectible insurancez
                 We have no
         (1)
                a defense         -
                              obligation to defend or provide
                             but, welinay defendz
                                                                                            B.     An organization either controlled or owned by
                                                                                                   you   or that controls or runs your organization.
                a. If no other insurer defendsz we are then
                                                                                            But we have no obligation             to    pay under    this policy   on
                        entitled to the insztredlr rights against all other
                                                                                            the loss if these rights are otherwise waived.
                        insurers 5 or
                b.     IQ at our option, we choose to join the
                                                                                            TIME OF INCEPTION
                       defense provided by other insurers or
                       provide a separate defense.
                                                                                            PARTI
                                                                                            The time of inception and                  expiration   is   12301   AM.
                                                                                            Standard      Time    the described premises. Unless
                                                                                                                      at
         (Z)    We pay only our share                of the remaining loss
                                                                                            otherwise specihcally provided for in this policy, this
                that exceeds the suni of botht
                                                                                            insurance applies only to covered loss that takes place
                a.     The        total     amount payable by                  all   such   during the policy tenn (but see Coverage C).
                       insurance, as described, in the absence of this
                       insurance, plus
                b.     The       total    of any deductibles or          self--
                                                                                            PART II
                       insured amounts under                                                The time of inception and                  expiration        12101   A.M.
                                                            all   such insurance.                                                                   is
                                                                                            Standard Tinie       at   the described premises.

                Any remaining              loss is then shared   by US with any             WAWER OR CHANGE OF PROVISIONS
                other    iTlSLlIH11C61-61l12tlI\lIlg     on the loss in                     Only the first named insured may request changes in this
                 accordance with the provisions described in the
                                                                                            policy.The terms in this policy may not be waived or
                following Paragraph C, of this Condition (other
                                                                                            changed except in writing, signed by our agent and
                 than an umbrella / excess liability policy which
                                                                                            attached to this policy.   The exercise of our rights under
                applies in excess of the limits in this policy).
                                                                                            this   policy   not an act of waiver. This policy contains
                                                                                                            is

                                                                                            all   related agreements between you and us.
 C.     With regard   to other valid and collectible
        insurance subject to the same provisions contained
        in this policy or where we are a primary insurer
         (among               we pay in one ofthe following waysz
                        others),
        (1) If all    such other insurers provide for
                contributious by equal sharesz we and all other
                insurers contribute equal amounts until the total
                amount of obligation is paid (or each insurer
                exhausts its applicable liniit of liability).


        (2) If        any other insurer does not provide for equal
                sharcsz   we pay no greater proportion of the total
                ainount of the insuredls obligation than the
                applicable limit of liability in this policy bears
                to the total amount ofiusurancc of all
                insurers covering the               loss.


PREIVHUMS
The     lirst   named     insured is responsible for the payment of
all   prciniuins,       and will be the solo payee of any premiums
we      return.         Preniiuni           adjustments,           including audit
prcrniuin adjustments, are due and payable                          on our notice of
such to tlicjirsr named insured.

RECOVERY FROM OTIYIERS
If any ins-zn-ed (or others) to WliO11l. or for                     wh om. we make.
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                                                                                                                                                         ll/li\llB     200 06 10

                                  EQUIPIVIENT                      BREAKDOWN COVERAGE SCHEDULE
   Subject to any applicable limits on the Declarations, the Equipment Breakdown Limit                                                                                is   the most
  we  vvill pay for loss or damage arising from
                                                any One Accident.

  These coverages apply                            to all locations            covered on the               policy,      unless otherwise specified.

                                   Coverages                                                                                    Limits
  vskvhirk94kiriirkiri-lrwwri14vbk-Mnitkk22911-kwW49ris7(k9(NvE-kirk-kizniciic.\).-A-\r-kirk-s)\-iob\k)\\U4)b\ Hut-k)\k-k-A-Hr-Idchi-kkki4v\7YWi1W44i9OWrk9ck-k-Jr1JHkHdrk


           Equipment Breakdown                            Limit                                                                 330,000,000

                   Loss oi income (including Extra Expense)                                                                     See Coverage C

                   Expediting Expenses                                                                                          iBl00,000

                   Hazardous Substances                                                                                         3,100,000

                  Spoilage                                                                                                      35100000

                  Data Restoration                                                                                              3100000



                                                                                      Deductible-s
 96101-k-kfikikiAxwdrwkwkwkir)\k-lcirwkwwiw-kzkw-L9c14vYk-klklirxwr-ANWas94Xit-Jckivvii.kwicVii-Ykkt-l(ids-ld.5dr+\kz\\kz\rzKrk-4ezQic)ksY9r\kitY-Liikivkkiikiikk-kk)\4t94xk




          Combined,              All     Coverages                                                                              81,000
          Direct       Coverages                                                                                                S

         indirect         Coverages                                                                                             S
                                                                                                                                          i




                                                                                                                                 or M______ hrs,
                                                                                                                                 or__       times                     ADV
         Spoilage                                                                                                                Sis



                                                                                                                                 or___lX, of loss,              iii
                                                                                                                                                                      k__ minimum

                                                                                Other Conditions
 )\s\b\I-1cAz\--In\\iHr-Ir5\AAk9c-J\1
                                        Aichiiuk-iAlriwk-J-kkAJrIwcxkAvi-kiwi-kww-kkizrl-iicfwwczwcdrwickieai-izkkirkk-klxMl)494kw\.\-3.-J41\l.i\-Aie,\94v\949r+ckJrkivA1-kishi-
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                                                                                                                                          IVIIVIB    0300610


 EQUlPMENT BREAKDOWN COVERAGE
 This endorsement, together with the Religious                 institution Form (IVIMR 010) and the Equipment Breakdown Coverage
 Schedule              (MMB 200),       provides additional coverages as described below.

 The provisions ofthis endorsement apply                           only when the endorsement number is listed in the
 Declarations. Except as provided below,                          allother provisions in this policy are unchanged.




                                                  ADDITIONAL SUPPLEMENTAL COVERAGES


 The following              is   added       to Partl   B - Supplemental                                  make temporary
 Coverages.
                                                                                                 a.                                repairs to   yourdamaged
                                                                                                          covered properly, and/or
A.       EQUIPMENT BREAKDOWN                                                                     b.       expedite permanent repairs or permanent
         We will pay up to the limit shown   the Schedule, in                                             replacement to yourdamaged covered
         your direct physical damage to covered properly                                                  property.
         caused by or resulting from an accident to covered
         equipment. As used in this Supplemental                                                 Hazardous Substances
                                                                                       (2)
         Coverage, an accidentmeans fortuitous direct
         physical       damage as TOHOWSI                                                        We will pay for the additional expenses to
                                                                                                 repair or replace covered property because ct
         (1)       mechanical breakdown, including rupture or                                    contamination by a hazardous substance. This
                   bursting caused by centrifugal force,                                         includes the additional expenses required lo
                                                                                                 clean up or dispose of such property.
     (Z) loss by artificially generated electrical currents                                      This does not include contamination of
         to electrical or electronic appliances, devices or                                  perishable goods by refrigerant, including but
                  wiring,                                                                    not limited to ammonia, which is addressed in
                                                                                             Spoilage below.
     (3)          explosion of steam boilers, steam engines,
                  steam pipes      or   steam turbines you own          or                   Additional expenses mean those beyond what
                  lease 01-which are operated underyour                 controlg             would have been required had no hazardous
                                                                                             substances been involved.
     (4) loss or            damage      lo   steam   boilers,   steam
                  engines, steam pipes or steam turbines caused                                  The most we          will   pay   for loss,    damage   or
                  by any condition or event within such boiler or                                expense under this coverage, including actual
                  equipment, or                                                                  loss of income you sustain and necessary
                                                                                                 extra expense you incur, is the limit shown in
     (
         on
              )   loss or   damage      water boilers or other
                                       to hot                                                    the Schedule.
                  equipment             water caused by any
                                 for heating
                  condition or occurrence within such boiler or                                  Spoilage
                                                                                       (3)
                  equipment.
                                                                                                 We will      pay   for the foliowingi
B.   COVERAGE EXTENSIONS
                                                                                             R       physical damage to perishable goods
     Unless otherwise shown in the Schedule, the                                                     due to spoilage,
     following coverage extensions also apply to loss
     caused by or resulting from an accidentto covered                                           6   physical    damage    perishable goods
                                                                                                                              to
     equiprnent. These coverage extensions do not
                                                                                                     due to contamination irom    the release
     provide additional              limits oi    insurance.                                         oi refrigerant, including but not limited
                                                                                                     to   ammonia,
     ii)          Expediting Expenses
                  We will pay, up lo the limit shown in the                                      0   any necessary expenses you                  incur to
                  Schedule, the reasonable extra cost tot
                                                                                                     reduce the amount of loss under this
                                                                                                     coverage to the extent that they do not
                                                                                                     exceed the amount oi loss that
                                                                                                     otherwise would have been payable
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                                                                                                                           MMB 0300610
             under this coverage. We will also pay
                                                                                     lines, that is   owned by a     utility,       landlord, a
             for such expenses to the extent that                                    landlords       or other supplier who provides
                                                                                                  utility
             they do not exceed the amount of loss
                                                                                     you with any of the following sen/icesz
             that otherwise would have been
                                                                                     electrical power, waste disposal, air
             payable under this coverage.                                            conditioning, refrigeration, heating, natural gas,
                                                                                     compressed air, water or steam, internet
        if you are unable to replace
                                      the perishable                                 access, telecommunications services, wide
        goods before its anticipated sale, the amount of                             area networks, or data transmission. The
        our payment will be determined on the basis of
                                                                                     equipment must meet the definition of covered
        the sales price of,the perishable goods at the
                                                                                     equipment except that it is not covered
        time of the accident, less discounts and
                                                                                     property.
        expenses you otherwise would have had.
                                                                                                                                i




        Otherwise our payment will be determined in
                                                                                     Unless othenrrise shown in the Schedule,
        accordance with the How Losses Are Settled                                   Service interruption coverage will not apply
        condition.
                                                                                     unless the failure or disruption of service
                                                                                     exceeds 24 hours immediately following the
        The most We will pay for loss, damage or                                     accident.
        expense under this coverage is the limit shown
        in   the Schedule.
                                                                                     The most we will pay in any one accidentior
                                                                                     loss, damage or expense under this coverage
  (4)    Data Restoration
                                                                                     is   the applicable    limit that   applies to loss of
                                                                                     income, extra expense or spoilage.
        We will pay for your reasonable and                  necessary
        cost to research, replace and restore data.                 The        (6)    Loss of Income
        most we         will   pay expense under this
                                       for loss or
        coverage, including actual loss of income you
        sustain and necessary extra expense you
                                                                                     Any insurance provided under this                 policy for
                                                                                     loss ofincome or extra expense is extended to
        incur,     is   the    limit   shown   in   the Schedule.                    the coverage provided by this endorsement.
                                                                                     The most we will pay for loss of income you
  (5)    Service interruption
                                                                                     sustain or necessary extra expense you incur
                                                                                     isthe limit shown in the Declarations for that
    Any insurance   provided for loss ofincome,                                      coverage, unless otherwise shown in the
    extra expense or spoilage is extended to
                                                                                     Schedule.
    applyto toss, damage or expense caused by
    the interruption of utility services. The
    interruption must result from an accident to
    equipment, including overhead transmission




                                                             ADDITiONAL COi\iDiTlONS

 Suspension                                                               2.   Jurisdictional inspections

 When any covered equipment is      found to be in, or                         ifany property that is covered equipment under
 exposed      a dangerous condition, our
                 to
                                                                               thisendorsement requires inspection to comply
 representative may immediately suspend the
                                                                               with state or municipal boiler and pressure vessel
 insurance against loss from an accidentto that
                                                                               regulations, we agree to perform such inspection
 covered equipment. We can do this by mailing or                               on your-behalf, We do not warrant that conditions
 delivering a written notice of suspension to
                                              your                             are safe or healthful.
 address as shown in the Declarations, or at the
 address where the equipment is located. Once                             3    Environmental, Safety and Efficiency
 insurance is suspended, it can be reinstated only
                                                                               Improvements
 by arr endorsement for that covered equipment. if
 insurance is suspended, you will receive a pro rata
                                                                               it covered equipment requires replacement
 refund of premium for that covered equipment for                                                                          due                      to
                                                                               an accident, we will pay youraddilionai costto
 ihe period of suspension. The suspension will be
                                                                               replace with equipment that is better for the
 effective even if we have not yet offered or made a
                                                                               environment, safer or more efficient than the
 refund of premium.\
                                                                               equipment being replaced.
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                                                                                                                MMB 0300610
     However, we will not pay more than i25tA of                                           a
                                                                                     if    deductible is expressed as a
     what the cost would have been to replace with
                                                                                     number   limes ADV, that amount will be
     like kind and quality. This condition does
                                                not                                  calculated as followsi
     increase any oi the applicable limits, This
     condition does not apply to any properly to
                                                                                     The ADV (Average   Daily Value) will be
     which actual cash value applies.
                                                                                     the loss of income (as detined in any
                                                                                     Loss ot income coverage that is part of
     Deductible
                                                                                     this policy) that would have been
                                                                                     earned during the period of interruption,
     As regards Equipment Breakdown Coverage                                         had no accident occurred, divided by
     only, the following provision is        added   to Part        l
                                                                                     the number oi working days in that
     G, Special Partl Conditions, 2.B. Deductiblei
                                                                                     period. N0 reduction shall be made for
                                                                                     the loss oiincome not being earned, or
     A. The Equipment Breakdown Deductible                     is                    in the number of working days, because
        shown on the Equipment Breakdown                                             oi the accidentor any other scheduled
        Schedule.                                                                    or unscheduled shutdowns during the
                                                                                     period of interruption. The ADV applies
        lfthe deductibles vary by type of covered
                                                                                     to all locations included in the valuation
        equipment and more than one type of                                          of the loss.
        equipment is involved in any one accident,
        only the highest deductible for each                                         The number   indicated in the Schedule
        coverage will apply.                                                         shallbe multiplied by the ADV as
                                                                                     determined above. The result shall be
     B. Direct and indirect Coverages
                                                                                     used as the applicable deductible.
        Unless otherwise shown in the Schedule,                                      Percentage of Loss Deductiblest
                                                                               (4)
        the direct coverages deductibles apply to
        all loss or damage covered
                                     by this                                         if   a deductible   is   expressed as a
        endorsement with the exception of those                                      percentage          we will not be liable
                                                                                                   oi loss,
        coverages subject to the indirect coverages                                  for the indicated percentage of the
        deductibles as noted below. Unless more
                                                                                     gross amount of loss or damage (prior
        specincally indicated in the Schedule, the                                   to any applicable deductible or
        indirect coverage deductibles apply to loss
                                                                                     coinsurance) insured underthe
        of income and extra expense.
                                                                                     applicable coverage. it the dollar
                                                                                     amount   of such percentage is less than
        (1)   Dollar Deductibiesz
                                                                                     the indicated minimum deductible, the
                                                                                     minirnunr deductible will be the
              We will not pay. ior loss, damage or                                   applicable deductible.
              expense       resulting from   any one
              accident      until   the amount oi loss,                 The most we will pay tor loss              or   damage under
              damage        or   expense exceeds the                    thisendorsement arising from any one
              applicable Deductible         shown   in   the            accident is the equipment breakdown limit
              Schedule.          We will then pay the amount            shown in the Schedule. Coverage provided
              ofloss, damage or expense in excess                       under this endorsement does not provide an
              of the applicable deductible, up to the
                                                                        additional         amount ofinsurance.
              applicable Equipment Breakdown Limit
              at-ter any deduction for the
                                           coinsurance
              requirements.

       (2)    Time   Deductiblei

              ifa time deductible is shown in the
              Schedule, we   will not be liable for any
              loss occurring during the specified
              number of hours or days immediately
              following the accident. lia time
              deductible is expressed in days, each
              day   shall   mean     twenty-four consecutive
              hours.

       (3)    Multiple oi Average Daily \/aiue (ADV)I
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                                                                                                             MMB 030          ()6   10




                                                  ADDITIONAL DEFINITIONS

  Boilers and Vessels
          Boilers   and vessels   rneansi
          1.   any boiler, including attached steam,
                                                                 One Accident
               condensate and teedwater piping, and
                                                                    One accident means       - If   an   initial   accidentcauses
                                                                    other accidents, all will be considered one
          2.   any fired or unnred pressure vessel
                                                                    accident. All accidents that are the result
               subject to vacuum or internal pressure                                                           otthe
               other than the static pressure oi its
                                                                    same event will be considered one accident,
               contents.
                                                                 Fe risha/ale Goods
       This term does not appear elsewhere in                       Perishable goods means personal property
                                              this                  maintained under controlled conditions for its
       endorsement, but may appear in the Schedule.
                                                                    preservation, and susceptible to loss or damage
                                                                                                                                    it
                                                                    the controlled conditions change.
 Coveredliquiprnent
    Covered equipment means, unless otherwise
      specitied
                                                                 Production Machinery
                     in the Schedule, covered propertyi
                                                                    Production machinery means any machine                  or
      1.       that generates, transmits or utilizes
                                                     energy,        apparatus that processes or produces a product
               including electronic communications and
                                                          data      intended for eventual sale. However, production
               processing equipmentg or
                                                                    machinery does not mean any tired               or until-ed
      2.       which, during normal usage, operates under
                                                                    pressure vessel other than a cylinder containing
               vacuum or pressure, other than the weight of                                                          a
               its contents.
                                                                    movable plunger or piston.
                                                                    This term does not appear elsewhere in this
Data                                                                endorsement, but may appear in the Schedule.
   Data means information or instructions stored
                                                          in
   digital code capable of being processed                       Vehicle
                                           by
      machinery.                                                    Vehicle means, as respects this endorsement
                                                                                                                              only,
                                                                    any machine or apparatus that is used tor
Hazardous Substance                                                 transportation or moves under its own power.
   Hazardous substance means any substance              that
                                                                   Vehicle includes, but is not limited to car,
                                                                                                                     truck,
     ishazardous to health or has been declared to be              bus, trailer, train, aircraft, watercraft, torltliit
     hazardous to health by a governmental agency.                 bulldozer, tractor or harvester. However,
                                                                                                                     any
                                                                   property that is stationary, permanently installed
                                                                                                                            at
ll/leclia                                                          a covered location and that receives electrical
     Media means material on which data is recorded,               power from an external power source will not be
     such as magnetic tapes, hard disks, optical disks             considered a vehicle.
     or floppy disks.
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                                                                                                                                        MMB 0300610


                                                                            ADDITIONAL EXCLUSIONS


COVERAGE MODIFICATIONS                                                                             lnsuredz
All ofthe Property Exclusions, Property Limitations,
Losses Not Insured and Common Exclusions in your
                                                                                               .




                                                                                                   ll)   We will    not pay for loss,   damage   or
policy apply except as moditied below and to the                                                         expense         caused      -directly       or
extent that coverage is specifically provided by this
                                                                                                         indirectlyby the following, whether
Supplemental Coverage Equipment Breakdown.                                                               or not caused by or resulting from
                                                                                                         an accident
A. Partl        F.   Losses Not insured                       is   modiried as followsz
                                                                                                         a, Hreg lightning,    windslorm   l hail,
   (1)    The        following       is   added          to the      end of the        rirst                  explosion (except as specifically
          paragraph of provision                         61                                                   provided in Additional Supplemental
                                                                                                              Coverages A.(3) above)g smokey
          However,         if   electrical          covered equipment                                         aircraft or vehiclesg riot or civil
          requires drying out because of the above,
                                                                                                              oommotiong vandalismg sprinkler
          we will pay for the direct expenses of such                                                         leakageg  falling objects, weight of ice,
          drying out subject to the equipment                                                                 sleet or snow, freezingg collapse, liood
          breakdown limit and deductible.                                                                     or earth movement.

   (2)    Provision 13,A.                is   deleted and replaced with                                  b.   any mold, fungus, mildew or
          the foltowingi
                                                                                                              yeast, including any spores or
                                                                                                              toxins produced by or
          Wear and tear              -
                                          birds,        domestic animals,                                     emanating from such mold,
          insects, raccoons, rodents or vermin r corrosion
                                                                                                              fungus, mildew or yeast. This
          D
            decay or deterioration - deficiency, error or                                                     includes, but is not limited to,
          omission in design, materials, plans or                                                             costs arising from clean up,
         workmanship disease P inherent vice
                                 -
                                                                                  (a                          removal or abatement of such
          customary characteristic  of the property) - latent                                                 mold, tungus, mildew or yeast,
         defect (an original condition or fault leading to
                                                                                                              spores or toxins. However, this
         loss) - rust.
                                                                                                              exclusion does not apply to
                                                                                                              spoilage of personal property
         However, if loss by an accident results, we will                                                     that is perishable goods, to the
         pay for the loss or damage caused by that                                                            extent that spoilage is covered
         accident.
                                                                                                              under Spoilage coverage.
         Contamination or/Jollutlon including, but not                                                   We will    not pay under this endorsement
                                                                                                   (7)
         limited toz (1) the discharge, dispersal,
                                                                                                         tor loss, damage or expense caused by
         emission, escape, migration, release or                                                         or resulting from the tollowingi
         seepage ofpollutanls, (2) the costs associated
         with enforcement of any governmental directive,                                                 a. a hydrostatic,     pneumatic orgas
         law or ordinance which requires you or any
                                                                                                              pressure test oi any boiler or
         others to cleanup, contain, detoxify, monitor,                                                       pressure vesselp or an electrical
         neutralize, remove, test tor or in anyway
                                                                                                              insulation breakdown test of any
         respond to pollutants, asbestos, fungi, mold or
                                                                                                              type of electrical equlpmentg or
         lead contamination or assess the effects of
         pollutants, asbestos, fungi, mold or lead                                                       b.   any   of the iollowingt
         contamination, but see Supplemental Coverage
         14 for certain coverage.                                                                             e           programming error,
                                                                                                                    defect,
                                                                                                                    programming limitation, computer
  (3)    The following paragraph                          is       added   to                                       virus, malicious code, loss of data,
         provisions l3.B,,                    t3.I-T.   and 13.6.2                                                  loss of access, loss of use, loss of
                                                                                                                    functionality or other condition within
         However, if loss by an accident results, we                                                                or involving data or media oi any
            pay for the loss or damage caused by
         will
                                                                                                                    kind, or
         that accident.
  B.     The  following are                   added       to Part          F.   Losse S N 0 t
                                                                       I
                                                                                                               B    misalignment, miscalibration,tripping
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                                                                                                       MMB O30 0610
                                  any condition which can
                       off-line, or
                       be corrected by resetting, tightening,
                                                                     (5) vehicle, or     any equipment mounted on   a
                                                                           vehic/eg
                       adjusting or cleaning, or by the
                       performance of maintenance.
                                                                     (6) satellite,   spacecraft or any equipment mounted
                                                                           on a   satellite or
                                                                                             spacecraftg
                    However,    ifioss ordamage from an
                   accident results,   we will pay for-that      -



                                                                     (7) dragline,  excavation or construction
                   resulting loss or   damage.                             equipmenig or
   (3)      With respect to Loss oflncome or Sen/ice
            interruption coverages, we will not
                                                                     (8)   equipment manufactured by you    for sale.
                                                pay for any
            increase in loss resulting from an agreement
           between you and your customer          or supplier.

   Property Exclusions

   The     following are not considered       covered
   equiprnentz

   (ri)   structure, foundation, cabinet, compartment
                                                      or
          air supported structure or building)


   (2) insulating or refractory material,


   (3)    sewer   piping,   underground vessels or piping,
          or piping forming a part of   er   sprinkler systemg

   (4)    water piping other than boiler feedwater
                                                   piping,
          boiler condensate return piping or water
                                                   piping
          forming a part of a refrigerating or    air
          conditioning systemj
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 FORGERY OR ALTERATIONS CRIME COVERAGE                                                                                                                      MMR 172 12 OS
                                                                                                  -
                                                                                                      PART I
     This endorsement provides crime insurance for covered instruments.

 The provisions               of this endorsement apply only when the endorsement number                                     is   listed in the Declarations.
 Except               as provided below, all other provisions in this policy are unchanged.


C OVERAGE MODIFICATION                                                                                       D. Facsimile Signatures
          A.       Coverage Inside the Premises                                                                 We treat mechanically reproduced facsimile
                        We        cover loss resulting directly from the forgery or                              signatures the      same   as handwritten signatures.
                       alteration of,       on or in any covered instrument.
                                                                                                             E. Interests Covered
The Part I B Supplemental Coverages                                     are replaced withi                      This insurance covers property that you own, hold or
                                                                                                                are legally liable for. However, this insurance is for
       B. Supplemental Coverage -- Legal Expenses                                                               your benefit only, This insurance does not apply to
          E
             Ifyou are sued for refusing to pay a covered                                                       the benefit of any other person or organization.
             imrrrument because you believe it to be forged or
             altered, and if you have our written consent to                                              F.     Limit of Liability
             defend such suit, we will pay for reasonable legal                                                  The How Losses Are           Settled Condition is     amended
             expenses that you incur and pay in that defense.                                            i


                                                                                                                 as followsz
                                                                                                                 a.   Limit of Liability
                  I        Coverage provided by this extension is a                                                    Our maximum          liability for loss in   any one
                           separate, additional amount of insurance. The                                               occurrence      is the applicable limit of liability
                           deductible does not apply.                                                                  shown      in the Declarations Supplement.

ADDITIONAL EXCLUSION                                                                                                  No deductible applies to this coverage.
      Indirect Loss
      Loss  indirectly resulting from any act or occurrence                                                  G. Loss Sustained Under Prior Insurance
       covered by this insurance, such as loss resulting from or                                                ll. If you (or any predecessor in interest) sustained
      consisting of                                                                                                 loss during the policy term of any prior insurance
      H   Costs, fees or other expenses you incur in                                                                  that you (or the predecessor in interest) could
          establishingz the existence of loss, or the amount of                                                       have recovered under such insurance had the             time
                loss.                                                                                                 period for discovering loss not expired, we will
      H         Damage for which you are legally liable. But we will                                                  provide insurance under this endorsement for
                pay for compensatory damages                             arising directly from                        such loss providedt
                a covered loss.                                                                                       H
                                                                                                                          This insurance became effective at the time
      H        Your loss of income that you otherwise would have                                                            of cancellation, expiration or termination of
               earned had the loss of or damage to covered property                                                         the prior insuranceg and
               not occurred.
                                                                                                                       H    Such loss would have been a covered loss
ADDITIONAL CONDITIONS                                                                                                       under this insurance had this insurance been
      A. Coverage Territory                                                                                                 in effectwhen the acts or events causing the
         Condition 6 of the Common Conditions                                     is   replaced                             loss occurred or were committed.
               by the followings
               We cover loss you                          sustain   anywhere in the -world.                      Z.   The most we will pay is the lesser amount
                                                                                                                      recoverable under this insurance or the prior
      B. Discovery Period                                                                                             insurance had it remained in effect.
         We provide insurance under this policy for covered
         loss discovered no later than one year from the end of                                          H. Loss Also Covered Under Prior Insurance Issued
               the policy tenn.                                                                                  by   Us.
                                                                                                                 If any loss is covered partly by this insurance, and
      C. Duties                   When Loss Occurs
 I




                                                                                                                 partly by any prior cancelled or terminated insurance
               Paragraph E of the Duties Condition is extended to                                                that we or any affiliate had issued to you (or any
               provide that the signed, sworn proof of loss is to be                                             predecessor in interest)1 the most we will pay is the
               submitted within 120 days of our request.                                                         larger amount recoverable under this insurance or the
                                                                                                                 prior insurance.
               Also,         if possible,             submit any covered instrument
               E4r\\4Vv--l_4VP1   J L7 AL   ..   I_   _
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 I.        Multiple Jnsurezls                                                           R    Then   to us, until   we are reimbursed for the
           1.        If more than one insured is named in the
                                                                                             settlement madeg
                     Declarations, the first named insured will act for                 I    Then to you, until you are reimbursed for that
                     itself and for every other insured for all purposes
                                                                                             part of the loss equal to the Deductible
                     of this insurance. If thejirsrnamed insured                             Amount if any.
                     ceases to be covered, then the next named
       ,             insured will become the first named insured.                 2.   Recoveries-do not include any recoveiyz
                                                                                        H   From indemnity, insurance, reinsurance,
           2.        If any insured, or partner or officer of the insured,
                                                                                            security or suretyship taken for our benefit.
                     has knowledge of any information relevant to this
                     insurance, that knowledge is considered                            -1
                                                                                             Of original securities after duplicates of them
                     knowledge of every insured.                                             have been issued.

       3.        An employee of any insured is considered to be                 ADDITIONAL DEFINITIONS
                     an employee of every insured.                                A. Coverezilnstrunzents means checks, drafts,
                                                                                     promissory notes or similar written directions,
       4.            If this insurance or
                                      any of its coverages is                        order, or promises to pay a sum certain in money
                 cancelled or terminated as to any insured, loss                       that area
                 sustained by that insured is covered only if
                 discovered no later than one year from the date of                    H     Made or drawn up by youg
                 that cancellation or termination.
                                                                                       is
                                                                                             Drawn up on youg
      5.         Regardless of the number of insureds, the most
                 we  will pay for all loss sustained by more than                      H     Made or drawn by one acting as your agentg
                 one insured is the amount we will pay if all the                            or
                 loss had been sustained by one insured.
                                                                                       H     Purpoited to have been so made or drawn.
J.    Non-Curnulation. of Limits
      Regardless of the number of years this insurance                            B. Employee       means any personi
      remains in force or the number of premiums paid, the                             a.    Who performs services for you (and for 30
      Limits of Insurance do not cumulatc from year to
                                                                                             days after termination of such) whom you
      year or period to period.                                                              compensate directly by salary, wages, or
                                                                                             comrnissions and whom you have the right tc
K. Policy Terml Coverage Period                                                              direct and control while pcrformin the
   Condition 11 ofthe General Conditions                                                                                       g
                                                           is   amended                      services.
      as followsz
      Except as covered. under the Loss Sustained Under                                b.    Employed by an employment contractor
      Prior hisurance Condition above, we cover loss that                                    While that person  is performing services for
      you sustain because of acts committed or events                                        you and    subject to your direction and
                                                                                                         is
      occurring during the policy term.                                                      control. But, this docs not include any such
                                                                                             person while having care and custody of
L. Recoveries
                                                                                             property outside the premises.
      Paragraphl ofthc              How Losses Are Settled      Condition
      is    replaced by the followingt                                                 Employee does not include         anyi
      1.     In the event we make a payment for loss and                a               B
                                                                                             Agent, broker, connnission inercliant,
              subsequent recovery is made, such recovery                (less                consignee, factor, independent contractor or
              the cost of making the recovery) will be                                       representative of the same general characterg
                dlstributedt                                                                 or
                it
                        To you, until you are reimbursed    for   any   loss            N    Director or trustee cxcept while acting withir
                        that you sustain that exceeds the Limit of                           the scope of the usual duties of an employee.
                        Insurance and the Deductible Amount, if anyg
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 Occurrence means all loss caused by any person,
 or in which such person is involved, whether
 such loss involves one or more covered
 instruments.
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                                                                                 Mll/IR 200 0910
                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                                                                           CAREFULLY
                                        RELIGIOUS INSTITUTIONS EXTENSION ENDORSEMENT
      This endorsement niodities insurance provided under
                                                          the followingi

        RELIGIOUS INSTITUTIONS POLICY

  With respect to coverage provided by this endorsement, the
                                                             provisions of the Coverage Form apply unless modified
  endorsement.                                                                                                     by the

  PART I A e IVIAJN PROPERTY COVERAGES -                                                 EMERGENCY REMOVAL COVERAGE
  AMENDMENTS                                                                             This extension applies for up to 75 consecutive
                                                                                                                                         days from the
                                                                                         date such removal begins
  COVERAGE C e LOSS OF INCOME RESULTING
  F ROM DIRECT COVERED L OSS                                                             PART I B e SUPPLEMENTAL COVERAGES -
 For the purposes of the coverage provided by Fire and
                                                                                         ADDITIONS
 Security Alarm System Up grade Coverage included in this
                                                                                         The following is added to Part I B A Supplemental
 endorsement, the following is amendedc
                                                                                         Coveragesz

 B,      Coverage Period
                                                                                         FIRE AND SECURITY ALARM SYSTEM IJPGRADE
                                                                                         COVERAGE
 (2) Proinptly repair, restore, or replace that part of the
     property subject to the direct covered loss, including the
                                                                                         A.   In the event of a direct physical loss or damage to the
     reasonable period necessary to repair or replace damaged                                                                                         lire
                                                                                              alarm or security alarm systems within a covered
        -covered property with a fire alarm system upgrade
                                                           or a                               building at the premises described in the Declarations,
        security alarm system upgrade.
                                                                                              we Will, at your option, pay for the reasonable additional
                                                                                              costs you incur to upgrade such Ere alarm or
 COVERAGE D e MONEY AND SECURITIES                                                                                                           security
                                                                                              alarm systems with alternative systems that qualify as
                                                                                                                                                     a
                                                                                              firealarm system upgrade or a security alarm system
 The     following   is   added to Money and Securifiesz                                      upgrade. The direct physical loss or damage must result
                                                                                              from a covered loss.
 The otherwise       applicable limit for loss to   money is   increased
 to2 times the amount shown in, the Declarations or
                                                                                     B.       We will pay for a ire alarm system upgrade or a security
 Supplemental Declarations for ecclesiastical holidays as
                                                                                              alarm system upgrade under this Suppleinental Coverage
detined by the denornination. This increased coverage
                                                                                              only if such a /ire alarm system upgrade or a security
applies for the period of time starting 7 calendar
                                                   days                                       alarm system upgrade is coinuiercially available.
immediately preceding and ending 7 calendar days
innnediately following each ecclesiastical holiday.
                                                                                     C.       Under this Supplemental Coverage, the most we will
                                                                                                                                                    pay
                                                                                              in any one occurrence is 25M of the amount we
PART I B B SIJPPLEMENTAL COVERAGES -e                                                                                                          would
                                                                                              otherwise pay for the direct physical loss or damage to
AIVIENTDMENTS                                                                                 that part of the fire alarm or security alarm
                                                                                                                                            system being
Supplemental Coverages                                                                        upgraded (prior to the application of any deductible that
                                  is   amended   as followsz
                                                                                              applies), not to   exceed the applicable          limit   shown   in the
PROPERTY COVERAGE EXTENSION S                                                                 Declarations or Supplemental Declarations.
OffPre1nises Coverage
With respect to personal property covered under this policy                          D.       Losses Not Insured
(including any covered within the definition of or
                                                   by
extension of Coverage A), premises coverage applies lo                               This supplemental coverage does not apply toz
covered lass that takes place outdoors Within 1,000 feet of the
described preini sos.                                                                (.1)     A fre alarm system upgrade or security alarm system
                                                                                              upgrade in any of the following propeityl
ARSON/FRAUD REW ARI)
The most we will pay under this special          provision   is fB20,000.
                                                                                              a.     New buildings under construction and buildings you
                                                                                                     acquire but have not reported to usg

                                                                                              h.     Property leased   to, or   rented   to,   youg or

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         Covered property not insured on a replacement                            The following
                                                                                                                                       MMR 2000910
  (2)                                                        cost                                       is   added   to   Partl B - Supplemental
         basisg
                                                                                  Coveragesz

 (3)    The enforcement of any ordinance or lawt                              KEY PERSON REPLACEMENT EXPENSES
        a.      Regulating the construction, use or repair of any             A We will reimburse you for key person replacement
                                                                                       .

               propeityg or                                                                 expenses that you incur during the recruitment period if
                                                                                                                                                      a
                                                                                            key person suffers a /cey person accident. The most -we
        b.     Requiring the tearing clown of any property,                                 will pay for all key person replacement expenses
               including the cost of removing its debris.                                                                                     during
                                                                                            any one policy period is the applicable limit shown in the
                                                                                  l




                                                                                            Declarations or Supplemental Declarations. The
        This exclusion of the enforcement of any ordinance or                                                                                 policy
                                                                                            period under which key person replacement expenses
        law applies whether the loss results E-omt                                          will be paid shall be determined by the policy that is
                                                                                                                                                   in
                                                                                            effect when the key person accident occun-ed.
               1.   An orclinan ce or law that is enforced even if the
                    property has not been damagedg or                                       A complete accounting of key person replacement
                                                                                            expenses must be provided upon our request, including
              2.    The  increased costs incun-ed to comply with an                         receipts forall expenses that you incur. The complete
                    ordinance or law in the course of construction,                         accounting of all key person replacement expenses must
                    repair, renovation, remodeling or demolition of                         be reported to us -within one year after the date of the
                    property, or removal of its debris, following a                                                                                  key
                                                                                           P8715011 UCCldEI1l.
                    physical loss to that property.

E.      Glossary - specitic to Fire and Security Alarm
                                                                              B.                                                   A
                                                                                            Our obligations under Paragraph inunediately above
                                                                                            shall apply only if the key person maintained an
                                                                                                                                               average
        System Upgrade Coverage                                                             of at least thirty (3 O) hours of work per week for a
                                                                                           minimum of ninety (90)          consecutive days of employment
Fire Alarm Sysfenz Upgrade
                                                                                           by yon, immediately prior to the date the key person
  F ire alarm system upgrade means the replacement of an
                                                                                            accident occurred.
  existing fre alarm system with one of the followingt


         A system which sounds in multiple sections of the
                                                                              C.            Glossary       specific to    Key Person Replacement
  (1)                                                                                      Expenses
         covered building or structure, if the existing system
         sounds in only one section of the building or structureg
                                                                              Key Parson
                                                                               Key person means yourr
  (2)    A system which is automatically activated, if the
         existing   system    is   manually activatedg or                                    Senior Pastor, or a person holding
                                                                                      (1)                                              a position   of equal
                                                                                             responsibility    and authority to that of a Senior Pastorg
  (3)    A system which includes verbal instructions for exiting                             or
        the covered building or structure, if the existing system
        includes audible or visual alarms but no verbal
                                                                                      (2) Executive Pastor.
        instructions.

                                                                                      Key person   does not include any person that has bcen
Security Alarm Systein Upgrade
                                           4




                                                                                      terminated by you for any reason, has voluntarily resigned
  Security alarm system upgrade means the replacement of an                           or has retired.
  existing security alann system with one of the followingt

                                                                              Key Person /lcicirlent
 (Il)   A system which is triggered in additional sections of a                       Keyperson accident means, and is limited to, the death of a
        covered bnildislg or structure beyond the current
                                                                                      key person where the death ofthe key person results ii-om
        number of sections of the building or structure in which                      an accidental injury arising out of and in the course of that
        -the current system is tti ggcredg or
                                                                                      personls employment or duties for you, provided the
                                                                                                                                            injury
                                                                                      occurs within the policy period and the resulting death
 (2)    A systcm which sounds an alarm to a monitored system                          occurs no later than 180 days following the end of the
        in   which authorities are promptly dispatclied, if the                       policy period.
        existing  system sounds only a local audible alarm.
                                                                                      A keyperson accident does not include the loss oflifc
                                                                                      caused by or resulting         ironic




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             Wait, whether or not declared, or any act or condition
                                                                                                                                            MMR 200        (J9   10
      (1)                                                                                           (3)   Yon have   a contractual responsibility to pay for loss
             incident to war. War includes civil war, insurrection,                                       or dan/rage to the trailer.
             rebellion or revolution,
                                                                                               B.   We will notpay for any loss or damage that occursz
      (2)    Nuclear reaction or radiation, or radioactive
             contamination, however caused,                                                         (1)   While the trailer is attached to any motorized lanzl
                                                                                                          vehicle, whether or not the motorized land vehicle     is
     (3)     Suicide, attempted suicide or intentional self inflicted                                     in mot-iong
             injury or illness,
                                                                                                    (2)   During hitching or unhitching operations, or when a
Key Person Replacement Expenses                                                                           trailer becomes accidentally unhitched from a
 Key person replacement expenses means the                   actual,                                      motorized land vehicle.
     reasonable and necessary expenses that you would not have
     incurred had there been no key person accident and must be /                              The inost we will pay under this special provision is the
     directly related to the recruitinent and replacement of a key                             applicable limit shown in the Declarations or Supplemental
     person.                                                                                   Declarations.

     Kcyperson replacement expenses shall be               limited tor                         This insurance is excess over the amount due (whether you
                                                                                               can collect on it or not) from any other insurance covering
     (1)    The costs  of advertising the opening of the                                       such property.
            ernployni ent position     3




     (2) Travel, lodging, nieals and car rental expenses incurred
         in interviewing job applicants for the open einployment
            positiong and


     (3)    Extra expenses incurred  iu finding or interviewing job
            applicants, including overtime pay, costs to verily the
            background and references ofthc applicants and legal
            expenses incurred to draw up employment contracts.

Recruitment Period
 Recruitment period means                  the period of-time that


     (1)    Begins on the date that the key person suffers a           loss    of
            life resulting ii-orn a key person czccidcnrg and


     (2)    Ends on the     earlier oft


            a.   Thirty (3 0) days after a replacement individual is
                 hired or should have been acquired with reasonable
                 speed and diligence, or

            b.   180 consecutive days following the date that the             /cey
                 person suffers a loss of life resulting horn a /coy
                 person accident.

 The rccruifmentpcriod is not limited by the                expiration datc
 of this policy.

NON-OWNED DETACHED TRAILERS
A.     Coverage B is extended to cover loss             to trailers   thatyou
       do not own, provided tliatz

       (1)       The trailer is used   in your business,


       (2)       The trailer is
                              in your care, custody or control             at the
                 premises described in the Declarationsg and           _




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        NAMED INSURED PROPERTY DEDUCTIBLE                                                                                  MMR 427 02 06
        This endorxvemenf amends the properly deduczible provisions to appiy on a per named inxurerl per
                                                                                                         occurrence, basis.
       The   provisions of this endorsement apply only when the endorsement mu-nber is listed in the Declarations.
       Except               as provided below,       all   other provisions in this policy are unchanged.


       How Losses are Settled - Deductible                         is   replaced by the followingt

       We are liable for the amount of the loss in any one occurrence in excess of the deductible amount shown in the Declarations.
                                                                                                                                          The
       deductible amount shown applies separately to each named insured listed in the Declarations or elsewhere
                                                                                                                in this policy. The deductible
       does not apply to Coverage C.
                        -




                                                                                                       .




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                              E
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            R1-l
                   15123.-.       (r7VJ(lnK1\/NIX/m inn
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IDENTITY RECOVERY COVERAGE H PART I (RELIGIOUS INSTITUTIONS)
                                                                                                                                     MMR 429 O9 10
This endorsement extends Parr./I to provide                identity recovery coverage.   The required information       may be shown    in this
endorsement or elsewhere in this policy.

The provisions of this endorsement apply only when the endorsement number is                            listed in   the Declarations.
Except as provided below, all other provisions in this policy are unchanged.


      ADDITIONAL POLICY PROVISIONS                                                                   recovery insured, whether acting alone or in
      Identity   Recovery Coverage provides reinibursernent of                                       collusion with others.
      specified legal expenses, but such coverage is subject to
                                                                                                     Loss other than identity theji expenses.
      the Identity Recovery Coverage limit shown in the
                                                                                                     Identity theft expenses arising from any
      Declarations or Supplemental Declarations. Under
                                                                                                     identity theft by or with the knowledge of any
      IdentityRecovery Coverage, we do not have a duty to                                            relative or former relative of the identity
      defend the insured from claims or suits. The limit and
                                                                                                     recovery insured.
   deductible applicable to Identity Recovery Coverage are
                                                                                                     Loss arising from an identity theft that is first
   separate from and in addition to the limits and
                                                                                                     discovered by the identity recovery insured
   deductibles that apply to your Religious Institutions
                                                                                                     prior to the policy period or after the policy
   coverage. The Connnon Policy Conditions apply to
                                                                                                     period, whether or not such identity theft began
   coverage under this Identity Recovery Coverage.                                                   or continued during the policy period.
                                                                                                     Loss arising from an identity theft that is not
   A.     IDENTITY RECOVERY COVERAGE                                                                 reported to us Within 60 days after it is first
          We will provide the Identity Theft Resolution                                              discovered by the identity recovery insured.
          Service and Expense Reirnburseinent Coverage                                               Loss arising from an identity thef that is not
          indicated below if all of the following requirements                                       reported in writing to the police.
          are nietz
          (1)     There has been an identify theft involving the                          c.   PARTI o Q SPECIAL PART 1 CONDITIONS
                  personal identity of an identity recovenr                                          The Insured is Duties
                                                                                               (1)                               After Loss
                  insured under this policyg and                                                     With respect to Identity Recovery Coverage,
                  Such identity
          (2)                            rhefl is first discovered   by the                          the following     is   added to the DUTIES    WHEN
                 identity recovery insured (luring the policy                                        LOSS / DANGER. OF LOSS OCCURSt
                 period for which this identity theft expense                                        At our request the insured nnist show receipts,
                  coverage   applicableg and
                                  is
                                                                                                          and other records that prove identity theft
                                                                                                     bills,
         (3) Such identity theft is reported to us within 60                                         expenses incurred, in support of the claim, and
                days aiter it is first discovered by the identity                                    permit copies to be niade of them within 60
               recovery insured.                                                                     days alter our request.
         If all three of the requirements listed above have
                                                                                                     Limits of Liability
         been 111ct,tl1en wewill provide the following to the                                        With respect to ldentity Recovery Coverage,
         identity recovery insured.-                                                                 the following    is    added to the 1-IOW LOSSES
         (1)     Identity Theft Resolution Service                                                   ARE SETTLEDI
                 Services of an identity theft resolution                                            Identity Theft Resolution Sen/ice is available
                 specialist as needed to respond to tho iden.til_y                                   as needed for any one identity theft for up to l2
                 Z-lteflj   and                                                                      consecutive rnonths from the inception otthe
         (2)     Expense Reirnbnrseincnt                                                             service. Expenses we incur to provide Identity
                 Rciniburseinent of necessary and reasonable                                         Theft Resolution Service does not reduce the
                 idem/iiy theft expenses incurred as a direct                                        amount of limit available for Expense
                 result of the identity thew.
                                                                                                     Reinihurseinent Coverage.
         This coverage            is   additional insurance.                                         Expense Reirobursernent Coverage         is   snbj ect to
                                                                                                     the liniit   shown in the Declarations   or
  B.     PART I IF Q LOSSES NOT INSURED                                                              Suppleincntal Declarations per identity
         The following additional exclusions apply to this                                           recovery insured. Regardless of the number of
         coveragez                                                                                   claims, this limit is the most -we will pay for the
         We do not. coverz                                                                           total of all loss or expense arising out of all
         (1)     Zr/eniity thefi        expenses incurred to restore a
                                                                              i




                                                                                                     identity thefts to any one identity recovery
                professional or business entity.                                                     insured which are fnrst discovered by the
         (2)                  expenses incurred due to any
                Identizjr theji
                                                                                                     ideniily recovery insured during a 12-month
                fraudulent, dishonest or criminal act by an                                          period starting with the beginning of the
                icierifiryrecovezy insured or any person aiding                                      present annual policy period. If an identity
                or abetting an identity recovery insured, or by
                                                                                                     theft is first discovered in one policy period
                any authorized representative of an it/entity                                        and continues into other policy periods, all loss
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        and expense        arising   from such
                                                                                                                  MMR 429 09 10
                                                   identity theft                    ii.          We do not wan-ant or guarantee that
        will be subject to the aggregate limit applicable
                                                                                                 our services will end or eliminate
        to the policy period when the identity theft was
                                                                                                 all problems associated with an
        first discovered.
                                                                                                 identity theft or prevent future
        Legal costs as provided under item d. of the
                                                                                                 identity lhefls.
        definition of identity theft expenses are part of,
        and not in addition to the Expense                                  GLOSSARY
        Reinibursernent Coverage limit.                                     The following deiinitions apply to the coverage
        D eductible                                                         provided by this endorseinentz
        With respect to      Identity   Recovery Coverage,                  (1) Jdcruity Theft Resolution Specialist means one
    the following is added to the            HOW LOSSES                         or more individuals assigned by us to assist an
    ARE SETTLEDI                                                                identity   recovery insured with coinmunicatioils
    Identity Theft Resolution Service                is   not subject           we deem necessary    for re-establishing the
    to a deductible.
                                                                                integrity of the personal identiul of the identity
    Expense Reimbursernent Coverage                       is   subject to       recovery insured. This includes, with the
    a deductible of S250. Any one identity                                      permission and cooperation of the identity
    recovery insured shall be responsible for only                              recovery insured, written and telephone
    one deductible under this Identity Recovery                                 connnunications with law enforcement
    Coverage during any one policy period.                                      authorities, governmental agencies, credit
    Additional Conditions                                                       agencies and individual creditors and
    With respect to Identity Recovery Coverage,                                 businesses.
    the following is added to the OTHER
                                                                            (2) Identity Theft      means the fraudulent use of the
    SPECIAL CONDITIUNSI                                                         social security      number or other method of
    a.      Assistance and Claims                                               identilying an identity recovery insured. This
            F or   assistance, the identity recovery                            includes fraudulently using the personal
            insured should call Mercer Insurance                                identity of an identity recovery insured to
            Group at L800-223--0534.                                            establish credit accounts, secure loans, enter
            Mercer Insurance Group can provide the                              into contracts or      commit crimes.    Identity theft
            identity recovery insured Withi                                     does not include the fraudulent use of a
             i.    One-one-one victim advocacy,                                 business name, d/b/a or any other method of
                   preinier identity theft education, and                       identifying a business activity.
                     proactive seiviccsg                                t

                                                                                Identity theft does not include the unauthorized
            ii.      Access to our educational websitei                         use of a valid credit card, credit account or
                     wvL._niercerinsidentitydhefr.coni                          bank account. However,    identity the/t does not
                     for more information on the risks of                       include the iraudulcnt alteration of account
                     identity theft, including tips,                            profile iufcnnation, such as the address to
                     articles,   FAQs and ongoing threat                        which statements are sent.
                     alerts regarding the latest scainsg
                                                                            (3) Identity   .7   heft Expenses means the following
                     and                                                        when they         are reasonable and necessary
           iii.      Access    to    an identity   iheji                        expenses that are incurred in the United States
                     resolution specialist who will work                        or Canada as a direct result of an identity theft.-
                     with the identity recovery insured to                      a.  Costs for re-filing applications for loans,
                   help them restore their identity.                                grants, or other credit instruments that an-e
   b.      Computer      Security                                                    rejected solely as a result of an identity
           1t is the responsibility of each identity
                                                                                     theft.
           recovery insured to use and inaintain his                            b.   Costs for notarizing affidavits or other
           or her computer system security, including                                siinilar documents, long distance
           personal firewalls, anti-virus soitwarc and                               telephone calls and postage solely as a
           proper disposal of used hard drives.                                      result of your efforts to report an identity
   c.      Services                                                                  theft or ainend or rectify records as to your
           The following conditions apply as respects                                uue name        or identity as a result of an
           any services provided by us or our                                        identity theft.
           designees to any identity recovery insured                           c.   Costs for up to six credit reports H0111
           under    this endorsements                                                established credit bureaus (with no more
            i.      Our ability to provide helpful                                   than two reports ii-om any one credit
                    services in the event of an identity                             bureau.) dated within 12 months alter your
                    theft depends on the cooperation,                                knowledge or discovery of an identity
                    perrnission and assistance of the                                theft.
                    identity recovezjv irmlred.                                 d.   Fees and expenses for an attorney
                                                                                     appointed by u.r fort
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                            i.    Defending any civil suit brought               MMR 429 09 10
                                  against an identity recovery insured
                                  by a creditor or collection agency or
                                  entity acting on behalf of a creditor
                                  for non--payment of goods or
                                                    on a loan as a
                                  services or default
                                  result   of an identity
                                                     theftg and
                       ii.        Removing any civil judgment
                                  wrongfully entered against an
                           identizy recovery insured as a result
                           of the identity theft.
           (4) Identity Recovery Insured means the followingz
                a.    When the entity insured under this policy
                      is a religious institution, or an
                                                        affiliated
                      school or camp, the idenrily recovery
                      insureds aret
                       i.        All clergy       employed by such     entityg
                                 and
                      ii.        The religions         institution business
                                 adininistrator, the         head school
                                 achninistrator, or         camp
                                                    director of
                            such entity.
               b.    Identity recovery insured also includes
                     residents of the household of anyone
                     qualifying as an identity recovery insured
                     under Section a. above, provided such
                     individuals ares
                      i.    Relatives of tl1e person qualiiynig
                                 as an identity recovery insured
                                 under Section a. aboveg or
                     ii.         Under the age of 21 and in the care
                                 of the person qualifying as an
                                 identily recovery insured under
                                 Section   a.   above.
              A-11 identity
                                 recovery          always be an
                                                I-I1SZ(F8d111l.1Sll
              individual person.           The        under
                                                   entity insured
              this policy is not an identity recovery
                                                      insured.

All other provisions of this policy apply.
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                                                                                          lVliVlR   422 12 O5

Extended Replacement Cost Coverage Partl

This endorsement provides an additional limited amount of insurance when the total       amount of loss exceeds
the limit of liability listed in the declarations.

The provisions ofthis eiidorsement apply only when the enclorsernent is listed in the Declarations.
Except as provided below, all other provisions in the policy are unclianged.



Part 1G Special Partl Conditions, item Z.C.5, is addetlz

in the event   ofa covered loss applicable to Coverage A or Coverage B in the policy, we agree to increase the
limit of liability by ZSBA). This percentage is applied to the limit of liability stated in the Declarations for
Coverage A or B in accordance with the policy provisions. No other coverages, supplemental coverages or
limits are affected   by this extension.
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                                                                                                                        MMP 116 09 09
EARTHQUAKE COVERAGE - OPTION 6 0 PART I (SUB-LHVIIT)
This endorsement establishes the provisions for Earthquake as an additional covered Cause ofLoss. The required
information may be shown below or elsewhere in this policy

The provisions of this endorsement apply only when                  the endorsement      number is listed in the Declarations.
Except as provided below,       all   other provisions in this policy are unchanged.


Policy ttREL6000OO6



SCHEDULE
Nuinberk                                                                   Limit of Liability                          Deductible

                                                                           S100,000 sub limit per risk                 S25,000



Aggregate Limit                                                            54,000,000


ttlncluding   Masonry   Veneer-,9     Option                      Yes      III   N0     XX

iiltem   N 0. or Location/Bldg Nos. as Shown in the Declarations

COVERAGE MODIFICATION
                            Part      I   C Cause of Loss Options is extended to include Cause of Loss Option 6 covering
                            the tollowingz

                            Q         Earthquake

                            Q         Volcanic Activity, meaning the effusion, eruptions, or explosions of a volcano other
                                      than that described as included in Volcanic Eruption.

                            All Earthquake shocks or Volcanic Activity that take place Within a continuous 168 hour
                            period are considered a single occurrence and constitute a single loss.

                            Part      I   Common Exclusions 1. is deleted.            However,   if loss resulting   lrom fire or
                            explosion, due to earthquake and volcanic activity (including volcanic effusion, eruption
                            or explosion), or theft (to the extent otherwise insured             by this policy)     ensues,   we   insure
                            such resulting       loss.

                            Endorse1nentMCP 119 under Part I C Cause of Loss Options - Option 6 Earthquake is
                            amended to Endorsement MMP l l6.
                            Unless         MM-P 519   is listed   in the Declarations,   MMP ll6 does not apply to Sprinkler
                            Leakage loss         arising out of Earthquake or Volcanic Activity.
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ADDITIONAL CONDITIONS
                 A. Aggregate / Total Limit
                      Our annual aggregate / total inaxiinum limit payable under this coverage for all
                                                                        shown in the Schedule. This liinit
                      losses incurred is the aggregate limit of liability
                      does not increase any limit of liability provided in this policy.

                 B.   Deductible

                      The Deductible amount otherwise applicable to this policy is replaced by the
                      Deductible listed above in connection with Earthquake or Volcanic Activity loss,

                      1.   Coverage        D
                           We are liable only for such covered loss that you incur after the first             168
                           consecutive hours following direct covered loss arising out of Earthquake or
                           Volcanic Activity. But this coverage limitation applies only              if the   subject
                           building   is   5 or   more stories   in height.

                 C. Property Limitation

                      We do not cover loss     masonry veneer (except stucco) over wood frame. But this
                                                   to
                      does not apply if less than 10M) of the exterior of the subject building is masonry
                      veneer or the nlncluding Masonry Veneern option on this fonn is checked HYes.,,

                      The value of such veneer is not used in connection with Coinsurance Condition I G.
                      2.


                 D    Time of Attachment
                      Coverage does not begin until 168           hoiu-s after the effective date   of this endorsement,
                      unless such   is   concurrent with the effective date of this policy.




                                                            2                                            MMP 116 09 09
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        .
                                                                                                                                     MCL 187 04 07
LEADI LEAD CONTAMINATION AND ASBESTOS EXCLUSIONS PART 11                           -


This endorsement extends the exclusions to any occurrence or injury arising out of lead or asbestos as described.                _




The provisions of this endorsement apply only when the endorsement number is listed in the Declarations.
Except as provided below,   all   other provisions in this policy are unchanged.


ADDITIONAL EXCLUSIONS                   W   LEAD LEAD CONTAMINATION AND ASBESTOS
                                                     /

                            Part 11 C is extended to include the followingz
                            A. We do not cover bodily it-glury, property damage, advertising injury, personal injury, or medical
                                payments resulting ii-om or caused by lead or lead contamination arising out of any occurrence at your
                                  premises.-
                                   1.       As to   bodily injury and medical payments this includes such caused      by or tin-ougliz
                                            a.   Absorbing   lead,

                                            b.   Chewing   on, eating or otherwise ingesting lead, or

                                            c.   Inhaling lead.

                                   Z.       As to property damage this     includes such caused by or tlnough any soft of lead contamination or
                                            existence of lead inc
                                            a. Air, ground, or water, or

                                            b.   Any part oftlie premises including, but not limited to, building niateiials and paint.

                     __     B.    We   do not cover bodily injury, property damage, advertising injury, personal injury, or medical
                                   payments resulting from or caused by the actual, alleged, or threatened exposure to asbestos, or the
                                   presence of asbestos in any place.

                            C.    We do not insure any cost, expense, liability 01-loss aiising out of any of the followingz
                                   1. Any demand, directive, order, or request that any insured or others clean up, contain, detoxify,
                                            monitor, neutralize, remove, test -for, or   treat, or in   any way assess the   effects of oi-respond to

                                            asbestos, lead or lead containinaticn.

                                   2,       Any claim or suit by, or on behalf of, any governmental        authoiity for   damages or rennbursetnenl
                                            because of cleaning up, containing, detoxifying, monitoring, neutralizing, removing, testing for,
                                            treating, or in any way assessing the effects of or responding to asbestos, lead or lead
                                            contamination.

                            Asbestos as used in these exclusions means the mineral                 in   any fonn, including but not limited    to fibers or

                            (lust.
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                                                                                                                       MCL 205 06 05
KNOWLEDGE NOTICE OF AN INJURY OR OCCURRENCE PART II
                       /                                                  -


This endorsement modifies the notice reguiremeni in the duties of insureds condition.
The pi0VlSlOl1S        of this enclorsernent apply only when the endorsement number       is   listed in the Declarations.
Except   as   piovided below,       all other provisions in this policy are unchanged.-




ADDITIONAL CONDITION
                                                  A
                                 Paragraph of the SPECIAL LIABILITY           CONDITIONS - DUTIES OF JNSUREDS is amended by
                                 adding The followingz
                                                           I




                                 Your agentis or employee is knowledge of an injury or occurrence does not in itself constitute
                                 knowledge by you, unless you receive notice of such from your agent or employee. Failure of any of
                                 your agents or employees to notify us of any irrjury or occurrence that such agent or employee has
                                 knowledge of does not invalidaie this insurance for you.




                       EM
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sew


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                                                                                                                                  MMR 4001107
RELIGIOUS COUNSELING LIABILITY                          H
                                                            PART II
This endorsement extends          liability   coverage to religious counseling   activities.


The provisions   of this endorsement apply only when the endorsement number                                is listed   in the Declarations.
1ToxceptVVasVprovided below, all otlieryproyisious in thispolicy are unchanged.


COVERAGE MODIFICATION                                                       B.    D efense in Connection with Religious Counseling
A. Coverage                1



                                                                                   Liability
   We pay for the benefit of insureds, up to the                                         Defense is provided in connection with this
   applicable li1nit(s) of liability shown for this                                      coverage in accordance with the defense
    coverage, those sums that insureds become legally                                    provisions described under Supplemental
    liable topay as damages because of injury arising                                    Coverage 1 in Part ll B.
    out of any negligent act, error or omission by an
    insured in religious counseling activities which are                    C. Liability      Not Insured
    within the scope of such insured is duties as a                                      The Exclusions in Part ll C,            other than
    religious counselor for you.                                                         Exclusion 5, do not apply to this coverage. The
                                                                                         following exclusions apply instead.
    Such act, en-or or omission mustz
    1. Occur during the policy tenng and                                                 We do not provide insurance for any sort of
                                                                                         damages or liability directly or indirectly,
    2.   Prior to the policy term, no insured or. no
                                                                                         wholly or partially, aggravated by, caused by,            or
         employee authorized by you to give or receive                                   resulting from any ofthe followingi
         notice of a claim or occurrence, knew that the                                  1.    Any         criminal, dishonest, fraudulent or
         error or omission had occun-ed in whole or in
                                                                                               malicious act or omission of any insured.
         part.  If any insured or authorized employee
         knew, prior to the policy term, that the en-or or                               2.        The loading or unloading,        loaning,
         omission occurred, then any change in,
                                                                                                   maintenance, operation, renting, use or
         continuation of, or resumption of such error or
                                                                                                   entnistinent to others (whether supervised or
         omission during or alter the policy term will he
                                                                                                   not) of any aircraft, automobile or watercraft
         deemed to have been known prior to the policy
                                                                                                   operated or owned by, or loaned or rented
         term.
                                                                                                   to,   any   insured.
                                                                                                                                      t




    Any                     which occurs during the
            en-or or omission
                                                                                         3.        Injury arising out ofz
    policy tcnn, provided no insured or em_pl0_)/ee                                                r
                                                                                                     False an-est, detention or
    authorized by you to give or receive notice of a
                                                                                                      imprisonrnentg malicious prosecution.
    claim or occurrence knew, prior to the policy term,
    that such error or omission      had occurred, includes                                        -
                                                                                                        Oral or written publication of material
    any change        continuation of, or resumption of that
                     in,
                                                                                                        thati slandcrs or libels a person or
    error or OlTllSSiO11 after the cnd of the policy term.
                                                                                                         organization, disparages a per-souls
                                                                                                         or organizationis goods, products, or
    Any  en-or or omission will he deemed to have been
                                                                                                         services.
    known   to have occuired at the earliest time when
    any insured or any employee authorized by you to                                               B
                                                                                                         Oral or written publication of material
    give or receive notice of a claim or occurrences
                                                                                                         that violates a pcrsonls rights of
    1.   Reports all, or any part, ofthc error or omission                                     I




                                                                                                         privacy.
         to us or any other insurer,


    2.   Receives                     demand, claim or
                         a written or verbal
                                                                                                    P
                                                                                                         Wrongful      entry, eviction or invasion
          suit for damages because of the error or                                                       Ofthe Tigmofprivate Occupancy.
          omission 3 or
   3.    Becomes aware of anything that indicates that                              4.    Bodily injury or property damage other than
         any error or omission has occurred or is                                         such directly resulting from religious counseling
         r\r\r\n-rrinn                                                                    activities.
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   Acts, errors or omissions of any insured as a                       isthe limit shown in the Declarations or
   board member, executive officer, proprietor, or                     Declarations Supplement.
   superintendent of any hospital, laboratory,
   medical clinic with bed and board facilities, or           The Other Insurance Common Condition is
   sanitariuin.                                               extended as followsz
                                                                   V
                                                                     This insurance is excess insurance over any
   Acts, errors or omissions of any insured arising                  other valid and collectible insurance or
   out of any business, employment, profession or                    agrcement ofindemnity available to the
   tracle other than that of a religious counselor for                 insured.
   you.
                                                              ADDITIONAL DEFINITIONS
   The rendering of dental, medical, nursing,                          Religious Counseling/Religious Counselor
   surgical, or X-ray treatments or the furnishing of                  Religious counseling refers to counseling
   food or beverages in connection with any such                       activities provided by you.
   treatment, the dispensing, furnishing,                              This does not includez
   prescription or utilization of drugs or dental,                     Q
                                                                          Service for which a fee is charged.
   medical, nursing or surgical appliances or                                   However,  ifl\/l1\/1R 516 is listed in the
                                                                            i




   supplies.      V
                                                                                Declarations, services for which a fee       is
                                                                                charged are not excluded.
   Bodily   injurjv,   property damage, personal    injury,
    or advertising liability for    any newly acquired                  P
                                                                                Activities related to or arising out of           -




    organization for     acts that occurred before you                           scholastic instruction.
    acquired that organization.

   Assault and battery by or at the direction of any
   insured other than the use of reasonable force to
   protect persons or property.

   Bodily   injury,    property damage, advertising
    injury, or personal injury, including sickness or
   disease, death, mental anguish, physical or
   mental abuse or emotional distress arising out of
   any act of Sexual Misconcluct.

ADDITIONAL CONDITIONS
The Limits  ofLiabi1ity Condition in Part II         D is
extended to include the followings
    Gen oral Coverage Limit
   Our maximum limit of liability payable under
   Religious Counseling Professional Liability
   Coverage for all injuries sustained by one person
   is the limit shown in the Declarations or
   Declarations Supplement.

    All claims arising from a single negligent act,
    en-or or omission or a series of related negligent
    acts, errors or omissions shall be considered as a
    single injury.


    Aggregate /Total Limit
    Our aggregate / total maximum limit ofliability
    payable under Religious Counseling
    Professional Liability Coverage for      all   damages
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                                                                                                                                         MMR 411 12 05
DIRECTORS)/LND OFFZCEICSJ LIABILITY PART ll (CLAIMS-MADE FORM)
                                                            I



This endorsement extends      liability   coverage for directors and Qf/lCCTS.
The provisions of this      endorsernent apply only vvhcir the endorsement number                    is   listed in the Declarations.
Excep t as provided below,      all other provisions in this policy are unchanged.



COVERAGE MODIFICATION                                                                   5.    Any   transaction from which directors and
    A. Application of This Insurance                                                          ojicers gained any personal advantage, profits
         This insurance applies only to claims for damages                                    or remuneration to which they were not legally
         due to wrongful acts or omissions. The claim must                                    entitled.
         llISlL be made against the insured during the coverage
                                                                                        6.    Any profits or losses, including an accouutin g of
         period.
                                                                                              such, resulting ii-om the purchase or sale of any
         Claims are deemed to have been made when notice is
                                                                                              security.                   .




         fISf received and recorded by any insured or us.
                                                                                                                              ,




         The term (Dcclaratioosn includes any Supplemental                              7.    Discrimination on account of age, race, religion
         Declarations.                                                                        or sexg or the violation ofany civil rights law.

                                                                                        8.    Failure to effect or maintain proper insurance or
    B.    Coverage                                                                            bond.
         1.  We pay for        tl1e    benetit of insureds,     up to the
               applicable    1irnit(s)    of   liability  shown for this           ADDITIONAL CONDITIONS
               coverage,     those    sums that         insureds become              A. Extended Reporting Period
               legally   liable   to  pay as darnages because of                        1. --This condition applies only                 lfl

               wrongfizl acts     or omissions by the iii-rectors and                         -21.    This Coverage           Form       is    cancelled or not
               ojicers, individually           or   collectively,   in   their                        renewed for any reason                         other   than
               capacity as such.                                                                      nonpayment of the premiumg
         2.    Insuring Agreement Qualification.                                               b,     We renew or replace this Coverage Fonn
               This insurance is on a Hclaims-model) basis.                                           with other insurance that
               Coverage does not apply to damages due                    to
                                                                                                      Q
                                                                                                          Provides claims-macle coverageg and
               wrongful acts or omissions that occurz                                                 0
                                                                                                              Has    a Retroactive Date later than the
               I
                   Prior to the Retroactive Datc           shown on the                                       one     shown         in        this   endcrsernentts
                   Dcclarationsg or.                                                                          schcduleg or
               1
                   After the expiration of the policy.                                          c.        We replace this endorsement with other
    C.   Defense     in Connection with Directors,                       and                              insurance that applies on other thau- a
                                                                                                          claims-made basis.
         Officers-i Liability
         Dcfensc is provided in connection with this coverage                            2.    If the Extended                Reporting Period applies,
         in accordance with the defense provisions described                                    coverage      is   amended        as followsi
         under Supplemelltal Coverage 1 in Part ll B.                                           0
                                                                                                          A  claim made Within twelve months after
                                                                                                          the policy period ends will be considered to
    D. Liability Not Insured                                                                              have been made on the last day of the policy
         The Exclusions in Part II C do not apply to                       this                           period, provided the claim is for damages
         coverage. The following exclusions npply instead.                                                caused by a wrongful act or omission that
         We do not provide insurance for any sort of damages                                              occurred before the end of the policy period
         or liability directly or indirectly, wholly or partially,                                        (hut not before the Retroactive Date).
         aggravated by, caused by, or resulting from any oi
         the following-2
                                                                                                 n
                                                                                                          The policy period ends on the date shown                  in

         L                                                                                                the Declarations or this enclorscmcntls
               Bodily    injury, property           rlazmzge,   advertising                               schedule, or on the effective date of any
               injury,   personal irgjwy,             counseling
                                                    religious                                             cancellation of this endorsement, Whichever
               professional liability, or other counseling                                                is earlier. The Extended Reporting Period
               sanctioned or provided by the insured.                                                     Condition will not reinstate or increase the
         2..   Any criminal,      dishonest, frau dulent or malicious                                     Limit     of Liability,         or extend the      policy
               act or omission.                                                                           period.

         3.    Any tines or penalties imposed by law.
         4.    Any activity in a iiduciary capacity                           in
               connection with an employee benefits plan
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           A
               The   insurance provided by the Extended        GLOSSARY
               Reporting Period Condition Will be excess         The    following special definitions apply to this
               over any other valid and collectible              coveragez
               insurance available to the insured, whether       Directors and ojjfzeers I1Il6Etl1Si all persons who were, now
               primary, excess, contingent, or on any basis,     are, or shallbez directors, officers, trustees, or rneinbets
               whose policy period begins or continues           of an official board of governors, including elected or
               after the Extended Reporting Period talces        appointed church boards, councils, or a similar governing
               effect.                                           body, while_ acting within the scope of_thei,r_,duties as
                                        -




                                                                 such, or any person designated by you as an officer,
  All other terms and conditions of this endorsement
                                                                 director, trustee or rnernber of an official board oi
  remain unchanged.                                              governors or a similar. governing bodylof a subsidiary or
                                                                 affiliate not-for-profit organization, while acting on your
  The Limits  of Liability Condition in Part 11 D       is
  extended to include the follovvingz                            behalf
                                                                 Directors and officers also includes the business
  1-  General Coverage Limit
                                                                 administrator and pastor, minister, rabbi or equivalent
           Our maximum limit of liability payable under
       V

           Directors) and Officers, Liability Coverage for       religious leader, while acting on your behalf.
           all  damages claimed by one person is the             Wrongful uct or omission means any actual or alleged act,
                                                                 error, misstatement, misleading statement, omission or
           General Coverage limit shown in the
                                                                 breach of duty by the directors and ojicers in the
           Declarations.
                                                                 discharge of their duties, While acting on your behalf.
           All claims arising from a single wrongful act or
           omission or a series of related wrongful acts or
           omissions shall be considered as a single elaini,

  2.       Aggregate / Total Limit
           Our aggregate / total limit of liability payable
           lmrler .Dz-rectorsi  and Officers, Liability
           Coverage for all damages is the Aggregate limit
           shown in the Declarations.
  The Other Insurance Coinrnon Condition is
  extended as -followsz
  This insurance is excess insurance over any other
  valid and collectible insurance or agreement oi
  indemnity available to the directors and oyjlicers.




                                                                                                                 MMR/lll 0105
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                                                                                                                     MMR 413 12 O5
TEACHING ERRORS OR OMISSIONS W PART Il
This endorsement extends liability coverage     to   errors or omissions arising out of teaching activities.

The provisions of this endorsement apply only When the enclorsement number is listed                   i11   the Declarations.
Except as provided below, all other provisions in this policy are unchanged.


COVERAGE MODIFICAITION
   Coverage                                                                 Defense in Connection with Teaching Liability
   We pay for the beneilt of insureds, up to the                            Defense coverage is provided in connection with this
   applicable occurrence limit shown in the                                 endorsement in accordance with the defense
   Declarations, those sums that insureds become                            provisions described under Supplemental Coverage
   legally liable to pay as damages because of injury                       l    in Part ll B.
   arising out of any error or omission by an insured in
   teaching activities which are within the scope of                    C. Liability Not Insured
   such insured is duties as a teacher for you.                             The Exclusions in Part ll C, other than Exclusion        5,
                                                                            do not apply to this endorsement. The following
   Such error or omission mustz                                             exclusions apply instead.
   1. Occur during the policy term, and
                                                                            We do not provide insurance          for any sort of damages
   2.   Prior to the policy term, no insured or no                          or liability directly or indirectly, wholly or partially,
        employee authorized by you to give or receive                       aggravated by, consisting of, caused by, or resulting
        notice of a claim or occurrence, knew that the                      from any of the followingi
        error or omission had occurred in whole or                          1.     Any criminal,    dishonest, fraudulent or malicious
        part.     If   any insured   or authorized   employee                      act or omissions of any insureds.
        knew, prior to the policy term, that the error or
        omission occurred, then an.y change in,                             2.     The loading or unloading, loaning, maintenance,
        continuation of, or resumption of such error or                            operation, renting, use or entrustment to others
        omission during or after tho policy term will be                           (whether supervised or not) of any aircratt,
        deemed to have been known prior to the policy                              automobile or watercraft operated or owned by,
        term.                                                                      or loaned or rented to, any insured.


   Any   error or omission which occurs during the                          3.     Injury arising out oft
   policy term, provided no insured or employee                                    H   False arrest, detention or imprisonment,
   authorized by you to give or receive notice of a                                    malicious prosecution.
   claim or occurrence know, prior to the policy term,
   that such error or omission had occurred, includes                              H     Oral or written publication of material thatz
   any change in, continuation of, or resumption oli that                                slanders or libels a person or organization,
   error or omission after the end of the policy term.                                   disparages a personis or organizationis
                                                                                         goods, products, or services.
   Any error or omission will be deemed to have been
   known to have occurred at the earliest time when                                 It
                                                                                         Oral or written publication of material that
   any insured or any employee authorized by you to                                      violates a personis rights ofprivacy.
   give or receive notice of a claim or occurrence.-
   14  Reports all, or any pan, of the error or omission                            B    Wrongful   entry, eviction, or invasion of the
       to us or any other insurer,                                                       right of private occupancy.


   2.   Receives a written or verbal demand, claim or                       4.     Bodily injury orproperty damage other than
        suit for damages because of the error or                                   such directly resulting from errors or omissions
        omission, or                                                               in teaching activities.

   3.   Becomes aware of anything that indicates        that                5.     Acts, errors or omissions oi any insureds as a
        any error       or omission    has   occurred    or    is                  board member, executive oil-leer, proprietor, or
        occurring.                                                                 superintendent of any hospital, laboratory,
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      medical      clinic    with bed and board   facilities, or       ADDITIONAL DEFINITIONS
      sanitariuin.
                                                                         Teaching/Teacher
6.    Acts, errors or omissions of any insured arising                   Teaching refers to teaching   activities   provided
      out of any business, employment, profession or                     by you.
      trade other than that of a teacher for you.
                                                                         This does not includes
7.    The rendering of dental, medical, nursing,
      surgical or x-ray treatments or the furnishing of                  W    Services for which a fee   is   charged per event
      food or beverages in connection with any such                           or meeting.
      treatment, the dispensing, furnishing,
      prescription or utilization of drugs or dental,                    E1
                                                                              Activities related to, or arising out of, or
      medical, musing or surgical appliances or                               instructions for the use of trampolines,
      supplies.                                                               saddle animals, automobiles, watercraft or
                                                                              aircraft.
8.    Bodily        properly damage, personal injury,
                 irqjizry,

      or advertising liability for any newly acquired
      organization for acts that occurred before you
      acquired that organization.

9,    Assault and battery by or at the direction of any
      insured other than in the act of self-defens e.

10.   Sexual misconduct, sexual behavior or sexual
      acts   .




ADDITIONAL CONDITIONS
The Limits  of Liability Condition in Part II D is
extended to include the followings
A. General Coverage Limit
   Our inaximuni limit of liability payable under
   Teac/iing Errors or Omissions Coverage for all
   injuries sustained by one person is the
      occurrence limit shown in the Declarations.

      All claims arising from a single error or
      oniission or a series of related errors or
      omissions shall be considered as a single injury.

B. Aggregate/Total Limit
      Oi/r a ggregate/total maximum limit of liability
      payable under Teas/iing Liability Coverage for
      all damages is the Ge/iercrl /lggregoie/.Total
      Limit shown in the Declarations.

The Other Insurance Coininon               conditions     is
extended as iollowsz
   This insurance is excess insurance over any
   other valid and collectible insurance or
   agreement of ind einnity available to the irisured.


                                                                   2
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                                                                                                                   MML 800 l098
Employment Practices                 Liability   Coverage - Claims Made
This endorsement provides coverage for certain claims arising out ofyour employment-related practices.
The provisions of this endorsement apply only when the endorsement number is listed in the
Declarations. Except as provided below, all other provisions of this policy are unchanged.

A.   COVERAGE                                                                  3.   A claim will be deemed to have been made
                                                                                    at   the earlier of the following timesr
      1.    We will pay those sums the insured becomes
                               pay as damages resulting
            legally obligated to                                                    a.    When notice of such claim is received
           from an injury to which this insurance applies.                                by any insured and reported to      us in
           We will have the right and duty to defend the                                  Writingg or
           insured against any suit seeking those damages
           However, we will have no duty to defend the                              b.    When a claim    against an insured is
           insured against any suit seeking damages                                       made   directly to us in writing,
           because of an injury to which this insurance
           does not apply. We may at our discretion,                                A claim received by the insured during the
           investigate any incident that may result in                              policy period and reported to us within 90
           injury. Butt                                                             days after the end of the policy period will
                                                                                    be considered to have been reported within
           a.    The amount we    wi.ll pay for damages and                         the policy period. However, this 90 day
                  dejianse expenses is limited as described in                      grace period does not apply to claims that
                 Limits of insurance,                                               are covered under any subsequent insurance
                                                                                    you purchase, or that would be covered but
           h.    The coverage and duty to defend provided                           for exhaustion of the amount of insurance
                 by this coverage form will end when we                             applicable to such claims.
                 have used up the applicable limit of
                 insurance for defense expenses or the                         4.   All claims arising out of an injury to the
                 payment of judgments or settlements.                               same person, including damages claimed by
                                                                                    any person for care, loss of services or
           No other obligation                pay sums,
                                        or liability to                             death resulting at any time from the injury,
           such as                         imposed on you
                       civil or criminal tines,                                     will be deemed to have been -made at the
           or any other insured, or to perform acts or                              time the fnrst of such claims is made,
           services is covered unless explicitly provided                           regardless of the number of claims
           for under Supplementaly Payments.                                        subsequently made.

     2.    This insurance applies to injury only          ifr             B.   LIABTLITY NOT INSURED
           a.    The   injury   is   caused by your 8mpl0_W)18nZ--             This insurance does not apply tor
                 related practices that take place in the
                 coverage    territoryg                                        1.   Liability arising out of an insured is
                                                                                     criminal, fraudulent or malicious acts or
           h.    The  injury did not commence before the                             omissions, or arising out of an insured is
                 Retroactive Date, if any, shown in the                             instruction, direction, or approval given to
                 Snppleniental Declarations or after the end                        another insured for such acts or omissions.
                 of the policy periodg and
                                                                                    This exclusion does not affect our duty to
           c.    A claim because ofthe in/ury is hi-st made                         defend, in accordance with paragraph La.
                 against any insured, in accordance With                            above, the insured prior to determining,
                 paragraph 3. below, during tho policy                              through the appropriate legal processes, that
                 period or the Extended Reporting Period,            if             the insured is responsible for a criminal,
                 provided.                                                          fraudulent or inalicious act or omission or
                                                                                    has instructed, directed or provided
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                                                                                                  MML 800 1098
 approval for another insured to be responsible                 a.     You have      filed for bankruptcy
 forsuch an act or omission.                                           protection, or you are placed in
                                                                       receivership or liquidationg
Injury for Which the insured is obligated to pay
damages by reason of the assumption of                          1).    You have merged with or been acquired
liability in a contract or agreement. This                             by another business entityg
exclusion does not apply to liability for
damages that the insured would have in the                      c.     You have closed an operation or a
absence of the contract or agreement.                                  business location, in its entirety or in
                                                                       part, or
Any obligation   of the insured under a workers
 compensation,   disability benefits or                         cl.    Your business location is partly closed
 unemployment compensation law        or   any similar                 or the size of the operation rnustbe
 law.                                                                  reduced because of tire or other
                                                                       disasters beyond your control.
Injury arising out of your failure to comply with
any of the accommodations for the disabled               10. Injury arising out    of any act or omission of
required of you by the Americans With                           the insured if such act or omission is
Disabilities Act or any other similar federal,                  intended by the insured to cause injury to a
state or local statute, rule or regulation.                     person.

Injury arising out of a violation of your                       Liability arising out       of an insured is
responsibilities or duties required   by the                    retaliatory action against a person because
Employee Retirement income    Security Act of                   the person hasz
1974, the Fair Labor Standards Act, the
National Labor Relations Act, the Worker                        a.     Declined to perform an       illegal or
Adjustment and Retraining Notification Act,                            unethical act,
the Consolidated Omnibus Reconciliation Act
of l985, the Occupational Safety and Health                     ht     Filed a complaint with a governmental
Act and any   rules or regulations promulgated                         authority or a suit against you or any
therefor or ainendments thereto or any federal,                        other insured concerning your
state or local statutes, rules or regulations.                         elnployment-relatedprczclicesg

Injury to any striking or locked-out employee,                  c.     Testitlcd against you or any other
or to an employee who has been temporarily or                          insured at a legal proceeding, or
permanently replaced in connection with any
labor dispute.                                                  d.     Notified a proper authority of any
                                                                       aspect of your business operation which
Bodily injury (except for mental anguish and                           is illegal.
emotional distress) or property damage.
                                                         jl2.   Punitive or exemplary damages.
Liability of the insured who
                           commits or
knowingly allows a sexual harassment offense.            13. Injury that arises out ofz


This exclusion does not affect our duty to                       ll.   An act of sexual misconduct or sexual
defend the insured prior to detennining,                               molestation.           .




through the appropriate legal processes, thatthe
insured has committed a sexual harassment                   .
                                                                 Any     costs incurred     by or imposed upon the
offense, other than an assault or battery.                       insured in the course of complying with or
                                                                 iniplementing any equitable order or relief
Injury arising out of termination of                             from any court or administrative agency.
employrnent, job relocation or reassignment, if
the action is taken becauset
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                                                                                                            MML 800 1098
      15. Injury arising out of any act or omission arising             b.    All defense expenses
          out of any collective bargaining agreement.
                                                                        because of claims first made against an
C.   RETENTION                                                          insured during the policy period.

     We Will not pay for any injury until the amount of                 Subject to 2. above, the Per Person Limit is
     injury exceeds the retention shown in the                          the most we Will pay for the sum of all
     Supplemental Declarations.     WeWill then pay the                 damages sustained by any one person and
     amount of injury in excess of the retention, up to                 all related defense expenses,
     the applicable Limit oflnsurance.
                                                                        The Limits of Insurance of this Coverage
D.   SUPPLEMENTARY PAYMENTS                                             Form available at the time a claim is first
                                                                        made shall be the only limits available for
     We will pay, with respect to any claim we                          such claim, regardless of the number of
     investigate or settle, or any suit against an insured              policy periods over which an injury took
     we defendt                                                         place.

     1.    Prejudgment interest awarded against the                     Regardless of the period of time over which
           insured on that part of the judgment we pay. If              such acts occur or when damages are
           we make an offer to pay the applicable limit of              sustained, all acts by one person, or two or
           insurance, we will not pay any prejndgment                   more persons acting together, or any breach
           interest based on that period of time after the              of duty causing or contributing to such acts,
           offer.                                                       will be considered one occurrence in
                                                                        determining our liability under this section
     2.   All interest on the full amount of any judgment
          that accrues ader entry ofthe judgment and             F.   CONDITIONS
          before we have paid, offered to pay, or
          deposited in court the part of the judgment that              Bankruptcy
          is Within the applicable Limit of lnsurancc.

                                                                        Banlcmptcy or insolvency of the insured or
     These payments will not reduce me Limits of                        of the insured is estate will not relieve us of
     Insurance.                                                         our obligations under this Coverage Form.

E.   LIMITS OF INSURANCE                                                Duties in the Event of a Claim or an
                                                                        Incident that may Result in Injuzyz
     1.   The Limits of Insurance shown in the
           Supplemental Declarations and the rules below                 a.   If a claim      is   received by any insured,
           fix the most we Will pay regardless of the                         you    musti
          number    oft

                                                                              (1)     Immediately record the speciiics
           a.   Insuredsg                                                             of the claim and the date
                                                                                      receivedg and
           h.   Claims made or suits bronghtg   or

                                                                              (2)     Notify        us, in writing, as   soon   as
           c.   Persons, organizations or government                                   practicable.
                agencies making claims or bringing suits.
                                                                         b.   You and any other involved insured
     2.   The Aggregate Limit is the most we    will   pay for                mustt
           the sum otlz
                                                                               (1)   Immediately send us copies of any
          a.    All damagesg and                                                     demands, notices, summonses or
                                                                                     lc galpapers received        in   connection
                                                                                     with the rrlaimg
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                                                                                                    MML 800 1098
    (2)        Authorize us to obtain records and other         Primary Insurance
               infonnationg and
                                                                This insurance is primary except when b.
    (3)     Cooperate with us in the investigation or           below applies. If this insurance is primary,
            settlement of the claim or defense against          our obligations are not affected unless any
            the   suit.                                         of the other insurance is also primary.
                                                                Then, we will share with all that other
    (4)     Assist us, upon our request, in the                 insurance by the method described in               c.
            enforcement of any right against any                below.
            person or organization which may be
            liable to the insured because of injury or          Excess Insurance
            damage to which this insuremoe may         also
            apply.                                              This insurance  is excess over any of the
                                                                other insurance, Whether primary, excess,
    c.    No    insured Will, except at that insured is         contingent or on any other basis.
          own    cost, voluntarily   make a payment,
          assume any obligation, or incur any                   When this insurance is excess, we will have
          expense without our written consent.                  no duty     to   defend the insured against any
                                                                suit if any other insurer has a duty to defend
    d.    Ifyou have knowledge of an incident which             the insured against that suit. lino other
          may result in injury and for which a claim            insurer defends,       we will undertake to do so,
          has not yet been received, you must notify            but we will be entitled to the insured is
          us, in Writing, as soon as practicable.               rights against all those other insurers.


   Legal Action Against Us                                      When this        insurance   is   excess over other
                                                                insurance,       we will. pay only our share of the
   No person or organization has a right under this             amonnt of the        loss, if any, that exceeds the
   Coverage Formz                                               sum oft

   a.     To join us  as a party or otherwise bring us          (1)     The total amount that all such other
          into a suit asking for damages from an                        insurance would pay for the loss in the
          insuredg or                                                   absence of this insuranceg and

   b.     To sue us on this Coverage Form unless          all   (2)     The total of all   deductible and        sell-
     -


          of its terms have been fully complied with.                   insured anounts under         all that   other
                                                                        insurance.
   A person or organization may sue us to recover
   on an agreed settlement or on a iinal judginent              We will share the remaining loss, if any
   against an insured obtained after an actual trialg           with any other insurance that is not
   but we will not be liable for damages that are               described in this Excess Insurance
   not payable under the terms of this Coverage                 provision and was not bought speciijically
   Form or that are in excess        of the applicable          to apply in excess of the Limits of
   limit of insurance.      An agreed settlement means          Insurance shown on the lT.ndorse1nent
   a settlement.     and release of liability signed by         Schedule in the Declarations,
   us, the insured     and the claimant or the
   claimantis legal representative.                             Method of Sharing

4 Other Irisurance                                              If all of the other insurance permits
                                                                contribution by equal shares, we will follow
   if other valid and collectible insurance is                   this   method     also.   Under this approach,
   available to the insured for a loss we cover, our             each insurer contributes equal amounts
   obligations are limited as followsz                           until it has paid its applicable limit of
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                                                                                                                MML 800 1098
              insurance or none of the loss remains,                  a.    As if each Named Insured were the only
              whichever comes first.                                        Named Jnsuredg and
              If any of the other insurance does not
                                                                      b.    Separately to each insured against whom
              permit contribution by equal shares, we will                  claim   is   made.
              contribute by limits. Under this method,
              each insurerts share is based on the ratio of      8.   Transfer of Rights of Recovery                 Against
              its applicable limit of insurance to the total
                                                                      Others T0 Us                               t




              applicable limits of insurance of all
              insurers.
                                                                      If the insured has rights to recover all or part of
                                                                      any payment we have made under this
 S.    Premium Audit                                                  Coverage Form, those rights are transferred to
                                                                      us. The insured must do nothing aier loss to
       a.     We will compute all premiums for this                   impair them. At our request, the insured will
              Coverage Form in accordance with our                    bring suit or transfer those rights            to us   and help
              rules and rates.
                                                                      us enforce them.

       h.    Premium shown in this Coverage Form as              9.   Transfer of Duties           When Limit oflnsurance
             advance premium is a deposit premium                     is   Us ed Up
             only. At the close of each audit period we
             Will compute the earned premium for that                 a.    If we conclude that, based on claims which
             period. Audit premiums are due and                             have been reported to us and to which this
             payable on notice to the first Named                           insurance      may     apply, the limit of insurance
             Insured. If the sum of the advance and                         is likely    to    be used up in the payment of
             audit premiums paid for the policy period      is              judgments or settlements for damages or
             greater than the earned premium, we will                       the payment of defense expenses, we will
             return the excess to the first Named
                                                                            notify the first Named Insured,            in Writing,
             Insured.                                                       to that effect.

       c.    The first Named Insured must keep records                b.    When the limit of insurance has actually
             of the information we need for premium                         been used up  in the payment ofjudgments
             computation, and send us copies    at   such                   or settlements for damages and the payment
             times as we may request.                                       of defense expenses, we Willi

6.    Representations
                                                                            (1)   Notify the      first   Named Insured in
                                                                                  writing, as    soon as practicable, that
      By accepting this policy, you agreeg                                    V




                                                                                  such    a.limit has actually been used up
                                                                                  and    that our to duty to defend the
      a.     T he statements in the supplemental                                  insured against suits seeking damages
             application are accurate and complete,                               subject to that limit has also endedg

      b.     Those statements are based upon                                                    and cooperate
                                                                            (2) initiate,                        in, the transfer
             representations you made to usg and                                  of control, to any appropriate insured,
                                                                                  of all suits for which the duty to defend
                           \


      c.     We have    issued this policy in reliance upon                       has ended for the reason described in
             your   representations.
                                                                                  b.(l)   above and which are reported            to
                                                                                  us before that duty to defend ended,
 .    Separation oflnsureds                                                       and

      Except with respect to the Limits of Insurance,                             Take such
                                                                            (3)                    steps, as   we deem
      and any rights or duties specifically assigned in
                                                                                  appropriate, to avoid a default in, or
      this Coverage Form to the first Named Jinsui-ed,
                                                                                  continue the defense of, such .s-uits-until
      this   insurance    E\1)pll6Sl
                                                                                  such transfer is completed, provided the
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                                                                                                            MML 800 l098
            appropriate insured      is   cooperating in                      renewed for any reason other than non-
            completing such transfer.                                         payment of premium.

      C.    When b.(l) above has occurred, the first                     2.   Extended Reporting Period
            Named Insured, and any other insured
            involved in a suit seeking damages subject                        a.    An Extended Reporting Period of three
            to that limit, mustz                                                    years  available, but only by
                                                                                            is

                                                                                    endorsement and for an additional
            (1)   Cooperate in the transfer of control of                           charge.
                       and
                  suitsg
                                                                              b.    The Extended Reporting Period starts
            (2)   Arrange for the defense of such suit                              with the end of the policy period. lt
                  within such time period as agreed to                              does not extend the policyperiod or
                  between the appropriate insured and              us.              change the scope of coverage provided.
                  Absent any such agreement,                                        It applies only to claims for injury that
                  arrangements for the defense of such                              occur before the end of the policy
                  suitmust be made as soon as                                       period but not before the Retroactive
                  practicable.                                                      Date, if any,   shown on the
                                                                                    Supplemental Declarations.
     d.     We    will take   no action with respect to
           defense for any claim if such claim is                              e.   You must give us a Written request for
           reported to us after the applicable limit of                             the Extended Reporting Period
           insurance has been uscd up. It becomes the                               endorsement Within thirty (3 0) days
           responsibility of the first      Named Insured,                          after the end of the policy period or the
           and any other insured involved in such              a                    effective date of cancellationg
           claim, to arrange defense for such claim.                                Whichever comes first.

     c.    The tirst Named Insured will reimburse us                           d.   The Extended Reporting Period will not
           as soon as practicable for expenses we incur                              go into effect unless you pay the
           in taking those steps we deem appropriate                                 additional prcniium promptly when due
           in   accordance with paragraph        b.   above,                         and any premium you owe us,

     f.    The exhaustion of the applicable           limit   of                    Once in effect, the Extended Reporting
           insurance and the resulting end of our duty                              Period may not be cancelled.
           to defend will not be affected by our failure
           to comply with any of the provisions of this                        c.   When the Extended Reporting Period
           Condition.                                                               Endorsement is in effect, we will
                                                                                    provide a Supplemental Aggregate
     10.     Cancellation/Termination                                               Limit for any claim first made during
                                                                                    the Extended Reporting Period.
             lfwe decide to cancel or non-renew your
             policy, we will do so according to the                                  The Supplemental Aggregate Limit will
             General Conditions                                                      be equal to the dollar amount shown on
             Cancellation/Termination described in                                   the Endorsement Schedule in the
             the state mandatory endorsement.                                        Declarations in effect   at the   end of the
                                                                                     policy period.
             If no ticeis mailed, proof ofinailing            will
             be suflicient proof of notice.                                          Paragraph 2. of Limits of Insurance will
                                                                                     be amended accordingly. The Per
ll   EXTENDED REPOIRTING PERIOD                                                      Person Limit shown on the
                                                                                     Endorsement Schedule in the
     1.    An Extended Reporting Period will be                                      Declarations will then continue to
           offered if the policy     is   cancelled or none
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                                                                                                            MML8001098
                 apply, set forth in paragraph 3. of this              b.    All other litigation or administrative
                 Section                                                     hearing expenses, including fees or
                                                                             expenses of expert witnesses hired
      f.        We will determine the additional premium                     either by us or by the defense attorney
                in accordance with our rules and rates. In
                                                                             retained by an insured.
                doing so, we    may take    into account the
             followingz                                                c.    Reasonable expenses incurred by the
                                                                             insured at our request to assist us in the
                (1)    The exposures    insuredg                             investigation or defense ofnie claim,
                                                                             including actual loss of earnings up to
             (2) Previous types          and amounts of                      S250 a day because of time offrom
                       insuranceg                                            work.

             (3)       Limit of Insurance available under       this   d.    Costs taxed against the insured in the
                       Coverage Form for future payment of                   suit.
                       daniagesg and                               ,




                                                                       Defense expenses does not include salaries
             (4)       Other related factors.                          and expenses of our employees or the
                                                                       insured 3- employees (other than those
            The additional premium will not exceed                     described in     a.   and   c.   above).
            ZOOM) offne annual premium for this
            Coverage Form.                                             Discrimination means violation of a
                                                                       personis civil rights with respect to such
GLOSSARY                                                               personis race, color, national origin,
                                                                       religion, gender, marital status, age, sexual
The following special            definitions apply to this             orientation or physical or mental condition.
coveragez
                                                                       Employee includes a leased worker.
1.   Claim means a suit or demand made by or for                       Employee does not include a temporary
     the injured person for damages because of                         worker.
     alleged injury.
                                                                       Executive o/fcer means a person holding
2.   Coverage           territory nieansz                              any of the    ofticer positions created by your
                                                                       charter, constitution, by-laws or any other
     a.     The United        States of America (including its         similar governing document.
            territories or     possessions) and Puerto Rico 3
            or                                                                  means
                                                                       Injury            injury to a person arising out
                                                                       otz
     b.    All parts of the world if the insured is
           responsibility to pay damages is determined                 a.    Refusal to employ the person,
           in a suit on die merits wl1icl1 is brought in
                                                                             termination of the persoifs
           the telritory described in              above or a
                                              a.                             employment, including actual         or
           settlement we agree to.                                           constructive discharge, demotion,
                                                                             evaluation, reassignment, discipline,
3.   Defense expenses nicans payments allocated                to            defamation or humiliation of the person
     a specific claim.        we    investigate, settle or defend,           based on discrimination or other unjust
     for   its   investigation, settlement or defense,                       reasons directed at that person by an
     inoludingg
                                                                             insured,

           a.      Fees and salaries of attorneys and                  b.    Coercion of the person by an insured to
                   paralegals    we   retain, including                      do something unlawful or uncthicalg or
                      attorneys and paralegals     who   are our
                   employees.
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                                                                                                      MML8001098
      c.      Sexual harassment or other Work-                 your business. Leased worker           does not include
              related verbal, physical, mental or              a temporary worker.
              emotional abuse directed       at the   person
              by an insured.                                   10.    Sexual harassment means unwelcome
                                                                      sexual advances, requests for sexual favors,
8.    Insured                                                         or other verbal, visual or physical conduct
                                                                      of a sexual nature when such ccncluctz
      st.    If you are designated in the
              Declarations ass                                        a.    ls linked implicitly or explicitly with a
                                                                             decision affecting a term or condition
              (1)   An individual, you and your spouse                       of an individualls employrnentg
                    are insureds.
                                                                      b.     interferes with an individualisjob
              (2)   A partnership or joint venture, you                      perforinanceg or
                    are an insured.    Your partners or
                    members      are also insureds.                   c.    Creates an intimidating, hostile or
                                                                            offensive Working environment for an
              (3)   A  limited liability company, you                        individual.
                    are an insured. Your members and
                    managers are also insureds.                11.    Sexual Misconduct of Sexual Moleslol ion is
                                                                       an activity which is sexual in nature
             (4)     An organization other than a                     whether permitted or unpemritted,
                    partnership, joint venture or limited              including but not limited to, sexual assault,
                    liability   company, you are an                   sexual battery, sexual relations, sexual acts,
                    insured.    Your executive officers and           sexual activity, sexual handling, sexual
                    directors are also insureds.                      massage, sexual exploitation, sexual
                                                                      exhibition, photographic, video or other
     b.      Any of your other employees who hold                     reproduction of sexual activity, sexual
             managerial or supervisory positions are                  stimulation, fondling, intimacy exposure of
             also insureds, but only with respect to                  sexual organs, lewd or lascivious behavior
             such managerial or supervisory duties.                   or indecent exposure fornication, undue
                                                                      familiarity, or unauthorized touching.
     c.      Any volunteer or member of the named
             insured, but only while acting within             12..      means ya civil proceeding in which
                                                                      Suit
             the scope of their duties as a volunteer                 damages because of injury to which this
             or member, 011 behalf of the named                       insurance applies are alleged, includingz
             insured, but only with respect to
             managerial or supervisory duties, and                    a.     An arbitration proceeding in which such
             as properly authorized by the named                             damages are claimed and to which the
             insured, any officer or director or                             insured must submit or does submit
             employee of the named insured.                                  with our consenlg

             No person or organization is an insured                   b.    Any   other alternative dispute resolution
             with respect to the conduct of any                              proceedmg in which such damages        are
             current or past partnership, joint                              claimed and to which the insured
             venture or limited liability company                            submits with our consent.
             that is not   shownas a Named Insured
             in the Declarations.                                      c.    Any   administrative proceeding or
                                                                             hearing conducted by a governmental
     Leased worker means        a person leased to you                       agency (federal, state or local) having
     by     a labor leasing firm under an agreement                          the pro pcr legal authority over thc
     between you and the labor leasing firm, to                              matter of a personal complaint on your
     perform duties related to the conduct of                                employm enter-eluted _pt--czelices.
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                                                                   MML 800 1098
13.   Temporary worker means a person who is
      furnished to you to substitute for a
      permanent employee on leave or to meet
      seasonal or short-term workload conditions.

14.   We/Us/Our
      We, us, and our refer to the Insurance
      Cornpany named in this policy.

15.   You/Your
      You and your refer to the insureds named in
      the Declarations and defined in this policy.

16.   Your employment-related practices meansz

      a.   Any act or failure to act, by an insured,
           in   connection with your business, or

      b.   Any of your policies,   or your failure to
           have   policy Which directly or
                  E1


           indirectly affects a personts
           employment     status or condition
           with you or prospective employment by
           you.
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                                                                                                                          MML 100 12 05
TRAMPOLINE EXCLUSION Q PART II
This endorsement extends the policy exclusions lo the use a
                                                         of trampoline or similar device.
The   provisions of ihis endorseinent apply only when the endorsement number
                                                                                       is   listed in the Declarations.
Except as provided below,    all other provisions in this policy are unchanged.


ADDITIONAL EXCLUSI ONS-TRAMIP OLINES
                                   Part   II   C   is   extended to include the followingi

                                   We do not insure bodily injury, properly damage, personal injury 01-adverrinnginjuiy
                                   arising out of the ownership, niaintenance, or use of any trampoline or
                                                                                                           similar equipment
                                   used as a springboard or rebounding device.
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                                                                                                              MIVIR 421     12 05
       Aggregate / Total Limit
       This endorsement
                                       -U
                                            Per
                                          Insured B Part 11
                        amends the Aggregate/Total
                                                   Limits condition                in   your policy.
       The provisions  ofthis endorsement
       Declarations. Except as             apply only when the endorsement
                                provided below, all other                       number                 is   listed in the
      ._                                                  provisions in this pulicy are
               V
                   .77
                             ._7_
                                                                                                       unchangud.
                                    _______       ____   __._r    .__
                                                                           ____._.___L._____....__--______...__d._.__.____

              Pm-II1 D -Special
                                Liability Conditions, item
              Coverages is amended                                      2.13.1   _Agg1-agate /Total Limit-
                                            as described helowr                                            General

              The general aggregate
                                    / total    limit applies separately
                                                                        lo each         ofym/r named insureds.
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                                                                                                                      IVICL 320 09 89

ADDITIONAL INSUREDS
This endorsement extends the definition
                                        of insurerls to include the designated person or
organization. The required information may be shown below
                                                               or elsewhere          in ihis policy.

Except as provides below,   all   other pr0_visi0ns   in this   policy are unchanged.
                                                                                                               __
PERSONS INSURED EXTENSION
                           The definition ofinsured        in   the Glossary   is   amended   to include the following as an insured
                           here.

                           Insured includes the designated person or organization but
                                                                                      only with respect to          liability arising
                           out of your business/operations or your premises.

DESIGNATED PERSON OR ORGANIZATION



                          Per schedule on hie with      company




                                                                                                       1
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                                                                                                                                                                                                            U10
     INLAND IVLAIRINE COMMON PROVISIONS FORM
                                                                                                                                                                                                 l\4Il\/I             06 07

     This coverage form, together with one or more Inland Marine Coverage
                                                                          enzlorsements, establishes the provisions for Inland Marine
     insurance.




                                                                                                                    .

                                                                                                                                                                                                   G              _           .




     A. DEFINITIONS                           AND WORD MEANIN GS                                                                                  2.    Insuring Agreement Qualification
             Words shown              in italics are defined in the Glossary. The                                                                       The Coverages in this coverage fonn are subject to
            meanings             of other words /phrases not specifically defined                                                                       certain Exclusions and Limitations, including General
            are to be found in their relevant conventional definition,
                                                                                                                                                        Exclusions, Property     Not Covered, and Exclusions             -
            based on consideration of the context in which they are used                                                                                Losses Not Insured.
            in this coverage form.

                                                                                                                                             C.   COVERED PROPERTY
     B.     INSURING AGREEMENT COVERED LOSS                             --
                                                                                                                                                  We   cover loss to property for which a specific limit of
            1. We will pay for fortuitous direct physical loss or damage                                                                          liability and related prenriun-r charge is shown on the
                       to Covered Property caused by or resulting from any                                                                        Declarations or other specific endorsernent. The tcrrn
                       cause of loss not otherwise excluded or limited in this                                                                    HDeclaratio1rsn also includes a Supplenrental
                                                                                                                                                                                                Declarations or
                       coverage form.                                                                                                             any other similar forms.



                                                                                        SUPPLEMENTAL COVERAGES
                                                                                 I




      i                                                H

 A.        NEWLY ACQUIRED PROPERTY                                                                                                                      Failure to report newly acquired property within 30
                                                                                                                                                                                                            days
            1.        We   cover newly acquired property similar to that                                                                                or to pay the additional premium when due will void
                      already covered in this coverage forrn, up to a limit of                                                                          this coverage.
                      250/Q of the existing amount of insurance on similar
                      property, not to exceed a rnaxirnuin ofSl0,000, unless                                                                      3.    Coverage Period
                      another lirnit for such property is shown in the                                                                                  This Supplemental Coverage applies for up to a period
                      Declarations.                                                                                                                     of 30 consecutive days from the date of acquisition.

           2.         Additional Pr-eurinrn                                                                                                 B.    PROPERTY OF OTHERS
                      Additional prenriurn is due on a-pro rate basis for the                                                                     Coverage is extended, up to the applicable limit shown in the
                      term from the date of acquisition to the expiration of the                                                                  Declarations, to property belonging to others, but in the
                                                                                                                                                                                                            care,
                      policy.                                                                                                                     custody, or control of an insured.
                                                                                                                                                  If   MIM 501   is   listed in the Declarations, this extension is
                                                                                                                                                  deleted.




                                                                                                                                     LOSS OP HON
                                                                                                                                                                                -F--we--.-A17               -

                                                                                                 CAUQ.E
                                                                                                                                                                                                  .-   --



                                                                                                                               Oli

                      Coverage       is        provided for fortuitous direct physical                                                    loss to or theft of    covered property not otherwise excluded or
                      limited in this coverage                          for-nr.


     -5-                                                                                                                     --A 7



                                                                                                                                                  WT
or                                   _        _ are-.-7.1,...r7.am..u        .-Ia.ll-a..,q..--..e._----V---.
                                                                                        .._.                   -7       -.



                                                                                                                                     .4




             .   ..             .,       .,   ..             .......EX.FLU5.l9Ihi5 f.laQ55lE5
                      We do not provide insurance for any sort of loss directly or indirectly, wholly or partially, aggravated
                                                                                                                                     by, consisting                                                                          oi,
                      or resulting fronr the following 6 even if loss otherwise covered contributes
                                                                                                    to such concurrently or in any sequence.

1.        DISAPPEARANCE OF PROPERTY EXCLUSION                                                                                                     DISHONESTY EXCLUSION
          Loss, otherwise covered under this coverage forrn, in                                                                                   Criminal or dishonest acts by you, by any ofyour employees,
          connection with covered property that is rnissing where there                                                                           officers, partners, representatives, trustees, volunteer
                                                                                                                                                                                                           workers, or
           existsno physical evidence to show what happened to the                                                                                by any other person to  Whom   you entrust property.
          property. Loss discovered or inferred upon taking inventory.
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                  This applies whether any such persons act
                                                            alone or in                          B.    The  explosive, radioactive, toxic, or other
                  collusion with others or such acts take                                                                                             injurious
                                                          place within or                              properties of nuclear or radioactive materials
                  outside of working hours.                                                                                                           -whether
                                                                                                       such materials are natural or manufactured.
                  This Exclusion does not pertain        to acts   of physical damage
                  by your employees.                                                            UNAUTHORIZED / VOLUNTARY TRANSFER OF
                                                                                                PROPERTY EXCLUSION
      I5.        FRAGILE ITEMS EXCLUSION                                                        A.     Unauthorized Transfer- Loss       in connection with
                 Breakage, chipping,      n-iarring, or scratching,       of any                       property that is given or transferred to any persons
                                                                                   sort,   of                                                               or
                 fragile items (including, but not limited                                             transferred to any place on the basis of
                                                            tot chinaware,
                                                                                                                                                       falsel
                 glassware, marbles, porcelains, or statuary.)                                         unauthorized instructions - however such are
                                                                This does not                                                                         given or
                 apply tor loss caused by a specified cause
                                                            of lossg containers                        transmitted.
                 ofpropeity held for sale by you, lenses of photographic
                                                                           or
                 scientific instrurnents.                                                       B.     Voluntary Transfer - Loss       in connectionwith property
                                                                                                       that   you    (or others to   whom you have entrusted the
     4.          GOVERNMENTAL/ LEGAL / WAR EXCLUSION                                                   property) voluntarily give to or transfer to anyone on
                                                                                                                                                              the
              A.     Any act or condition of war (declared                                             basis ofbeing induced to do so by false
                                                             or not), civil war,                                                                      pretense or
                     invasion, insurrection, rebellion, revolution,                                    ntaudulent device, scheme, or trick.
                                                                     or seizure
                     of power, including acts done to defend against
                                                                            any                 WEAR, TEAR, AND OTHER SPECIFIED LOSS
                     such.                                                                                                                                                /
                                                                                                CAUSE OF LOSS EXCLUSIONS
             B.      Knowing violation of penal law or ordinance committed                      A. Wear and tear,      birds, domestic animals, insects,
                                                                                                                                                          raccoons,
                     by, or with the consent of, an insured Statutory tines                            rodents, or venning contamination or pollution
                                                                                      or                                                                 including,
                     liability.   Exemplary or punitive damages.                                       but not limited tot (1) the discharge, dispersal,
                                                                                                                                                          emission,
             C.     Confiscation, loss, or seizure under customs,                                      escape, migration, release, or seepage ofpollutiintsp
                                                                       drug                                                                                  (2) the
                    enforcement, or quarantine legislation or regulations.                             costs associated with enforceinent of any
                                                                                                                                                      governmental
             I

                    Loss to property that is contraband or in the course                               directive,   law or ordinance which requires you or
                                                                         of                                                                                any
                    illegal transportation or trade.                                                   others to clean up, contain, detoxify, monitor,
                                                                                                                                                       neutralize,
                                                                                                      remove,        for, or in any way respond topolluirmts,
                                                                                                                    test
             D.    Damage    or destruction of property ordered
                                                                       by civil                       asbestos, fungi, niold or lead contamination or
                                                                                                                                                      assess the
                    authority, other than innnediate acts of                                          effects of pollutants, asbestos, fungi, mold
                                                                    destruction                                                                         or lead
                    ordered by authorized civil authorities for the
                                                                     purpose of                       contznnination, corrosion, decay or deterioration,
                    preventing the spread of tire- provided the tire                                  deficiency, error, or oinissiou in design, materials,
                                                                                                                                                            plans,
                    originates from a cause of loss covered
                                                            by this policy.                           or workmanship, disease, dry or wet rot,
                                                                                                                                                    fimgi, inold,
                                                                                                      spores, mildew, bacterium, or other natural
 5.         INTENTIONAL LOSS EXCLUSION                                                                inherent vice (a customary characteristic of the
                                                                                                                                                          growth,
            Acts committed by, or at the direction                                                                                                        property),
                                                              ch any      insured, with               latent defect (an original condition or fault leading
                                                                                                                                                            to loss),
            the intent to ca-use a loss.                                                              mar-ring or scratching, mechanical breakdown,
                                                                                                                                                         rust.

 6.         NUCLEAR / RADIOAC1 IVE LOSS EXCLUSION
                                               1                                                B.    Containination by any virus or other pathological
                                                                                                                                                        agent
            .A.    Any nuclear event,   occurrence, or operation, including
                                                                                                      that causes disease or illness in humans,
                                                                                                                                                animals, birds, or
                   nuclear explosion, nuclcar reaction, nuclear                                       other creatures, or the costs associated with
                                                                radiation, or                                                                       enforcement
                   radioactive contamination.                                                         of any governmental directive, law or ordinan co
                                                                                                                                                         which
                                                                                                      requires you or any others to cleanup, contain,
                   These are not tire, explosion, smoke, or                                                                                            detoxify,
                                                                any other-                            monitor, neutralize, rcrnovc, test for, or in
                   covered cause of loss. However, if these result in                                                                                     any way
                                                                      fire,                           respond to any virus or other pathological agent.
                   we insure such resulting direct tire loss, but not any
                   other dh-ect physical loss which may ensue.




                        .,         .
                                          ..   .
                                                                      L033 CQiiDITlQNS.,_
                                                                                                                                                                 .,    ....
1.          ABANDONIVIIJNT OF PROPERTY
                                                                                                      Give inimediate written notice to US of any loss.
            Abandoinnent of any property           to us is prohibited.                                                                                 Also,
                                                                                                      iminediately notify the police in case of
                                                                                                                                                                      theft,

2.        DUTIES WHEN LOSS / DANGER OF LOSS OCCURS                                                    vandalisnr, or other violation of law. As
                                                                                                                                                      soon as
                                                                                                      possible, give us a description of how, when, and
          Yon, other insrzrerls, and other coverage                                                                                                     where
                                                    beueiiciaries                                     the loss occurred.
          must do all of the following tliingsz
          A. Report the Loss


                                                                                                                                                         MTMiT\lI\H/\   f\7
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     Protect Property
                                                                         not limited to, that described in preceding Paragraphs
     Protect property if in imminent danger from a covered
                                                                         C.2 and D) to determinez coverageg our liability for the
     cause of loss or, if loss has occurred, from further loss.
                                                                         loss and the amount and scope of loss, specihcations
     For example, by taking exposed property indoors,                                                                            of
                                                      by                 any damaged buildings. The statement is also to include
     covering openings or windows, or by making temporary
                                                                         detailed repair estimates.
     repairs.   We   cover the reasonable necessary expenses             And  if requiredz submit to us within 60 days after
     that you incur for
                                                                                                                               our
                          such immediate temporary repairs or            request a signed, sworn proof of loss. This is to include
     safeguards.
                                                                         the information described above and any other
  However, it is your ongoing obligation, at your expense,               infonnation reasonably required by us, including                             all
  to - as soon as feasible after you, your employees, or                 knowledge available to you, and others abouts
  those you authorize to act on your behalf become aware                 1.      The time and cause of loss.
  of any condition under your control which could lead to
  loss while this policy is in force- undertake all
                                                                         2.      Your interest and that of all others  in the property
                                                                                 involved (including a description of all encumbrances
 reasonable construction, maintenance, or repair
                                                                                 on such property).
 necessary to protect property from such covered loss.
 Listing of all such conditions is not feasible, but                     3.      All other insurance policies which may apply to the
 examples includez if a roof is lealcing, to repair suchg if a                   loss.
 flooring support is collapsing / deteriorating, to repair
 such, if new supports or retaining walls become
                                                                         4.   Any         changes   in   occupancy,   title,   or use      of     the
 required, to consnuct such.
                                                                              property during the policy term.

                                                                    Failure to comply with these (or other Conditions) can
 Cooperation on the Loss                                            alter or void our obligations in this policy.
 As often as we may reasonably request / requirez
 1.      Immediately exhibit all that remains of the                HOW LOSSES ARE SETTLED
         damaged and undamaged property, and allow us to            A.   Limit of Liability per Loss Occurrence
         take samples of such property for examination and               Our maximum             liability is that    amount winch           is       the
         inspection.                                                     least   one of all the followingz
 2.     Produce for examination and copyingz the inventory
                                                                         1.   The actual cash value or -the replacement value (if
        described in the following Paragraph D3 all relevant
                                                                              MIM 520 is listed in the Declarations) of the
        accounting procedures, aftidavi-ls, books of account,
                                                                              damaged portions of subject property at the time of
                                                                               loss. But, in no event exceeding the lesser of a orbs
        bills, contracts, deeds, documents, evidence, financial
                                                                              a. The lesser cost reasonably required,
        records, invoices, liens, leases, receipts, records, tax                                                               with
                                                                                         diligence and ongoing effort, tor
        returns, vouchers, or other sources of information, or
                                                                                                                                                  s




        facsimiles acceptable to us.
                                                                                         1.   Repair or restore the damaged property,
                                                                                               bringing such to the same general
3.      Submit to examination and provide statements                                          condition as existed immediately prior to
        under oath and sign and swear to such. If more than                                   the loss, or
        one person is examined, we reserve the rightito                                  2.   Replace the damaged property with like
        make such examination of each person out of the                                       property of comparable quality,
        presence of the others. We also reserve the right to
        video record any exarninations.
                                                                              b.     The necessary reasonable cxpense paid to repair,
                                                                                      replace, or restore the damaged property.
4.      Otherwise cooperate with us in the invostigationl                2.   Any factors, limits, special limits, or other recovery
        settlement of the claim.
                                                                              limitations described or specitied in this policy as
                                                                              applicable to the subject loss and property, whether
inventory
                                                                              shown in the Declarations, any endorsements, or
At our request, prepare and sign an inventory of all                          elsewhere in this policy. The inclusion of any sort
damaged and undamaged property, showing in detailr                            of recovery limitations or special limits or the
age, description, quantity, actual cash value and, if so
                                                                              inclusion of more than one item within any
covered, replacement cost, source, amount of loss
                                                                              provision in this policy do not increase or otherwise
claimccl. To the extent possible, set the damaged
                                                                              modify any of the general limits shown in this
property aside and put such in best possible order for
                                                                              policy - unless speciically stated          to   be additional
our examination.
                                                                              insurance.

Statement OIIJOSS I Proof ofLoss                                         3.   The insurable interest of the insured (or                    other
Submit to us a statement about the         loss that includes all             named interests) atthe time of loss.
information reasonably required by us (including, but



                                                                                                                                lvllh/I   010 06 07
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B        Appraisal                                                         be provided by others for the difference or otherwise
         1.    lfyozz and     we do not agree on the amount of the loss    absorb the unsatisfied portion of the loss yourself
               or values, either one can require that the items in
               dispute be set by appraisal. Within 30 days of              Our Options      in Settling Losses
               receipt of a Written demand for appraisal, each is to       1.   We may pay for the loss    in   money.
               select a competent and disinterested appraiser. Each
                                                                           2.   We may repair or replace all or any part       of the
               party   is   to then notify the other of the appraiser
                                                                                property as provided for in this policy, or take all or
               selected
                                                                                any part of such property at a mutually agreed, or
     2.        The two   appraisers are to select a competent and               appraised, value. We may give notice of our intent
               disinterested umpire. If the appraisers are unable to            to do so at any time up to 30 days after our
               agree upon an umpire within 15 days, you or we                   acceptance of our liability for the loss (i.c., proof of
               may petition a judge of a Court of Record to select              loss).

               an umpire.                                                  3.   We may settle the claim    with you, any loss payee
     3.        The  appraisers are to reach a mutual agreement on               named   in this policy, or others legally entitled to
               the items in dispute. If the appraisers fail to agree            receive payment. If the claim applies to property of
              within a reasonable time, they are to submit their                others,we have the right to adjust the loss with the
              differences to the umpire. Written agreement signed               owners of the propertyz satisfaction of their claim is
              by any two of these three persons constitutes                     also satisfaction of your claim as to such
                                                                                                                             property.
              settlement on the items in dispute.                          if legal action  is taken in a claim against
                                                                                                                        you, we have
                                                                           the right to conduct and control a defense at our expense
     4.       Bach  appraiser is paid by the party selecting the
                                                                           (but without increasing our liability under this policy).
              appraiser. All other expenses of the appraisal are
              paid equally by you and us.                  .
                                                                           Recovery of Covered Property
                                                                           In the event we make a payment for loss and a
     5.       If we agree to appraisal,    we specifically retain our      subsequent recovery is made of any of the property,
              right to deny the claim.                                                                                          you
                                                                           may choose to keep the property you have recovered or
    Deductible                                                             receive the property that we have recovered. If
                                                                                                                                you
    We are liable for           covered loss   in   any occurrence only    choose this option, our liability is reduced accordinglyz
    when the loss_is     in excess of the deductible amount                payment is adjusted  for the amount which you received
    shown in the Declarations, a11d then only on the amount                for the loss to such property, and you must compensate
    of loss less the deductible amount.                .
                                                                           us for the amount we previously paid.

    Loss to a Portion of a Pair or Set of Articles                         If you do not choose this option, the recovered
                                                                                                                           property
    1.  Loss to some portion of apair or set of articles or to             becomes our propertyz if you have such property, you
        property consisting of two or more parts (when                     are required to give ur those items we request.
              complete) is not considered a total loss unlessz             When Loss Becomes Payable /Payment to Others
              because of such loss, the remainder is of no use and         Loss becomes payable 30 days aiter completion and
              repair or replacement is not feasib te.                      acceptance by US of a written agreement between the
    2.         In case we agree to pay for total loss, you are             parti es, or aiter an award is tiled with -us as provided
                                                                                                                                     in
              required to give us the remainder of such property,          this coverage form. Payment under this coverage
                                                                                                                                    fonn
              at our request, prior to such payment.                       shall not reduce the limit of insurance, unless payment
                                                                                                                                        is
                                                                           made for a total loss to a scheduled item. If payment is
    Our Liability and Satisfaction of Your Loss                            made for a total loss to a scheduled item, the amount of
    If the maximum liability payable by in on covered              loss,   unearned preinium applicable to such items shall be
    as deterrninod under this policy, does not fully satisfy               refunded to the insured, or applied to the additional
    your loss, then you must          either seek insurance that may       premium       for replacement items scheduled under this
                                                                           coverage form.




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         With respect   to   any mortgagee or secured party named                        if an insurance trustee is  named in this policy, we may
         in this policyg      govennnental entity, or others with                        negotiate the loss and make payment solely to
        contractual, legal, or statutory rights in loss                                                                                         such
                                                        payable  by                      trustee - to the extent that the trustee represents
                                                                                                                                               those
        this policyz   we may make payment jointly to all                                with an interest in this policy.
        interested parties at our option. But we need not
                                                          pay any
        loss assigiree, unless they receive a    iiill   assignment of       4    N O BENEFIT TO BAILEE
        the loss from you.
                                                                                  This insurance does not apply to the benefit of any others
                                                                                  having custody of covered property. Any assignment to such
                                                                                  persons or organizations has no standing in this policy.




  ACTION OR SUIT AGAINST US                                                       relating to any aspect of this insurance (including
  The                                                                                                                                   the
       conditions for bringing an action or suit against us are
                                                                                  information we relied upon in issuing this contract).
  described elsewhere in this policy in the state mandatory
                                                                                  However, if we specifically choose not to declare this policy
  endorsernent.
                                                                                  void, we do not provide insurance in this policy to, or for the

 ASSIGNMENT OF YOUR INTEREST                                                      benefit of, any such insureds.                                .




 No  assignment of an interest in this policy is binding on us
 without our written consent. However, if you are an
                                                                         5        CONFORBHTY WITH STATUTE
 individual and die, this insurance applies tot
                                                                                 It is agreed by us        that the provisions in this policy are

 A. Your legal representative, while acting within the scope                      amended to confonn      to all applicable statutory requirements.

      of the repres entativeisi duties.                                  6.
                                                                                  COVERA GE TERRITORY
 B. Those with custody of your property prior to                                 We cover damage or loss only Within the fifty states of the
    appointment of a legal representative.                                       United States of America (including its possessions and
                                                                                 territories),      the District of Columbia, Puerto Rico                and
 CANCELLATION / TERMINATION                                                      Canada.
 A. General
      You may cancel this policy byz surrendering the policy             7.       EX./LlVlIl\lATION /     CHANGES
      to us or our agent or by mailing us or our agentnotice                     We may,  at our option, inspect your property and operations
      stating a subsequent cancellation date for the                             at any time, make surveys, and make recommendations.
                                                      policy.
      Such request made by the first named insured applies                       However, our reports or reconnnendations or those of any
      for all insureds / interestsnamed in this policy. All                      inspection bureau or rating bureau do not constitute
                                                                                                                                            a
      cancellations are pro rata, but a miniinuin earned                         determination or representation that any premises or
      premiuin may apply. Any return premium is payable to                       operations are in compliance with law or regulation,
      the first named insured - within 30 days alter the                         healthful, or safe,                                                         t




      cancellation (late.                                                        We may inspect and       audit   your books and records   at       any time
      If you secure insurance with another insurer to replace
                                                                                 (including    up
                                                                                                to 3 years after termination of this insurance
      our policy and do notpay the preiniuin,    or installment                  contract) to the extent such pertains to the subject of this
      payment, for     this policy when dues this policy                         insurance or payment of preniiuni. The yirst named insured
      terminates at the time such other insurance becomes                        is required to keep all records necessary for
                                                                                                                                 such and send
      effective. If you sell the described business or premises                  complete accurate copies -to us at our request.
      to others, coverage under this policy terminates at
                                                            the                  We may make premium
      time title is transierrer_i to others with respect to such                                              adjustments based on the findings of
                                                                                 our inspection and audit.
      business or premises h unless you retain an insurable
                                                                                                                        -




     interest.
                                                                         8       INSURANCE UNDER MORE TI-IAN ONE COXEPAGE
B.   Our Right to Cancel        or   Terminate                                   In the event that   more than one coverage in this policy
      Our  rights to cancel or terminate this insurance are                      covers the saino loss, we are liable only for the amount of
      described elsewhere in the state mandatory endorsement.                    our obligation, up to our limit of liability, not exceeding             the
                                                                                 amount ofloss.
CON CEALMENT l\/HSREPRESENTATION / FRAUD
                        /

This policy      void if, either before or after a loss, any
                 is
                                                                         9       LIBERALIZATION
ins-ur-ed misrepresents or knowingly                                             This policy is automatically extended to include provisions
                                        conceals any material
fact or circuinstance, coniniits fraud, or swears
                                                      falsely                    approved during the policy period or within 45 days prior to
                                                                                 its   inception,   which would broaden coverage under                this


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           policy, if such are not subject to additional
                                                                          premium          or                              However, if you have any other insurance applicable to
           concurrent with coverage                restrictions.
                                                                     _
                                                                                                                           property covered by this policy - but not covering a
                                                                                                                           cause of loss covered by this policy, thenz
   10.     OTHER INSURANCE                                                                                                                                                  any loss
                                                                                                                           payable under this policy in connection with such cause
           A.        If any    of the property covered under this insurance                 is                             of loss is apportioned and payable by us in the same
                     also covered under another coverage form                                                                                                                   way
                                                              of this policy,                                              as if such other insurance covered the loss.
                     those provisions are hereby amended to exclude
                                                                        such
                     property. Coverage under this coverage fonn
                     coverage on such property turder this policy.
                                                                             is       the sole             11.    PREMIUMS                            .




                                                                                                                  The first named insured   responsible for the payment of all
                                                                                                                                                is

          B.     This insurance             is excess insurance over other                                        premiunrs, and will be the sole payee of any premiums
                                                                           insurance                                                                                      we
                 you may have               applicable to the loss (Whether you can
                                                                                                           -
                                                                                                                  return.
                 collect       on     it   or not) that is not subject to the sanie
                 provisions contained in this policy.                                                      12.    RECOVERY FROM OTHERS
                                                                                                                  Ifany insured (or others) to whom, or for whom, we make
         C.      When this insurance is excess               over other insurancei                                payment has any rights of recovery on the loss iionr another,
                 We pay only our share of                    the remaining loss that                             those rights are transferred to us to the extent of our
                 exceeds the          sum     of bothz                                                                                                                   payment
                                                                                                                 under this policy. Jusureds (or such others) must do
                 1.     The total amountpayable by all such insurance,                     as                    whatever we require to secure these rights. You may waive
                         described, in the absence of this insurance, plus
                                                                                                                 such rights in writing prior to a covered loss. You
                                                                                                                                                                         may also
                 2.     The total of any deductibles           or self-insured amounts                           Waive such rights after a loss, but only if the waiver is given
                        under       all    such insurance.                                                       to eitherz
                                                                                                                 A. Another insured in
                                                                                                                                                                        _




                Furthermore, any remaining loss is then shared                                                                                this policy,        or
                                                               by us
                with any other insurance remaining on the loss
                                                                  in                                             B.    A business either controlled or owned by you or that
                accordance with the provisions described in the                                                        controls or runs your business.
                following Paragraph D.
                                                                                                                 But we have no obligation      to pay under this policy                    on the
         D. With regard to other insurance subject to the                                                        loss if these rights are otherwise waived.
                                                                    same
            provisions contained in this policy or where we
            otherwise are a primary insurer (among others) we
                                                                     pay
                                                                                                       13.       TIME OF INCEPTION AND COVERAGE PERIOD
            in one of the following waysz                                                                        The time of inception and expiration is               12101   A.M. Standard
            1.   If all such other insurers provide for contributions                                            Time at the mailing address shown                     in the Declarations.
                 by equal sharesz we and all other insurers contribute                                           Unless otherwise specifically provided for by this
                                                                                                                                                                    policy,
                 equal amounts until the amount of obligation is paid                                            this insurance applies only to covered loss
                                                                                                                                                             that takes place
                 or the insurer-as applicable limit of liability is                                              during the policy term.
                                                                    used
                up, whichever comes first
                                                                                                      14.        WAIVER OR CHANGE OF PROVISIONS
                2.     If any other insurer does not provide for equal                                           Only the first named insured may request changes in this
                       sharesz we pay no greater proportion ofthe total
                                                                                                                 policy.  The terms of this policy may not be waived or
                       amount of loss than our obligation on the applicable                                      changed except in writing, signed by our agent and attached
                       limit of liability in this policy bears to the total
                                                                                                                 to this policy. The exercise of our rights under
                       amount ofirisurance of all insurers covering the                                          not an act of waiver. This policy contains
                                                                                                                                                                  this policy is

                       loss.
                                                                                                                                                                                  all      related
                                                                                                                 agreements between you and us.



                                                                                      G.l_,OoSAJRlitW
                                                                                                 _7e_---         77 N-_V
                                                                                                                                 .   .                W   V   A                  -...-.w..-vex   erase
The  following words shown in italics are rletined for
                                                       the                                            Covered Loss Covered loss means fortuitous direct physical
                                                                                                                                --

purposes of insurance under this coverage form to mean the
                                                                                                      damage to, destruction or theii of covered property
followings                                                                                                                                                a covered             by
                                                                                                      cause ofloss.
                                                                                  Q




AL-Iurzl  Cash Value Consideration may be given
                                                        by us in our                                 Fungi - Fungi means any
                                 --

                                                                                                                                 type or form of fungus, rncld, mildew
cletcrmination of actual cash value toz age, condition,
                                                              cost to                                spores, algae, smut, protists, rusts or 2-01 and decay
repair, replace, or restore the property, subject to                                                                                                          organisms,
                                                       deduction for                                 and any similar or related organisms and any
depreciation, deterioratiorrg economic valueg market                                                                                                          rnycotoxin,
                                                               value,                               substance, compounds, chemicals, mist or vapor produced
obsolescence (both structural and functional), original                                                                                                            by any
                                                           cost, useg                               fungi in any for-in, or any by-products or waste produced
utility, or other circumstances that may reasonably
                                                    affect
                                                                                                                                                                       by
                                                                             value.                 fungi, but does not include any jizngi intended to be edible.




                                                                                                                                                                               MIMOIU 06 07
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Insure/I - Insured means the person or entity designated as
                                                                                   tire,accident to a transporting conveyance, aircraft, collapse,
insured in the Declarations, or otherwise named as an i/mired
                                                                in                 earthquake, explosion, falling objects, flood, lightning,
this policy. First named insured is the insured named                                                                                         riot       or
                                                      first in the                 civil commotion, sinkhole collapse, smoke, sprinkler leakage,
Declarations.
                                                                                   theft, vandalism or malicious mischief, vehicles,
                                                                                                                                            volcanic
                                                                                   eruption, water damage, weight of ice, sleet, or snow,
Pollutants       -   Pollutants are any gaseous, liquid, solid, or thermal                                                                Windstorm
                                                                                   /hail.
contaminant or irritant, including acids, alkalis, chemicals,
fumes, smoke, soot, vapors, and waste (including materials to be
                                                                                   We / Us/ Our - We,      us,   and our refer   to the Insurance   Company
reclaimed, reconditioned, or recycled).
                                                                                   named in this policy.
Rot and Decay Organisms - Rot and decay organisms means                            You / Your / Yourseijoe    You, your and yourself refer to the named
any   living organism that causes decomposition of
                                                                                              who
                                                   physical                        insureds         are the insureds named in the Declarations.
property.                                                                                                                                          First
                                                                                   named insured is the insured named first in the Declarations.
Spear-fie/Z     Causes of Loss - Where the term specyied causes
                                                                      of
loss   is   used in this coverage form, the term means the followingz




                                                                                                                          I

                                                                      _s_/7   W.
                                                                                                                                             MIM 01006 07
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C OIVLPUTER I-IACKIN G AND VIRUS EXCLUSION                                                                                   lVHM102   04 07
This endorsement excludes losses caused
                                        by computer hacking and compzller viruses.
The provisions of this endorsement apply only when the
                                                            endorsement number            is   listed in the Declarations.
Except as provided below, all other provisions in this
                                                       policy are unchanged.


ADDITIONAL EXCLUSION - LOSSES NOT INSURED
                              The following is added to the Exclusions / Losses Not Insured
                                                                                               Seotionz

                              COMPUTER HA CKING AND I/IR US EXCLUSION
                              We do not cover losses due to computer hacking or computer vfnzser.
ADDITIONAL DEFINITIONS
                          The Glossary is amended to include the followings

                          Computer hacking means unauthorized intrusion into a computer
                                                                                         network, hardware, software or website
                                  enuy of a computer worm or Trojan Horse, spyware or adware that results
                          including
                                                                                                                      inz
                          1.     Alteration, contamination, corruption, degradation,
                                                                                     destruction or rnoditication of the integrity,
                                  or perfonnance of computer media, data,                                                           quality
                                                                           prepackaged programs, hardware or software,

                          2.     Copying, observation or scanning of data records, programs and
                                                                                                applications and proprietary programsg

                          3..
                                 Corruption, damage, degradation, destruction, inadequacy
                                                                                          or malfunction of any hardware or media
                                 used with hardware,

                         4.     Deletion, destmction, generation or modification of
                                                                                    software, or

                         5.     Denial of access to or denial of service from your computer
                                                                                            network, hardware or website.

                         Computer     virus means the introduction into hardware,
                                                                                           software or a website of any malicious
                         solfreplicating electronic data processing code or other
                                                                                  code that is intended to result in, but is not limited
                         1. Alteration, contamination, corruption,                                                                       toz
                                                                     degradation, destruction or modification of the
                                                                                                                        integrity, quality
                              or performance of computer media, data, prepackaged
                                                                                     programs, hardware or software,

                         2.     Corruption, damage, degradation, destruction, inadequacy
                                                                                         or inalfunction of any hardware or media
                                 used with lrardwareg

                         3.     Deletion, destruction, generation or rnodil-ication of
                                                                                       software, or

                         4.     Denial of access to or denial of service from your computer
                                                                                            network, hardware or website.




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                                                                                                                                                                 MUIM H012 96
  FINE ARTS COVERAGE
  This em/0r.remcI1t, together with the In/arid Murine Common Provisions                                                  For/11       (MIM   O10) provides fine arts coverage. The
  required information may be shown below or elsewhere in this policy.

 The provisions of this endorsement apply only when the endorsement number                                                        is   listed in the Declarations.
 Except as provided below, all other provisions in this policy are unchanged.


 Policy                 it   REL6000006

 SCHEDULE
 Description of Covered Proper-tyz                                                                     Limit of Liability                           Deductible
 See Endorsement                         K                                                             95                                           SS 1000




ADDITIONAL EXCLUSION
                                                    EXHIBITION EXCLUSION
                                                    We do not cover property While at exhibitions                    or fairs,

                                                    HMIM 503       is   listed in the Declarations, this exclusion               does not apply.

ADDITIONAL CONDITIONS
                                                    Loss Conditions        3.   A and D are replaced Withr
                                                    A. Limit of Liability per Loss Occurrence
                                                       The amount we will pay for any item is the limit shown in this policy.

                                                    D. Loss to z1lPorti0i1 of a Pair or Set of Articles
                                                       Loss to some portion of a pair or sot of articles, or to property consisting of two or more parts Will
                                                       be considered a total loss. We agree to pay the total limit shown for the set. You are required to
                                                       give us the remainder of such property, at our request, prior to such payment.

                                                    Loss Conditions        34   B   and    C do not apply.

ADDITIONAL SIYECIAL C ONDITIUN
                   PACKING
                                                    You agroc    that all   property insured under            this   endorsement will be packed and unpacked by competent
                                                    packers.


SUPPLEMENTAL COVERAGE
                                                    Newly Acquired Property is replaced withz
                                                    Newly Acquired Property - Additional insurance
                                                    1.   We (rover newly       acquired Fine Arts up to the limits specified above or elsewhere in this policy. If
                                                         no   limits arc    shown, we cover up to 250/0 of the existing amotnit of insurance on Fine Arts.
                                                    Z.   Coverage Period
                                                         This Supplemental Coverage applies for up to a period of 90 consecutive days from the date of
                                                         acquisition

                                                    3.   Additional Prcniium
                                                         Additional     premium           is   due on a pro   rata basis for the   term from the date of acquisition   to the
                                                         expiration of the policy.
                                                         Failure to report newly acquired Fine Arts within 90 days or to pay the additional preiniuin                      when
                                                         due will void this coverage.

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-KP-mgr-M                C)   1996 IVISUR,   inc.
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 CERTIFIED YZTRRORISM LOSS COVERAGE
                                                                                                                                        MIM 140 01 15
 This endorsement modifies the policy                to ettenrl coverage for certified acts of terrorism for Iulzmzl Marine Coverage.
 Except as provided below,               all   other provisions in this policy are unchanged.

 l.        COVERAGE MODIFICATION
           A.       Any  exclusion of terrorism contained in this policy or attached to this policy by endorsement does not apply to a
                                                                                                                                       certified
                    terrorism loss.

           B.       Cap on Certified    Terrorism Losses
                    If the Secretary  of the Treasuiy determines that the amount of certified terrorism loss has exceeded the maximum annual
                    liability under the terms of the Federal Terrorism Risk Insurance Act of 2002 or any subsequent action of
                                                                                                                              Congress pursuant
                    to the Act, we will not pay for any amount of certified terrorism loss that exceeds such maximum annual
                                                                                                                            liability.

           C.      Other Exclusions
                   The terms and limitations of any       terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not serve
                   to createcoverage for any loss which would otherwise be excluded under               this policy by the Governmental / Legal / War
                   Exclusion, the Nuclear / Radioactive Loss Exclusion or any other exclusion.

Z.        ADDITIONAL DEFINITIONS
          The following         definitions applyz

          Certified act        of terrorism means an     act that is certiiied
                                                                        by the Secretary of the Treasury, in consultation with the Secreteu-y of
          Homeland Security and the Attorney General        of the United States, to be an act of terrorism that isz
          A.       A  violent act or an act that is dangerous to human life, property or infrastructure and that resulted in damage
                                                                                                                                        with an
                   aggregate loss exceeding 555,000,000
                   1.   Within the United Statesg
                   2.   At   the premises of a United States Missiong or
                                                                                                           _




                   3.   To an air carrier (asdefined in section 40102 of title 49, United States Code) or to a United States flag vessel (or a vessel
                        based principally in the United States, on which United States income tax is paid and whose insurance coverage is
                        subject to regulation in the United States), regardless of where thc loss occursg

         B.        Committed by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
                   influence the policy or affcct the conduct of the United States Government by coercion.

          Certified terrorism loss       means    loss that results   from a certified act ofterrorisuz.




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                                                                                                                                                 h/tilt/ll   143   01 15
 NON-CERTIFIED ACTS OF TERRORISM EXCLUSION
 This en//01-sem cnl            ll10CZIfi6S the policy to exclude certain loss arising our of terrorism for Inlmirl Murine Coverage.
 The provisions of this endorsement apply only when the endorsement number is listed
                                                                                                                                             V




                                                                                                                in the Declarations.
 Except as provided                   below, all other provisions in this policy are unchanged.

 1.       COVERAGE MODIFICATION                                                                          _Terrorism Exclusion will apply to that incident.
                The       following exclusion         is    added   to the Inland   Marine               When the Nan-cerrifietl Acts of Terrorism
                 Coverage EXCLUSIONS e LOSSES                         NOT lNSlREDz                       Exclusion applies to a non-certified (rel of
                NON-CER TIFIED ACTS OF                                                                   terrorism, there is no coverage under this
                                                                            TERRORISAJ                                    K
                EXCLUSION                                                                                insurance.
                1. We do not provide insurance             for any loss or                                In the event of any non-oer/i/ierl act of terrorism
                         damage   directly or indirectly arising out of or                                that is not subject to the N011-C8l.llfi66l Acts of
                         resulting from a 11011-certified not of terrorism,                               Terrorism Exclusion, coverage docs not apply to
                         including          any    action    taken     in   hindering   or                any element of loss or damage that is otherwise
                         defending against an actual or expected non-                                     excluded under this insurance.
                         cerii/iezl act of terrorism. Such loss or damage is
                         excluded regardless of any other cause or event                           3.     However, with respect to any activity that also
                         that contributes concurrently or in any sequence to                              comes within the terms of the Governmental /
                         the loss.                                                                        Legal    / War Exclusion, that exclusion supersedes
                                                                                                          this   Non-certified Acts of Terrnrism Exclusion.
                2.       Regardless of the amount of damage and losses,
                         this lV0u-certified Acts of Terrorism Exclusion                                  In the event of a non-certified act Qfterrorism that

                         applies to any non-cer/ified not of terrorism.-                                  involves nuclear reaction or radiation, or
                         a.  That involves the use, release or escape of                                  radioactive contamination, this Non-certifierl /lets
                             nuclear materials, or that directly or indirectly                            of Terrorism Exclusion supersedes the Nuclear                 /

                             results in nuclear reaction or radiation or                                  Radioactive Loss Exclusion.
                             radioactive contamination, or                                   lB.   The      GOVERNMENTAL                 /   LEGAL           /     WAR
                         b.   That  is carried out by means of the dispersal or
                                                                                                   IEXCLUSHON          is   replaced by the followingz
                              application     of pathogenic or poisonous                           GOVERNMENTAL / LEGAL I WAR
                              biological or chemical materialsg or                                 1.     Any  act or condition ofi war (declared or not), civil

                         c.   In which pathogenic or poisonous biological or                              war, invasion, insurrection, rebellion, revolution, or
                              chemical materials are released, and it appears                             seizure of power, including acts done to defend
                              that one purpose of the non--certified act of                               against any such act or condition, whether actual or
                              terrorism was to release such materials.                                    expected. With respect to any action that comes
                                                                                                          within the terms of this exclusion and involves
                         In incidents Of7t0Il-C6711/iE(i acts often-orism other                           nuclear reaction or radiation, or radioactive
                         than those described in the preceding Paragraphs                                 contamination, this exclusion supersedes the
                         l,A. 2.a, b, and c, the Non-certified Acts of                                    Nuclear / Radioactive Loss Exclusion.
                         Terrorism Exclusion will not apply unless the
                         inszrrecl damage to all types of property (in the
                                                                                                   2.     Knowing    violation of penal law or ordinance
                         United States, its territories and possessions, the                              committed by, or with the consent oi, an insured.
                         District of Columbia, Pucrto Rico and Canada),                                   Statutory tines or liability. Exemplary or punitive
                         sustained by all persons and entities affected by the                            damages.
                         nozrcerriferl r/ct ofterrorism (and including loss of                     3.     Confiscation, loss, or seizure under customs, drug
                         Business Income and Extra Expense sustained by                                   enforcement,     or    quarantine    legislation or
                         owners or occupants of such damaged property),                                   regulations. Loss to property that is contraband or
                         exceeds a total of 325,000,000. Multiple non-                                    in the course otillegal transportation or trade.
                         cerli/ied acts of terrorism which occur within a
                         seventy-t\vo hour period and appear to be carried                         rt.    Damage     or dcstruction of properly ordered by          civil

                         out in concert or to have a related purpose or                                   authority, other than immediate acts oi destruction
                         common leadership will bc deemed to be one non-                                  ordered by authorized civil authorities for the
                         ceriified act nfrcrroriszu.                                                      purpose of preventing the spread of fire provided
                                                                                                          the fire originates from a causc oi loss covered by
                         The preceding paragraph describes the threshold                                  this policy.
                         used to measure the magnitude of a iioii-(rel-tifierl
                         not Q//errortrin and the circumstances in which the                 Ollllll-UR   EXCLUSIONS
                     threshold              will  apply, for the purpose of
                                                                                             The terms and   limitations of any terrorism exclusion, or the
                     determining              whether the N011-cm-tifiezl Ac-t.r of          inapplicability or omission of a terrorism exclusion, do not
                                                                                             serve to create coverage for any loss which would otherwise


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bc excluded under                 by the Governmental / Legal /
                        this policy                                 B.   Committed by an individual    or individuals as part of an
War Exclusion,    the   Nuclear / Radioactive Loss Exclusion or          effort to coerce the civilian population of the United
any other exclusion.                                                     States or to influence the policy or affect the conduct of

ADDITIGNAL DEFINITEONS                                                   the United States     Government by      coercion.
The following    definitions applyl                                                 means damage that is covered by any
                                                                    .Ir1sm-ed rlamr/ge
                                                                    insurance plus damage that would be covered by any
Certified not of terrorism means an act that is certi-tied by
the Secretary of the Treasury, in consultation with the             insurance but for the application of any terrorism
                                                                    exclusions.
Secretary of Homeland Security and the Attorney General
of the United States, to be an act of terrorism that isz            N011.-cerli/Gert act   of terrorisnz means a violent   act or an act
A.  A   violent act or an act that is dangerous to human life,      that is   dangerous to    human   life,   property or infrastructure
     propeity or infrastructure and that resulted in damage         and that isz
    with an aggregate loss exceeding S5,000,000z                    A, Committed by an individual or individuals and appears
    1.  Within the United Statesg                                       to be a part of an effort to coerce a civilian population
                                                                         or to intluence the policy or affect the conduct of any
    2.   At the premises of a United    States Missiong or
                                                                         government by coerciong and
    3.   To   an air carrier (as defined in section 40102 of
         title 49, United States Code) or to a United States
                                                                    B.   Not deemed  to be a certified act of terror-it-111 under the

         flag vessel (or a vessel based principally in the               terms of the Federal Terrorism Risk Insurance Act of
         United States, on which United States income tax                2002 or any subsequent action of Congress pursuant to
         is paid and whose insurance coverage is subject to
                                                                         the Act.
         regulation in the United States), regardless of
         Where   the loss occursg




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